2:25-Ccv-02152-RMG

Date Filed 04/21/25

Entry Number 121-5 Page 1 of 130

XJ -00E03450-2 Page1
GRANT NUMBER (FAIN): 00E03450
MODIFICATION NUMBER: 2 DATE OF AWARD
2 % U.S. ENVIRONMENTAL PROGRAM CODE: XJ 12/20/2024
= y Z
; | PROTECTION AGENCY __ | TYPE OF Action MAILING DATE
% e ugmentation: Increase
“ye Assistance Amendment PAYMENT ME TROD: ACTEE
£ prov ASAP 50931
RECIPIENT TYPE: Send Payment Request to:
State Institution of Higher Learning Contact EPA RTPFC at: rtpfc-grants@epa.gov
RECIPIENT: PAYEE:
REGENTS OF THE UNIVERSITY OF MINNESOTA Regents of University of Minnesota
200 Oak Street SE 200 Oak Street SE
Minneapolis, MN 55455-2070 SUITE 450
EIN: XX-XXXXXXX Minneapolis, MN 55455-2070
PROJECT MANAGER EPA PROJECT OFFICER EPA GRANT SPECIALIST
Bonnie Keeler Sidler Davis Robert Fields

130 Humphrey School

301 19th Avenue South
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Email: keel0041@umn.edu
Phone: 612-625-8905

Chicago, IL 60604-1049

Phone: 312-886-4314

77 West Jackson Blvd., RM-19J

Email: davis.sidler@epa.gov

Assistance Section, MA-10J
77 West Jackson Blvd.
Chicago, IL 60604-1049
Email: fields.robert@epa.gov
Phone: 312-886-9017

PROJECT TITLE AND EXPLANATION OF CHANGES

COMMUNITY DEVELOPMENT AND TECHNICAL ASSISTANCE TO ADVANCE ENVIRONMENT AND ENERGY JUSTICE IN THE GREAT LAKES REGION

See Attachment 1 for project description.

BUDGET PERIOD
06/01/2023 - 05/31/2028

PROJECT PERIOD
06/01/2023 - 05/31/2028

TOTAL BUDGET PERIOD COST
$ 10,000,000.00

TOTAL PROJECT PERIOD COST
$ 10,000,000.00

NOTICE OF AWARD

Based on your Application dated 06/23/2023 including all modifications and amendments, the United States acting by and through the US Environmental
Protection Agency (EPA) hereby awards $ 3,000,000.00. EPA agrees to cost-share 100.00% of all approved budget period costs incurred, up to and not
exceeding total federal funding of $ 8,000,000.00. Recipient's signature is not required on this agreement. The recipient demonstrates its commitment to carry
out this award by either: 1) drawing down funds within 21 days after the EPA award or amendment mailing date; or 2) not filing a notice of disagreement with
the award terms and conditions within 21 days after the EPA award or amendment mailing date. If the recipient disagrees with the terms and conditions
specified in this award, the authorized representative of the recipient must furnish a notice of disagreement to the EPA Award Official within 21 days after the
EPA award or amendment mailing date. In case of disagreement, and until the disagreement is resolved, the recipient should not draw down on the funds
provided by this award/amendment, and any costs incurred by the recipient are at its own risk. This agreement is subject to applicable EPA regulatory and
statutory provisions, all terms and conditions of this agreement and any attachments.

ISSUING OFFICE (GRANTS MANAGEMENT OFFICE) AWARD APPROVAL OFFICE
ORGANIZATION / ADDRESS ORGANIZATION / ADDRESS
U.S. EPA, Region 5, U.S. EPA Region 5 U.S. EPA, Region 5, Office of Regional Administrator

Mail Code MCG10J 77 West Jackson Blvd.
Chicago, IL 60604-3507

R5 - Region 5
77 West Jackson Blvd. R-19J
Chicago, IL 60604-1049

THE UNITED STATES OF AMERICA BY THE U.S. ENVIRONMENTAL PROTECTION AGENCY

Digital signature applied by EPA Award Official for Sheila Dolan - Manager, Acquisition & Assistance Branch
by Michael Tukes - Award Official Delegate

DATE
12/20/2024

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2:25-Ccv-02152-RMG

Date Filed 04/21/25

Entry Number 121-5

Page 2 of 130

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EPA Funding Information

FUNDS FORMER AWARD THIS ACTION AMENDED TOTAL
EPA Amount This Action $ 5,000,000 $ 3,000,000 $ 8,000,000
EPA In-Kind Amount $0 $0 $0
Unexpended Prior Year Balance $0 $0 $0
Other Federal Funds $0 $0 $0
Recipient Contribution $0 $0 $0
State Contribution $0 $0 $0
Local Contribution $0 $0 $0
Other Contribution $0 $0 $0
Allowable Project Cost $ 5,000,000 $ 3,000,000 $ 8,000,000
Assistance Program Statutory Authority Regulatory Authority

66.309 - Surveys, Studies, Investigations, Training
and Special Purpose Activities Relating to
Environmental Justice

Clean Air Act: Sec. 103(b)(3)

Clean Water Act: Sec. 104(b)(3)

Solid Waste Disposal Act: Sec. 8001(a)

2022 Consolidated Appropriations Act (PL 117-103)
2023 Consolidated Appropriations Act (PL 117-328)
Clean Air Act: Sec. 138

CERCLA: Sec. 311(c)

2 CFR 200, 2 CFR 1500, 40 CFR 33 and 40 CFR
45

Fiscal
Approp. Budget Object Cost Obligation /
Site Name Req No FY Code Organization PRC Class Shta/Project Organization | Deobligation
- 25125WB 106 222 BSF5 WF OOOW57XKS] 4140 O8IRATA - $ 3,000,000
$ 3,000,000

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Budget Summary Page

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Table A - Object Class Category Total Approved Allowable
(Non-Construction) Budget Period Cost
1. Personnel $ 2,401 497
2. Fringe Benefits $ 807,824
3. Travel $ 63,900
4. Equipment $0
5. Supplies $ 6,140
6. Contractual $ 53,676
7. Construction $0
8. Other $5,418,115
9. Total Direct Charges $ 8,751,152
10. Indirect Costs: 0.00 % Base $ 1,248,848
11. Total (Share: Recipient __ 0.00 % Federal _ 100.00 %) $ 10,000,000
12. Total Approved Assistance Amount $ 10,000,000
13. Program Income $0
14. Total EPA Amount Awarded This Action $ 3,000,000
15. Total EPA Amount Awarded To Date $ 8,000,000

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Table B Budget Worksheet #1

Table B - Program Element Classification Total Approved Allowable
(Non-construction) Budget Perlod Cost
1. 07/01/2021 - until amended. pred. 35% - MTDC each $25,000 subaward limit, and exclude PSC $0
2. 07/01/2024 06/30/2028 - 37.00% - MTDC each $25,000 subaward limit, and exclude PSC $0
3. $0
4. $0
5. $0
6. $0
7. $0
8. $0
9. $0
10. $0
11. Total (Share: Recip %Fed %) $0
12. Total Approved Assistance Amount $0

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Attachment 1 - Project Description

The Thriving Communities Technical Assistance Center will leverage existing university extension
networks and technical service providers to reach remote, rural, and underserved communities across
EPA Region 5, including the states of Minnesota, Michigan, Wisconsin, Illinois, Indiana, and Ohio and 37
Tribal Nations.

The Inflation Reduction Act (IRA) technical assistance (TA) funds issued to the enter name of TCTAC
are specifically for the EJ TCTAC to coordinate and collaborate with the EJ Thriving Communities
Grantmaking program recipients (Grantmakers) and/or provide additional technical assistance and
support to applicants and subgrantee recipients funded through the Grantmaker program. The
Grantmakers are considered Technical Assistance providers, who provide funding as well as technical
assistance to applicants and subgrantee recipients addressing environmental concerns of disadvantaged
communities. Per the EJ TCTAC Request for Applications (RFA), Funding Opportunity Number EPA-I-
OP-OEJ-22-02, the EJ TCTACs are expected to coordinate with other Technical Assistance providers
over the project period.

This Incremental amendment obligates federal funding in the amount of $3,000,000. This funding action
coincides with the Regents of the University of Minnesota revised workplan and budget in accordance
with Clean Water Act: Sec. 104(b)(3), Solid Waste Disposal Act: Sec. 8001(a), 2022 Consolidated
Appropriations Act (PL 117-103), 2023 Consolidated Appropriations Act (PL 117-328), Clean Air Act:
Sec. 138, CERCLA: Sec. 311(c) guidelines. The remaining funding is contingent upon availability of
funds.

In addition, this amendment also updates the Terms and Conditions to reflect the October 1, 2024,
updates to 2 CFR 200.

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Administrative Conditions
ADMINISTRATIVE TERM AND CONDITION HAS BEEN UPDATED AS FOLLOWS:

NATIONAL ADMINISTRATIVE TERMS AND CONDITIONS

General Terms and Conditions

The General Terms and Conditions of this agreement are updated in accordance with the link below.
However, these updated conditions apply solely to the funds added with this amendment and any
previously awarded funds not yet disbursed by the recipient as of the award date of this amendment. The
General Terms and Conditions cited in the original award or prior funded amendments remain in effect
for funds disbursed by the recipient prior to the award date of this amendment.

The recipient agrees to comply with the current EPA general terms and conditions available at: https:
/Iwww.epa.gov/system/files/documents/2024-
10/fy_2025 epa_general_terms_and_conditions effective _october_1_ 2024 or_later.pdf

These terms and conditions are binding for disbursements and are in addition to or modify the
assurances and certifications made as a part of the award and the terms, conditions, or restrictions cited
throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.epa.
gov/grants/grant-terms-and-conditions#general.

Administrative term and condition has been added as follows:

Uniform Administrative Requirements, Cost Principles, and Audit Requirements for Federal Awards

This award is subject to the requirements of the Uniform Administrative Requirements, Cost Principles and Audit Requirements for Federal
Awards; Title 2 CFR Part 200 and 2 CFR Part 1500. 2 CFR 1500.2, Adoption of 2 CFR Part 200, states the Environmental Protection
Agency adopts the Office of Management and Budget (OMB) guidance Uniform Administrative Requirements, Cost Principles, and Audit
Requirements for Federal Awards to Non-Federal Entities (subparts A through Fof 2 CFR Part 200), as supplemented by 2 CFR Part 1500,
as the Environmental Protection Agency(EPA) policies and procedures for financial assistance administration. 2 CFR Part 1500 satisfies the
requirements of 2 CFR 200.110(a) and gives regulatory effect to the OMB guidance as supplemented by 2 CFR Part 1500. This award is
also subject to applicable requirements contained in EPA programmatic regulations located in 40 CFR Chapter 1 Subchapter B.

2.1 Effective Date and Incremental or Supplemental Funding. Consistent with the OMB Frequently Asked Questions at https://cfo.gov/cofar
on Effective Date and Incremental Funding, any new funding through an amendment (supplemental or incremental) on or after December
26, 2014, and any unobligated balances (defined at 2 CFR 200.1) remaining on the award at the time of the amendment, will be subject to
the requirements of the Uniform Administrative Requirements, Cost Principles and Audit Requirements (2 CFR Parts 200 and 1500).

ALL OTHER ADMINISTRATIVE TERMS AND CONDITIONS REMAIN THE SAME.

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Programmatic Conditions
THE FOLLOWING PROGRAMMATIC TERM AND CONDITION IS UPDATED:

Funding

Total Funding (This Action): $3,000,000

Funding Summary Total Amount Awarded to Date Total Approved Amount
$8,000,000 $10,000,000

THE FOLLOWING PROGRAMMATIC TERMS AND CONDITIONS ARE ADDED.

V. Termination

Notwithstanding the General Term and Condition “Termination”, EPA maintains the right to terminate the
Assistance Agreement only as specified in 2 CFR 200.339 and the version of 2 CFR 200.340 applicable to EPA
grants as of July 1, 2024 pursuant to 89 FR 55262 (July 3, 2024) , when the noncompliance with the terms and
conditions is substantial such that effective performance of the Assistance Agreement is materially impaired or
there is adequate evidence of waste, fraud, or abuse, prompting adverse action by EPA per 2 CFR 200.339,
through either a partial or full termination. In accordance with 2 CFR 200.341, EPA will provide the Recipient
notice of termination.

If EPA partially or fully terminates the Assistance Agreement, EPA must (1) de-obligate uncommitted funds and re-
obligate them to another Eligible Recipient to effectuate the objectives of the Environmental Justice Thriving
Communities Technical Assistance Centers (TCTAC) Program within 90 days of the de-obligation and (2) amend
the Recipient's Assistance Agreement to reflect the reduced amount, based on the de-obligation.

W. Inflation Reduction Act (IRA) Technical Assistance (TA) Funding

|. Tracking and Drawdown of Funding by Appropriation and Project Code

For this award, activities will be funded by EPA Environmental Programs and Management Funds (EPM), DOE's
Infrastructure Investment and Jobs Act (IIJA), and Inflation Reduction Act (IRA) Technical Assistance funds and
there will be separate project codes for each source of funding. Accordingly, for purposes of tracking and the
drawdown of funding to perform the activities under this agreement the following provisions apply:

- The Recipient agrees to have financial and programmatic management systems in place to track costs
according to project codes, source of funding, and any other relevant categories as directed by the EPA
Project Officer. The Recipient agrees to allocate direct costs according to the project codes in accordance
with relative benefits received (2 CFR §200.405 —Allocable costs). EPA will provide the project codes to
the Recipient. Indirect costs shall be allocated consistent with the uniform grant guidelines (2 CFR §200).

- EPAwill provide the project codes to the Recipient upon award and provide training to the Recipient on
how to draw down funds in accordance with the project codes, source of funding, and other applicable
accounting requirements.

- The Recipient must track expenditures of EPA EPM, DOE IIJA, and IRA TA funds separately based on the
associated appropriation and project code, and comply with EPA, DOE, IRA, and OMB requirements. This
applies to subaward recipients as well. This includes the Recipient:

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- Tracking IIJA, IRA, and “regular” EPM funds separately using Agency-provided project codes and
accounting fields as appropriate.

¢ Tracking all IIJA, IRA, and non-lIJA expenditures and draw down the funding separately by appropriation
and project code and using the assigned IIJA, IRA, or non-llJA “site” in ASAP (the Automated Standard
Application Payment system), track expenditures, and include this information in quarterly progress
reports to EPA or as requested.

¢ Tracking and reporting on outputs and outcomes achieved by project code.
e The Grant Management Officer may amend these provisions as necessary.
° The EJ TCTAC Project Codes for Great Lakes TCTAC are as follows:
= EPA Project Code: o8EPMEJ

= DOE Project Code: osilJAEJ
= IRA TA Project Code: 08IRATA

ll. Allowable uses of IRA Technical Assistance Funds

The authority for assistance awards under this program is Section 60201 of the Inflation Reduction
Act (IRA) which amends the Clean Air Act by adding Section 138(a)(2) and states “$200,000,000 to
remain available until September 30, 2026, to provide technical assistance to eligible entities

related to grants awarded under this section.” The IRA technical assistance (TA) funds issued to the
EJ TCTACs are specifically for the EJ TCTACs to coordinate with the EJ Thriving Communities
Grantmaking program recipients (Grantmakers) and/or provide additional technical assistance and
support to applicants and subgrantee recipients funded through the Grantmaker program. The
Grantmakers and their subawardeees and subgrantees have received and/or will receive funding
from the $2.8 billion for Environmental and Climate Justice Block grants detailed in the statute. The
funds issued to the EJ TCTACs will encourage and facilitate collaboration between the EJ TCTACs and
Grantmakers and to achieve the goals for both programs. Example TCTAC-Grantmaker collaboration
activities include but are not limited to:

« TCTACs actively identify requestors that meet eligibility criteria and are interested in
applying for the TCGM subgrant opportunities.

« TCTACs provide pre and post award support to Grantmaker applicants and grantees as
requested by grantee.

¢ TCTACs and Grantmakers actively communicate to align communication channels.

« TCTACs publicize Regional Grantmaker funding opportunities on preferred communication
channels.

- TCTACs actively invite (where appropriate) Regional Grantmakers to present on the funding
opportunities at outreach and engagement events with communities.

- TCTACs communicate with Grantmakers to understand the funding opportunity program
timelines, regional outreach strategies, core competencies, etc.

- TCTACs identify severely capacity-constrained entities that are more appropriate for the
Grantmaker non-competitive fixed-amount awards and refer them directly to the
Grantmakers for consideration.

- TCTACs collaborate with the Grantmakers to showcase community success stories for
communities and organizations that receive support from both the TCTACs and Grantmakers.

* TCTACs ensure there is consistent messaging on their respective media and published

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written documents when communicating with communities about the Grantmaker program.

Eligible activities for drawdowns include but are not limited to those outlined under the TCTAC-Grantmaker
Collaboration Guidance document. That document is subject to expansion. TCTACS are required to regularly
check with the assigned EPA Project Officer for updated guidance related to IRA TA funds and allowable uses.

ALL OTHER PROGRAMMATIC TERMS AND CONDITIONS REMAIN UNCHANGED

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GRANT NUMBER (FAIN): 98T65801
MODIFICATION NUMBER: 2 DATE OF AWARD
2 % U.S. ENVIRONMENTAL PROGRAM CODE: XJ 12/19/2024
= y Z
; | PROTECTION AGENCY __ | TYPE OF Action MAILING DATE
% e ugmentation: Increase
“ye Assistance Amendment PAYMENT ME TROD: RCTS
£ prov ASAP 90125
RECIPIENT TYPE: Send Payment Request to:
Not for Profit Contact EPA RTPFC at: rtpfc-grants@epa.gov
RECIPIENT: PAYEE:
SAN DIEGO STATE UNIVERSITY FOUNDATION SAN DIEGO STATE UNIVERSITY FOUNDATION
5250 CAMPANILE DR MC 1947 5250 CAMPANILE DR MC 1947
SAN DIEGO, CA 92182-1947 SAN DIEGO, CA 92182-1947
EIN: XX-XXXXXXX
PROJECT MANAGER EPA PROJECT OFFICER EPA GRANT SPECIALIST

Rebecca Lewison

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Email: rlewison@sdsu.edu
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Dani Allen-Williams

San Francisco, CA 94105

Phone: 415-972-3800

75 Hawthorne Street, CED-4-1

Email: AllenWilliams.Dani@epa.gov

Katya Obrez

Grants Branch, MSD-6

75 Hawthorne Street

San Francisco, CA 94105
Email: obrez.katya@epa.gov
Phone: 415-972-3744

PROJECT TITLE AND EXPLANATION OF CHANGES
Special Purpose Activities Related to Environmental Justice

See Attachment 1 for project description.

BUDGET PERIOD PROJECT PERIOD TOTAL BUDGET PERIOD COST —_| TOTAL PROJECT PERIOD COST
06/01/2023 - 05/30/2028 06/01/2023 - 05/30/2028 $ 9,999,999.00 $ 9,999,999.00
NOTICE OF AWARD

Based on your Application dated 11/01/2022 including all modifications and amendments, the United States acting by and through the US Environmental
Protection Agency (EPA) hereby awards $ 3,000,000.00. EPA agrees to cost-share 100.00% of all approved budget period costs incurred, up to and not
exceeding total federal funding of $ 8,100,000.00. Recipient's signature is not required on this agreement. The recipient demonstrates its commitment to carry
out this award by either: 1) drawing down funds within 21 days after the EPA award or amendment mailing date; or 2) not filing a notice of disagreement with
the award terms and conditions within 21 days after the EPA award or amendment mailing date. If the recipient disagrees with the terms and conditions
specified in this award, the authorized representative of the recipient must furnish a notice of disagreement to the EPA Award Official within 21 days after the
EPA award or amendment mailing date. In case of disagreement, and until the disagreement is resolved, the recipient should not draw down on the funds
provided by this award/amendment, and any costs incurred by the recipient are at its own risk. This agreement is subject to applicable EPA regulatory and
statutory provisions, all terms and conditions of this agreement and any attachments.

ISSUING OFFICE (GRANTS MANAGEMENT OFFICE)

AWARD APPROVAL OFFICE

ORGANIZATION / ADDRESS

ORGANIZATION / ADDRESS

U.S. EPA, Region 9, U.S. EPA, Region 9 Grants Branch, MSD-6
75 Hawthorne Street
San Francisco, CA 94105

U.S. EPA, Region 9, Environmental Justice, Community Engagement and
Environmental Review, CED-1

RQ - Region 9

75 Hawthorne Street

San Francisco, CA 94105

THE UNITED STATES OF AMERICA BY THE U.S. ENVIRONMENTAL PROTECTION AGENCY

Digital signature applled by EPA Award Officlal Carolyn Truong - Grants Management Officer

DATE
12/19/2024

EPA_00224059
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Date Filed 04/21/25

Entry Number 121-5

Page 11 of 130

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EPA Funding Information

FUNDS FORMER AWARD THIS ACTION AMENDED TOTAL
EPA Amount This Action $ 5,100,000 $ 3,000,000 $ 8,100,000
EPA In-Kind Amount $0 $0 $0
Unexpended Prior Year Balance $0 $0 $0
Other Federal Funds $0 $0 $0
Recipient Contribution $0 $0 $0
State Contribution $0 $0 $0
Local Contribution $0 $0 $0
Other Contribution $0 $0 $0
Allowable Project Cost $ 5,100,000 $ 3,000,000 $ 8,100,000
Assistance Program Statutory Authority Regulatory Authority

66.309 - Surveys, Studies, Investigations, Training
and Special Purpose Activities Relating to
Environmental Justice

2023 Consolidated Appropriations Act (PL 117-328)
Clean Air Act: Sec. 103(b)(3)

Clean Water Act: Sec. 104(b)(3)

Solid Waste Disposal Act: Sec. 8001(a)

2022 Consolidated Appropriations Act (PL 117-103)
Clean Air Act: Sec. 138

2 CFR 200, 2 CFR 1500 and 40 CFR 33

Fiscal
: Approp. Budget Object | a. . Cost Obligation /
Site Name Req No FY Code Organization PRC Class Site/Project Organization | Deobligation
- 25125WB110 222 BSF5 WF OOOW57XKS] 4140 12IRATA - $ 3,000,000
$ 3,000,000

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Budget Summary Page

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Table A - Object Class Category Total Approved Allowable
(Non-Construction) Budget Period Cost
1. Personnel $ 1,086,330
2. Fringe Benefits $ 345,160
3. Travel $ 285,000
4. Equipment $0
5. Supplies $ 44,275
6. Contractual $ 150,000
7. Construction $0
8. Other $ 6,907,147
9. Total Direct Charges $ 8,817,912
10. Indirect Costs: 0.00 % Base See General T/C $ 1,182,087
11. Total (Share: Recipient __ 0.00 % Federal __ 100.00 %) $ 9,999 999
12. Total Approved Assistance Amount $ 9,999,999
13. Program Income $0
14. Total EPA Amount Awarded This Action $ 3,000,000
15. Total EPA Amount Awarded To Date $ 8,100,000

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Attachment 1 - Project Description

The purpose of this project is to empower communities by providing critical services to community
organizations. These services will expand participants’ capacity to meet community-defined priorities and
participate meaningfully in decision-making processes, focusing specifically on underserved, rural,
remote, tribal, indigenous, and Pacific Island communities across EPA Region 9. The goal/mission is to
leverage and strengthen community assets by creating an accessible in-person and virtual community
that builds capacity and provides technical assistance in energy and environmental justice centered
around four unifying objectives: 1) Outreach and partnership building, 2) Development of resources, 3)
Transfer of knowledge and building community capacity, 4) Evaluation, adaptation, and innovation. The
hub of the Thriving Communities Technical Assistance Centers (TCTAC) will be based in a physical and
virtual center at San Diego State University (SDSU) called the Center for Community Energy and
Environmental Justice. Hub partners will work to coordinate activities in their area(s) of expertise across
all of EPA Region 9 and will facilitate co-production, co-development, sharing , transfer, and delivery of
both process and content among Spoke partners and community partners for environmental programs
(air, water, waste, energy, toxics) and grantsmanship. Spoke partners will lead on delivering services (in
person and virtually) to eligible community organizations, building and expanding on their existing eligible
community organizations in their network and identifying and connecting with new community
organizations, supporting community engagement and capacity building.

Hub Partners include: SDSU Community Climate Action Network, Environmental Protection Network,
USD Energy Policy Initiative Center, ASU Energy and Society, Institute for Tribal Environmental
Professionals, and Center for Creative Land Recycling.

Spoke Partners include: Climate Science Alliance (CA), Public Health Alliance (CA), Arizona State Univ
School of Sustainability (AZ), Desert Research Institute (NV), Pacific RISA (HI, AS), and Univ of Guam
Center for Island Sustainability (Guam).

This amendment provides additional partial federal funding in the amount of $3,000,000. See terms and
conditions.

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Administrative Conditions

Previous Administrative Terms and Conditions are reiterated and updated.

General Terms and Conditions

The recipient agrees to comply with the current Environmental Protection Agency (EPA) general terms

and conditions available at: https:/Awww.epa.gov/grants/epa-general-terms-and-conditions-effective-
october-1-2024-or-later

These terms and conditions are in addition to the assurances and certifications made as a part of the
award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.epa.
gov/grants/grant-terms-and-conditions#general.

A. Federal Financial Reporting (FFR)

For awards with cumulative project and budget periods greater than 12 months, the recipient will submit
an annual FFR (SF 425) covering the period from "project/budget period start date" to June 30 of each
calendar year to the EPA Finance Center in Research Triangle Park, NC. The annual FFR will be
submitted electronically to rtpfc-grants@epa.gov no later than September 30 of the same calendar
year. Find additional information at https:/Awww.epa.gov/financial/grants. (Per 2 CFR § 200.344(b), the
recipient must submit the Final FFR to rtpfc-grants@epa.gov within 120 days after the end of the project
period.)

B. Procurement

The recipient will ensure all procurement transactions will be conducted in a manner providing full and
open competition consistent with 2 CFR § 200.319. In accordance with 2 CFR § 200.324, the

recipient and subawardee(s) must perform a cost or price analysis in connection with applicable
procurement actions, including contract modifications. State and Tribal government entities must follow
procurement standards as outlined in 2 CFR § 200.317.

C. MBE/WBE Reporting, 40 CFR, Part 33, Subpart E (EPA Form 5700-52A)
The recipient agrees to submit a “MBE/WBE Utilization Under Federal Grants and Cooperative

Agreements” report (EPA Form 5700-52A) annually for the duration of the project period. The current
EPA Form 5700-52A with instructions is located at httos://www.epa.gov/grants/epa-grantee-forms

This provision represents an approved exception from the MBE/WBE reporting requirements as
described in 40 CFR Section 33.502.

Reporting is required for assistance agreements where funds are budgeted for procuring construction,
equipment, services and supplies (including funds budgeted for direct procurement by the recipient or
procurement under subawards or loans in the “Other” category) with a cumulative total that exceed the
Simplified Acquisition Threshold (SAT) currently set at $250,000 (the dollar threshold will be
automatically revised whenever the SAT is adjusted; See 2 CFR Section 200.1), including amendments
and/or modifications. All procurement actions are reportable when reporting is required, not just the

EPA_00224063
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portion which exceeds the SAT.

Recipients with expended and/or budgeted funds for procurement are required to report annually
whether the planned procurements take place during the reporting period or not. If no budgeted
procurements take place during the reporting period, the recipient should check the box in section
4A when completing the form.

When completing the annual report, recipients are instructed to check the box titled “annual” in section
1B of the form. For the final report, recipients are instructed to check the box indicated for the
“Final Report (project completed)” in section 1B of the form.

The annual reports are due by October 30th of each calendar year and the final report is due within 120
days after the end of the project period, whichever comes first. The recipient will submit the MBE/WBE
report(s) and/or questions to GrantsRegion9@epa.gov and the EPA Grants Specialist identified on page
1 of the award document.

D. Subaward(s)

The recipient's approved budget includes subaward(s). As applicable, the recipient will comply with the
General Term and Condition on reporting of first tier subawards to www.fsrs.gov per “Reporting
Subawards and Executive Compensation” requirement.

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Programmatic Conditions

All previous Programmatic Terms and Conditions remain the same except Condition v. and w. now
applies and Condition h. is deleted.

h.] Conditional Award - Deleted
v.] Inflation Reduction Act (IRA) Technical Assistance (TA) Funding

1. Tracking and Drawdown of Funding by Appropriation and Project Code

For this award, activities will be funded by EPA Environmental Programs and Management Funds
(EPM), DOE's Infrastructure Investment and Jobs Act (IIJA), and Inflation Reduction Act (IRA) Technical
Assistance funds and there will be separate project codes for each source of funding. Accordingly, for
purposes of tracking and the drawdown of funding to perform the activities under this agreement the
following provisions apply:

- The Recipient agrees to have financial and programmatic management systems in place to track
costs according to project codes, source of funding, and any other relevant categories as directed
by the EPA Project Officer. The Recipient agrees to allocate direct costs according to the project
codes in accordance with relative benefits received (2 CFR §200.405 —Allocable costs). EPA will
provide the project codes to the Recipient. Indirect costs shall be allocated consistent with the
uniform grant guidelines (2 CFR §200).

- EPA will provide the project codes to the Recipient upon award and provide training to the
Recipient on how to draw down funds in accordance with the project codes, source of funding,
and other applicable accounting requirements.

« The Recipient must track expenditures of EPA EPM, DOE IIJA, and IRA TA funds separately
based on the associated appropriation and project code, and comply with EPA, DOE, IRA, and
OMB requirements. This applies to subaward recipients as well. This includes the Recipient:

- Tracking IIJA, IRA, and “regular” EPM funds separately using Agency-provided project codes and
accounting fields as appropriate.

¢ Tracking all IIJA, IRA, and non-IIJA expenditures and draw down the funding separately by
appropriation and project code and using the assigned IIJA, IRA, or non-lIJA “site” in ASAP (the
Automated Standard Application Payment system), track expenditures, and include this
information in quarterly progress reports to EPA or as requested.

* Tracking and reporting on outputs and outcomes achieved by project code.

- The Grant Management Officer may amend these provisions as necessary.

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- The EJ TCTAC Project Codes for the SDSU TCTAC are as follows:
- EPA Project Code: —12EPMEJ
- DOE Project Code: 12IIJAEJ
- IRATA Project Code: 12IRATA___—_|
- All Other Lines of Accounting: No Site
2. Allowable uses of IRA Technical Assistance Funds

The authority for assistance awards under this program is Section 60201 of the Inflation Reduction Act
(IRA) which amends the Clean Air Act by adding Section 138(a)(2) and states “$200,000,000 to remain
available until September 30, 2026, to provide technical assistance to eligible entities related to grants
awarded under this section.” The IRA technical assistance (TA) funds issued to the EJ TCTACs are
specifically for the EJ TCTACs to coordinate with the EJ Thriving Communities Grantmaking program
recipients (Grantmakers) and/or provide additional technical assistance and support to applicants and
subgrantee recipients funded through the Grantmaker program. The Grantmakers and their
subawardeees and subgrantees have received and/or will receive funding from the $2.8 billion for
Environmental and Climate Justice Block grants detailed in the statute. The funds issued to the EJ
TCTACs will encourage and facilitate collaboration between the EJ TCTACs and Grantmakers and to
achieve the goals for both programs. Example TCTAC-Grantmaker collaboration activities include but
are not limited to:

- TCTACs actively identify requestors that meet eligibility criteria and are interested in applying for
the TCGM subgrant opportunities.

- TCTACs provide pre and post award support to Grantmaker applicants and grantees as
requested by grantee.

* TCTACs and Grantmakers actively communicate to align communication channels.

- TCTACs publicize Regional Grantmaker funding opportunities on preferred communication
channels.

« TCTACs actively invite (where appropriate) Regional Grantmakers to present on the funding
opportunities at outreach and engagement events with communities.

«+ TCTACs communicate with Grantmakers to understand the funding opportunity program
timelines, regional outreach strategies, core competencies, etc.

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- TCTACs identify severely capacity-constrained entities that are more appropriate for the
Grantmaker non-competitive fixed-amount awards and refer them directly to the Grantmakers for
consideration.

« TCTACs collaborate with the Grantmakers to showcase community success stories for
communities and organizations that receive support from both the TCTACs and Grantmakers.

- TCTACs ensure there is consistent messaging on their respective media and published written
documents when communicating with communities about the Grantmaker program.

Eligible activities for drawdowns include but are not limited to those outlined under the TCTAC-
Grantmaker Collaboration Guidance document. That document is subject to expansion. TCTACS are
required to regularly check with the assigned EPA Project Officer for updated guidance related to IRA TA
funds and allowable uses.

3. IRA Technical Assistance Funds Reporting.

Details on drawdown amounts and activities performed with IRA TA funding should be incorporated and
reported by each EJ TCTAC as part of the required quarterly progress reports. TCTACs must provide a
level of detail in the report on use of the IRA TA funds, expenses, and drawdown amounts over each
quarter sufficient to demonstrate proper accounting and financial management practices to ensure
proper use of IRA TA funds. Each assigned EPA Project Officer will review these quarterly reports for
compliance with this term and condition.

w.] Termination

Notwithstanding the General Term and Condition “Termination”, EPA maintains the right to terminate the
Assistance Agreement only as specified in 2 CFR 200.339 and the version of 2 CFR 200.340 applicable
to EPA grants as of July 1, 2024 pursuant to 89 FR 55262 (July 3, 2024) , when the noncompliance with
the terms and conditions is substantial such that effective performance of the Assistance Agreement is
materially impaired or there is adequate evidence of waste, fraud, or abuse, prompting adverse action by
EPA per 2 CFR 200.339, through either a partial or full termination. In accordance with 2 CFR 200.341,
EPA will provide the Recipient notice of termination.

lf EPA partially or fully terminates the Assistance Agreement, EPA must (1) de-obligate uncommitted
funds and re-obligate them to another Eligible Recipient to effectuate the objectives of the Environmental
Justice Thriving Communities Technical Assistance Centers (TCTAC) Program within 90 days of the de-
obligation and (2) amend the Recipient's Assistance Agreement to reflect the reduced amount, based on
the de-obligation.

*** END OF ASSISTANCE AGREEMENT ***

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GRANT NUMBER (FAIN): 96701501
MODIFICATION NUMBER: 2 DATE OF AWARD
2 % U.S. ENVIRONMENTAL PROGRAM CODE: XJ 12/30/2024
= y Z
; | PROTECTION AGENCY __ | TYPE OF Action MAILING DATE
% sie ugmentation: Increase
“ye Assistance Amendment PAYMENT ME TROD: ACE
£ prov ASAP 77850
RECIPIENT TYPE: Send Payment Request to:
State Institution of Higher Learning rtpfc-grants@epa.gov
RECIPIENT: PAYEE:
WICHITA STATE UNIVERSITY Same as Recipient
OFFICE OF RESEARCH OFFICE OF RESEARCH
1845 FAIRMOUNT 1845 FAIRMOUNT
WICHITA, KS 67260-0007 WICHITA, KS 67260-0007
EIN: XX-XXXXXXX
PROJECT MANAGER EPA PROJECT OFFICER EPA GRANT SPECIALIST

Tonya Bronleewe

WICHITA STATE UNIVERSITY

1845 FAIRMOUNT

WICHITA, KS 67260-0007

Email: tonya.bronleewe@wichita.edu
Phone: 316-978-6638

Monica Espinosa

11201 Renner Blvd., ORA/OIA/CS
Lenexa, KS 66219

Email: Espinosa.Monica@epa.gov
Phone: 913-551-7541

Joseph McGuire

Grants Management Office, MSD/RFMB/GRMS
11201 Renner Boulevard

Lenexa, KS 66219

Email: McGuire.Joseph@epa.gov

Phone: 913-551-7308

PROJECT TITLE AND EXPLANATION OF CHANGES

Environmental Justice Thriving Communities Technical Assistance Centers Program

This incremental amendment increases EPA funding by $3,000,000 and partially funds the award. This amendment also updates the terms and conditions.

BUDGET PERIOD
04/01/2023 - 03/31/2028

PROJECT PERIOD

04/01/2023 - 03/31/2028 $ 10,000,000.00

TOTAL BUDGET PERIOD COST

TOTAL PROJECT PERIOD COST
$ 10,000,000.00

NOTICE OF AWARD

Based on your Application dated 11/01/2022 including all modifications and amendments, the United States acting by and through the US Environmental
Protection Agency (EPA) hereby awards $ 3,000,000.00. EPA agrees to cost-share 100.00% of all approved budget period costs incurred, up to and not
exceeding total federal funding of $ 8,000,000.00. Recipient's signature is not required on this agreement. The recipient demonstrates its commitment to carry
out this award by either: 1) drawing down funds within 21 days after the EPA award or amendment mailing date; or 2) not filing a notice of disagreement with
the award terms and conditions within 21 days after the EPA award or amendment mailing date. If the recipient disagrees with the terms and conditions
specified in this award, the authorized representative of the recipient must furnish a notice of disagreement to the EPA Award Official within 21 days after the
EPA award or amendment mailing date. In case of disagreement, and until the disagreement is resolved, the recipient should not draw down on the funds
provided by this award/amendment, and any costs incurred by the recipient are at its own risk. This agreement is subject to applicable EPA regulatory and
statutory provisions, all terms and conditions of this agreement and any attachments.

ISSUING OFFICE (GRANTS MANAGEMENT OFFICE) AWARD APPROVAL OFFICE
ORGANIZATION / ADDRESS ORGANIZATION / ADDRESS
U.S. EPA, Region 7, Grants Management Office U.S. EPA, Region 7, Office of Intergovernmental Affairs

11201 Renner Boulevard
Lenexa, KS 66219

R7 - Region 7
11201 Renner Blvd
Lenexa , KS 66219

THE UNITED STATES OF AMERICA BY THE U.S. ENVIRONMENTAL PROTECTION AGENCY

Digital signature applied by EPA Award Official Whitney Rawls - Grants Management Official

DATE
12/30/2024

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EPA Funding Information

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FUNDS FORMER AWARD THIS ACTION AMENDED TOTAL
EPA Amount This Action $ 5,000,000 $ 3,000,000 $ 8,000,000
EPA In-Kind Amount $0 $0 $0
Unexpended Prior Year Balance $0 $0 $0
Other Federal Funds $0 $0 $0
Recipient Contribution $0 $0 $0
State Contribution $0 $0 $0
Local Contribution $0 $0 $0
Other Contribution $0 $0 $0
Allowable Project Cost $ 5,000,000 $ 3,000,000 $ 8,000,000
Assistance Program Statutory Authority Regulatory Authority

66.309 - Surveys, Studies, Investigations, Training
and Special Purpose Activities Relating to
Environmental Justice

2022 Consolidated Appropriations Act (PL 117-103)
2023 Consolidated Appropriations Act (PL 117-328)
Clean Air Act: Sec. 103(b)(3)

Solid Waste Disposal Act: Sec. 8001(a)

Clean Water Act: Sec. 104(b)(3)

Clean Air Act: Sec. 138

2 CFR 200, 2 CFR 1500 and 40 CFR 33

Fiscal
: Approp. Budget Object | a. . Cost Obligation /
Site Name Req No FY Code Organization PRC Class Site/Project Organization | Deobligation
- 25125WB 141 222 BSF5 WF OOOW57XKS] 4140 1OIRATA - $ 3,000,000
$ 3,000,000

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Budget Summary Page

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Table A - Object Class Category Total Approved Allowable
(Non-Construction) Budget Period Cost
1. Personnel $ 3,024,880
2. Fringe Benefits $ 1,049,581
3. Travel $ 224,382
4. Equipment $0
5. Supplies $ 71,904
6. Contractual $ 80,500
7. Construction $0
8. Other $ 4,646,229
9. Total Direct Charges $ 9,097,476
10. Indirect Costs: 0.00 % Base See NICA $ 902,524
11. Total (Share: Recipient __ 0.00 % Federal _ 100.00 %) $ 10,000,000
12. Total Approved Assistance Amount $ 10,000,000
13. Program Income $0
14. Total EPA Amount Awarded This Action $ 3,000,000
15. Total EPA Amount Awarded To Date $ 8,000,000

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Administrative Conditions
General Terms and Conditions
The recipient agrees to comply with the current Environmental Protection Agency (EPA) general terms

and conditions available at: httos:/Awww.epa.gov/system/files/documents/2024-
10/fy 2025 epa general terms and conditions effective october 1 2024 or later.pdf

These terms and conditions are in addition to the assurances and certifications made as a part of the
award and the terms, conditions, or restrictions cited throughout the award.

The EPA repository for the general terms and conditions by year can be found at: https://www.epa.
gov/grants/grant-terms-and-conditions#general.

D. Uniform Administrative Requirements, Cost Principles, and Audit Requirements for Federal Awards

This award is subject to the requirements of the Uniform Administrative Requirements, Cost Principles
and Audit Requirements for Federal Awards; Title 2 CFR Part 200 and 2 CFR Part 1500. 2 CFR 1500.2,
Adoption of 2 CFR Part 200, states the Environmental Protection Agency adopts the Office of
Management and Budget (OMB) guidance Uniform Administrative Requirements, Cost Principles, and
Audit Requirements for Federal Awards to Non-Federal Entities (subparts A through F of 2 CFR Part
200), as supplemented by 2 CFR Part 1500, as the Environmental Protection Agency (EPA) policies and
procedures for financial assistance administration. 2 CFR Part 1500 satisfies the requirements of 2 CFR
200.110(a) and gives regulatory effect to the OMB guidance as supplemented by 2 CFR Part 1500. This
award is also subject to applicable requirements contained in EPA programmatic regulations located in
40 CFR Chapter 1 Subchapter B.

2.1 Effective Date and Incremental or Supplemental Funding. Consistent with the OMB Frequently
Asked Questions at https://cfo.gov/cofar on Effective Date and Incremental Funding, any new funding
through an amendment (supplemental or incremental) on or after December 26, 2014, and any
unobligated balances (defined at 2 CFR 200.1) remaining on the award at the time of the amendment,
will be subject to the requirements of the Uniform Administrative Requirements, Cost Principles and Audit
Requirements (2 CFR Parts 200 and 1500).

All other administrative terms and conditions remain the same.

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Programmatic Conditions

V. Inflation Reduction Act (IRA) Technical Assistance (TA) Funding
|. Tracking and Drawdown of Funding by Appropriation and Project Code

For this award, activities will be funded by EPA Environmental Programs and Management Funds
(EPM), DOE's Infrastructure Investment and Jobs Act (IIJA), and Inflation Reduction Act (IRA) Technical
Assistance funds and there will be separate project codes for each source of funding. Accordingly, for
purposes of tracking and the drawdown of funding to perform the activities under this agreement the
following provisions apply:

- The Recipient agrees to have financial and programmatic management systems in place to track
costs according to project codes, source of funding, and any other relevant categories as directed
by the EPA Project Officer. The Recipient agrees to allocate direct costs according to the project
codes in accordance with relative benefits received (2 CFR §200.405 —Allocable costs). EPA will
provide the project codes to the Recipient. Indirect costs shall be allocated consistent with the
uniform grant guidelines (2 CFR §200).

« EPA will provide the project codes to the Recipient upon award and provide training to the
Recipient on how to draw down funds in accordance with the project codes, source of funding,
and other applicable accounting requirements.

- The Recipient must track expenditures of EPA EPM, DOE IIJA, and IRA TA funds separately
based on the associated appropriation and project code, and comply with EPA, DOE, IRA, and
OMB requirements. This applies to subaward recipients as well. This includes the Recipient:

« Tracking IIJA, IRA, and “regular” EPM funds separately using Agency-provided project codes and
accounting fields as appropriate.

¢ Tracking all IIJA, IRA, and non-IIJA expenditures and draw down the funding separately by
appropriation and project code and using the assigned IIJA, IRA, or non-lIJA “site” in ASAP (the
Automated Standard Application Payment system), track expenditures, and include this
information in quarterly progress reports to EPA or as requested.

¢ Tracking and reporting on outputs and outcomes achieved by project code.
e The Grant Management Officer may amend these provisions as necessary.
e The EJ TCTAC Project Codes for Wichita State University are as follows:
EPA Project Code: 10EPMEJ
DOE Project Code: 10IIJAEJ
IRA TA Project Code: 10IRATA
All Other Lines of Accounting: No Site

\. Allowable uses of IRA Technical Assistance Funds

The authority for assistance awards under this program is Section 60201 of the Inflation

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Reduction Act (IRA) which amends the Clean Air Act by adding Section 138(a)(2) and states
“$200,000,000 to remain available until September 30, 2026, to provide technical

assistance to eligible entities related to grants awarded under this section.” The IRA
technical assistance (TA) funds issued to the EJ TCTACs are specifically for the EJ TCTACs to
coordinate with the EJ Thriving Communities Grantmaking program recipients
(Grantmakers) and/or provide additional technical assistance and support to applicants and
subgrantee recipients funded through the Grantmaker program. The Grantmakers and their
subawardeees and subgrantees have received and/or will receive funding from the $2.8
billion for Environmental and Climate Justice Block grants detailed in the statute. The funds
issued to the EJ TCTACs will encourage and facilitate collaboration between the EJ TCTACs
and Grantmakers and to achieve the goals for both programs. Example TCTAC-Grantmaker
collaboration activities include but are not limited to:

- TCTACs actively identify requestors that meet eligibility criteria and are interested in
applying for the TCGM subgrant opportunities.

« TCTACs provide pre and post award support to Grantmaker applicants and grantees
as requested by grantee.

«+ TCTACs and Grantmakers actively communicate to align communication channels.

« TCTACs publicize Regional Grantmaker funding opportunities on preferred
communication channels.

« TCTACs actively invite (where appropriate) Regional Grantmakers to present on the
funding opportunities at outreach and engagement events with communities.

« TCTACs communicate with Grantmakers to understand the funding opportunity
program timelines, regional outreach strategies, core competencies, etc.

- TCTACs identify severely capacity-constrained entities that are more appropriate for
the Grantmaker non-competitive fixed-amount awards and refer them directly to the
Grantmakers for consideration.

« TCTACs collaborate with the Grantmakers to showcase community success stories for
communities and organizations that receive support from both the TCTACs and
Grantmakers.

« TCTACs ensure there is consistent messaging on their respective media and
published written documents when communicating with communities about the
Grantmaker program.

Eligible activities for drawdowns include but are not limited to those outlined under the TCTAC-
Grantmaker Collaboration Guidance document. That document is subject to expansion. TCTACS are
required to regularly check with the assigned EPA Project Officer for updated guidance related to IRA TA
funds and allowable uses.

I. [IRA Technical Assistance Funds Reporting.

Details on drawdown amounts and activities performed with IRA TA funding should be incorporated and
reported by each EJ TCTAC as part of the required quarterly progress reports. TCTACs must provide a
level of detail in the report on use of the IRA TA funds, expenses, and drawdown amounts over each

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quarter sufficient to demonstrate proper accounting and financial management practices to ensure
proper use of IRA TA funds. Each assigned EPA Project Officer will review these quarterly reports for
compliance with this term and condition.

Termination

Notwithstanding the General Term and Condition “Termination”, EPA maintains the right to terminate the
Assistance Agreement only as specified in 2 CFR 200.339 and the version of 2 CFR 200.340 applicable
to EPA grants as of July 1, 2024 pursuant to 89 FR 55262 (July 3, 2024) , when the noncompliance with
the terms and conditions is substantial such that effective performance of the Assistance Agreement is
materially impaired or there is adequate evidence of waste, fraud, or abuse, prompting adverse action by
EPA per 2 CFR 200.339, through either a partial or full termination. In accordance with 2 CFR 200.341,
EPA will provide the Recipient notice of termination.

lf EPA partially or fully terminates the Assistance Agreement, EPA must (1) de-obligate uncommitted
funds and re-obligate them to another Eligible Recipient to effectuate the objectives of the Environmental
Justice Thriving Communities Technical Assistance Centers (TCTAC) Program within 90 days of the de-
obligation and (2) amend the Recipient's Assistance Agreement to reflect the reduced amount, based on
the de-obligation.

All Other Programmatic Terms and Conditions remain the same.

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2:25-Cv-02152-RMG Date Filed 04/2 Ve>srq, Entry Number 121-5 Page 26 of 130
» &

OFFICE OF MISSION SUPPORT
WASHINGTON, D.C. 20460

[ DATE \@ "MMMM gd, yyyy" ]

MEMORANDUM

SUBJECT: Termination of EPA Assistance Agreement XJOOE03450-0 under 2 CFR 200.340
FROM: EPA Award Official

TO: Victoria Troxler, Senior Grants and Contract Officer

Regents of University of Minnesota

The purpose of this communication is to notify you that the U.S. Environmental Protection Agency (EPA) is
hereby terminating Assistance Agreement

No. XJOOE03450-4 awarded to Regents of University of Minnesota. In accordance with 2 CFR 200.340(a)(2)
(effective August 13, 2020 — September 30, 2024) and the Termination term and condition contained in the EPA
General Terms and Conditions effective August 13, 2020 — September 30, 2024, EPA Assistance Agreement
XJOOE03450-4 is terminated in its entirety effective immediately on the grounds that the award no longer
effectuates the program goals or agency priorities. The objectives of the award are no longer consistent with
EPA funding priorities.

It is a priority of the EPA to eliminate discrimination in all programs throughout the United States. The EPA
Administrator has determined that, per the Agency’s obligations to the constitutional and statutory law of the
United States, this priority includes ensuring that the Agency’s grants do not support programs or organizations
that promote or take part in diversity, equity, and inclusion (“DEI”) initiatives, “environmental justice” initiatives,
and conflict with the Agency’s policy of prioritizing merit, fairness, and excellence in performing our statutory
functions. In addition to complying with the civil rights laws, it is vital that the Agency assess whether all grant
payments are free from fraud, abuse, waste, and duplication, as well as to assess whether current grants are in
the best interests of the United States.

The grant specified above provides funding for programs that promote or take part in DEI initiatives or
environmental justice initiatives or other initiatives that conflict with the Agency’s policy of prioritizing merit,
fairness, and excellence in performing our statutory functions; that are not free from fraud, abuse, waste, or
duplication; or that otherwise fail to serve the best interests of the United States. The grant is therefore
inconsistent with, and no longer effectuates, Agency priorities.

The process for closeout is generally outlined in 2 CFR 200.344. EPA is clarifying what reports are required and
what reports are waived below. Other requirements are still in effect if applicable to your grant.

EPA is requiring the following closeout reports due within 120 days of closeout (2 CFR 200.344a:)

e Final Federal Financial Report, SF-425
e Final Technical Report

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e Other programmatic reports identified in your terms and conditions

As part of this termination, EPA is waiving the following closeout reports:
@ Property Report, SF-428
e Final Minority Business Enterprise/Woman Business Enterprise Utilization Under Federal Grants and
Cooperative Agreements, EPA Form 5700-52A

The recipient may request payment from the Automated Standard Application Payments (ASAP) system for
allowable costs incurred up to the date of this memo provided that such costs were contained in the approved
workplan. Costs incurred by you after this termination are allowable only if (a) those costs were properly
incurred by you before the effective date of this termination, and not in anticipation of it; and (b) those costs
would be allowable if your federal award was not suspended or expired normally at the end of the period of
performance in which the termination takes effect. See 2 C.F.R. § 200.343. You are encouraged to carefully
review and discharge your closeout responsibilities set forth in 2 C.F.R. § 200.344-45 and your award agreement.
Those responsibilities include, but are not limited to, your obligation to “promptly refund any unobligated
funds” that have been paid out but “are not authorized to be retained.” See 2 C.F.R. § 200.344(g).

Also, per 2 CFR 200.472, a recipient may use grant funds to properly closeout their grant including reasonable
and necessary costs that might occur after the date of this memo. If the recipient drew down funds from ASAP
for costs beyond the termination date or for costs that exceed the amount necessary to properly closeout their
grant, the recipient must contact RTPFC at | HYPERLINK "mailto:rtpfc-grants@epa.gov" \h ] for
instructions on how to return the excess funds.

The EPA Grants Management Office has issued an amendment to the agreement to document the termination.

If you wish to dispute this termination decision, the Disputes Decision Official (DDO), [| HYPERLINK
"mailto:coyle.ann@epa.gov" |, must receive the Dispute no later than 30 calendar days from the date this
termination notice is electronically sent to you. Disputes must be sent electronically by email to the DDO, witha
copy to the EPA Award Official, [ HYPERLINK "mailto:dolan.sheila@epa.gov" ] within the 30-day period
stated above. The Dispute submitted to the DDO must include: (1) A copy of the disputed Agency Decision; (2) A
detailed statement of the specific legal and factual grounds for the Dispute, including copies of any supporting
documents; (3) The specific remedy or relief you seek under the Dispute; and (4) The name and contact
information, including email address, of your designated point of contact for the Dispute. See 2 CFR 1500.15

The requirements on post-closeout adjustments and continuing responsibilities, including audit and record
retention requirements, at 2 CFR 200.345 remain in effect.

ATTACHMENT

Amendment Document

cc: Robert Fields, EPA Grants Specialist

Sidler Davis, EPA Project Officer
Office Regional Administrative

EPA_00224076
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

NATIONAL ASSOCIATION OF
DIVERSITY OFFICERS IN HIGHER
EDUCATION, et al.,

Plainti
aintiffs, Case No. 1:25-cv-00333-ABA

Vv.

DONALD J. TRUMP, et al.,
Defendants

MEMORANDUM OPINION

Among the executive orders the President issued on the first two days of the
administration were orders that (1) directed all executive agencies to “terminate...
‘equity-related’ grants or contracts” (the “Termination Provision”), (2) directed all
executive agencies to “include in every contract or grant award” a certification,
enforceable through the False Claims Act, that the contractor and grantee “does not
operate any programs promoting DEI that violate any applicable Federal anti-
discrimination laws” (the “Certification Provision”), and (3) directing the Attorney
General to take “appropriate measures to encourage the private sector to end illegal
discrimination and preferences, including DEI,” to “deter” such “programs or
principles,” and to “identify .. . potential civil compliance investigations” to accomplish
such “deter[rence]” (the “Enforcement Threat Provision”) (collectively, the “Challenged

Provisions” ).1

1 Exec. Order No. 14,151, Ending Radical and Wasteful Government DEI Programs and
Preferencing, Executive Order of January 20, 2025, 90 Fed. Reg. 8339, 8339 (Jan. 29,

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The term “DEI,” of course, is shorthand for “diversity, equity, and inclusion.” And
ensuring equity, diversity, and inclusion has long been a goal, and at least in some
contexts arguably a requirement, of federal anti-discrimination law. But the
administration has declared “DEI” to be henceforth “illegal,” has announced it will be

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terminating all “‘equity-related’ grants or contracts”—whatever the administration
might decide that means—and has made “practitioners” of what the government
considers “DEI” the targets of a “strategic enforcement plan.” J20 Order § 2; J21 Order §
4. But the Challenged Orders do not define any of the operative terms, such as “DEI,”
“equity-related,” “promoting DEI,” “illegal DEI,” “illegal DEI and DEIA? policies,” or
“illegal discrimination or preferences,” J20 Order §§ 1-2; J21 Order §§ 1-4—let alone
identify the types of programs or policies the administration considers “illegal.”

According to a recent case, “approximately 20% of the nation’s labor force works
for a federal contractor.” Kentucky v. Biden, 57 F.4th 545, 548 (6th Cir. 2023). The
Termination Provision leaves those contractors and their employees, plus any other
recipients of federal grants, with no idea whether the administration will deem their
contracts or grants, or work they are doing, or speech they are engaged in, to be “equity-
related.” And the J21 Order leaves the private sector at a loss for whether the

administration will deem a particular policy, program, discussion, announcement, etc.

to be among the “preferences, mandates, policies, programs, and activities” the

2025) (“J2o0 Order”); Exec. Order No. 14173, Ending Illegal Discrimination and
Restoring Merit-Based Opportunity, Executive Order of January 21, 2025, 90 Fed. Reg.
8633, 8634-35 (Jan. 31, 2025) (“J21 Order”) (collectively, the “Orders” or “Challenged
Orders”) (emphasis added).

2 The J20 defines this phrase as “diversity, equity, inclusion, and accessibility.” J2o0
Order § 2(a).

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administration now deems “illegal.” J21 Order §§ 2, 4(b)(iii). Plaintiffs, who have easily
established their standing to bring this case and irreparable harm, have shown they are
likely to prove the Termination and Enforcement Threat Provisions are
unconstitutionally vague on their face.

But it is not just the vagueness of the Challenged Provisions that renders them
unconstitutional. There is a label for government action that seeks to “deter . . .
principles,” J21 Order § 4(b)(iii), that the government disagrees with: “restrict[ion]” of
“expression because of its message, its ideas, its subject matter, or its content.” Reed v.
Town of Gilbert, 576 U.S. 155, 163 (2015). And the most “blatant” and “egregious form
of content discrimination” is viewpoint discrimination. Id. at 168-69. The Certification
and Enforcement Threat Provisions squarely, unconstitutionally, “abridge[] the freedom
of speech.” U.S. Const. amend. I.

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A “President’s duties are of ‘unrivaled gravity and breadth.” Trump v. United
States, 603 U.S. 593, 607 (2024) (quoting Trump v. Vance, 591 U.S. 786, 800 (2020)).
And the Constitution “vest[s] the President with ‘supervisory and policy responsibilities
of utmost discretion and sensitivity.” Id. (quoting Nixon v. Fitzgerald, 457 U.S. 731, 750
(1982)). But “a President does not ‘stand exempt from the general provisions of the
constitution.” Id. at 612 (quoting United States v. Burr, 25 F. Cas. 30, 34 (No. 14,692d)
(C.C.D. Va. 1807)). The preliminary injunction factors weigh in favor of issuing a

preliminary injunction against the Termination Provision, the Certification Provision,

and part of the Enforcement Threat Provision.

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I. BACKGROUND

A. The Challenged Executive Orders

As noted above, President Trump issued the two executive orders at issue on
January 20 and 21, 2025. See J20 Order; J21 Order. The J20 Order focuses on activities
and programs within the federal government, including “Equity Action Plans” that were
required of executive agencies during President Biden’s administration. See J20 Order
§§ 1-2 (citing Exec. Order No. 13,985, 86 Fed. Reg. 7009 (Jan. 25, 2021)). The J21 Order
focuses on “ending illegal preferences and discrimination,” both within the federal
government and in the private sector. J21 Order 8§ 1-4.

Plaintiffs do not contend that the two Challenged Orders are unconstitutional in
their entirety; Plaintiffs challenge one specific provision of the J20 Order and two
specific provisions of the J21 Order, detailed below. Other aspects of the Challenged
Orders, such as a direction to assess the operational impact and cost of President
Biden’s DEI, DEIA, and “environmental justice” programs and policies, J20 Order §
2(b)(iii), and ordering the Director of the Office of Management and Budget (OMB) to
“[e]xcise references to DEI and DEIA principles” from federal acquisition and
contracting procedures, J21 Order § 3(c)(ii), are not at issue here. Each order also
contains a severability clause, stating that if any provision of the order is held to be
invalid, “the remainder of this order . . . shall not be effected.” J20 Order § 3; J21 Order
§ 6.

1. Termination Provision
The first provision that Plaintiffs challenge is Section 2(b)(i) of the J20 Order, the

Termination Provision. That provision provides, in pertinent part, as follows:

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Each agency, department, or commission head, in
consultation with the Attorney General, the Director of OMB,
and the Director of OPM, as appropriate, shall take the
following actions within sixty days of this order: (i) terminate,
to the maximum extent allowed by law, all . . . “equity-related”
grants or contracts.

J20 Order § 2(b)(i). That provision is in the context of Section 2 of the J20 Order, which
directs the OMB director, “assisted by the Attorney General and the Director of the
Office of Personnel Management,” to “coordinate the termination of all discriminatory
programs, including illegal DEI and ‘diversity, equity, inclusion, and accessibility’
(DEIA) mandates, policies, programs, preferences, and activities in the Federal
Government, under whatever name they appear.” J20 Order § 2(a).

Plaintiffs bring two discrete claims against the Termination Provision. First,
Plaintiffs contend the provision violates the Spending Clause of the United States
Constitution. ECF No. 1 {1 154-62 (“Count One”) (citing U.S. Const. art. I, §§ 1, 8). They
assert that neither the President nor executive branch officials have authority under the

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Constitution to unilaterally terminate “‘equity-related’ grants and contracts,” absent
express statutory authority. Id. 7 159. Second, Plaintiffs argue that the provision is
unconstitutionally vague in violation of the Fifth Amendment’s Due Process Clause. Id.
{1 163-70 (“Count Two”). Plaintiffs further note that key terms—including “DEI,”
“DEIA,” “equity,” and “equity-related”—are undefined in the order. Id. 4167. As a result,
Plaintiffs contend, they are “left to guess” not only “whether their federal grants or
contracts will be terminated,” but also how to conform their policies, programs, and

speech to the vague, undefined, and unspecified directive that “equity-related” grants

will be terminated. Id. 1 168.

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2. Certification Provision
The next provision Plaintiffs challenge is Section 3(b)(iv) of the J21 Order, the
Certification Provision. That provision provides as follows:

(iv) The head of each agency shall include in every contract or
grant award:

(A) A term requiring the contractual counterparty or grant
recipient to agree that its compliance in all respects with
all applicable Federal anti-discrimination laws is material
to the government’s payment decisions for purposes of
section 3729(b)(4) of title 31, United States Code; and

(B) A term requiring such counterparty or recipient to
certify that it does not operate any programs promoting
DEI that violate any applicable Federal anti-
discrimination laws.

J21 Order § 3(b).

The reference to 31 U.S.C. § 3729(b)(4) refers to the False Claims Act. Under the
False Claims Act, a person who, for example, “knowingly makes, uses, or causes to be
made or used, a false record or statement material to an obligation to pay or transmit
money or property to the Government” is “liable to the United States Government for a
civil penalty... plus 3 times the amount of damages which the Government sustains
because of the act of that person.” 31 U.S.C. § 3729(a)(4)(G). That means the
Certification Provision is attempting to use the False Claims Act to enforce the
government’s notion of what it means to “promot[e] DEI” in a way that “violate[s] any
applicable Federal anti-discrimination laws.”

Plaintiffs bring two distinct claims against the Certification Provision.

First, Plaintiffs allege the Certification Provision violates the Free Speech Clause

of the First Amendment. ECF No. 1 {1 193-201 (“Count Five”). They argue the provision

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“impermissibly restricts Plaintiffs[’] constitutionally protected speech based on its
content and viewpoint.” Id. 195. They also claim that the provision fails to define the
terms including “programs promoting DEI” and fails to explain “why such programs
might violate anti-discrimination laws.” Id. Specifically, they argue that “Plaintiffs are
chilled from expressing or participating in anything that might draw the ire of the
President or his administration when it comes to DEI” and that “[t]hrough this
provision, President Trump brandishes the threat of [False Claims Act] enforcement to
quiet federal contractors’ and grantees’ dissenting views.” Id. {1 197, 199.

Second, Plaintiffs contend the Certification Provision violates separation of
powers principles. Id. {{] 202-10 (“Count Six”). Plaintiffs contend the executive branch
has “no authority to dictate government spending or place conditions on the spending
power that is vested in the legislative branch.” Id. §/ 204. Plaintiffs contend Congress
cannot delegate its power under the Spending Clause and, in any event, did not
“delegate any spending power to the President with respect to the particular federal
programs and funds at issue here.” Id. 209.

3. Enforcement Threat Provision

The third and final provision Plaintiffs challenge is Section 4(b)(iii) of the J21
Order, the Enforcement Threat Provision. That provision directs the Attorney General
as follows:

(b) To further inform and advise me so that my
Administration may formulate appropriate and effective civil-
rights policy, the Attorney General, within 120 days of this
order, in consultation with the heads of relevant agencies and
in coordination with the Director of OMB, shall submit a
report to the Assistant to the President for Domestic Policy
containing recommendations for enforcing Federal civil-
rights laws and taking other appropriate measures to

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encourage the private sector to end illegal discrimination and
preferences, including DEI. The report shall contain a
proposed strategic enforcement plan identifying

(iii) A plan of specific steps or measures to deter DEI
programs or principles (whether specifically denominated
“DEI” or otherwise) that constitute illegal discrimination
or preferences. As a part of this plan, each agency shall
identify up to nine potential civil compliance
investigations of publicly traded corporations, large non-
profit corporations or associations, foundations with
assets of 500 million dollars or more, State and local bar
and medical associations, and institutions of higher
education with endowments over 1 billion dollars[.]

J21 Order § 4. That provision is followed by a directive that the Attorney General’s
“proposed strategic enforcement plan” also identify “[o]ther strategies to encourage the
private sector to end illegal DEI discrimination and preferences and comply with all
Federal civil-rights laws.” Id. § 4(b)(iv).

Plaintiffs the National Association of Diversity Officers in Higher Education
(“NADOHE”) and the American Association of University Professors (“AAUP”) bring
two claims against the Enforcement Threat Provision. First, Plaintiffs allege the
Enforcement Threat Provision is unconstitutionally vague. ECF No. 1 {1171-82 (“Count
Three”). That claim is based on the alleged inherent vagueness of terms such as “illegal
DEI discrimination and preferences,” J21 Order § 4(b)(iv), or “[p]Jromoting “diversity,”
id. § 3(b)(ii), or “illegal DEI and DEIA policies,” id. § 1, or what types of “DEI programs

or principles” the new administration considers “illegal” and is seeking to “deter,” id. §

A(b) (aii).

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And second, Plaintiffs allege the Enforcement Threat Provision violates the Free
Speech Clause of the First Amendment. ECF No. 1 {1 183-92 (“Count Four”). They
contend the threat of “civil compliance investigations,” J21 Order, § 4(b)(iii),
“impermissibly restricts the exercise of NADOHE’s and AAUP’s constitutionally
protected speech based on its content and viewpoint.” ECF No. 1 185. Plaintiffs note
that the provision specifically states that it seeks to “deter DEI programs or principles
(whether specifically denominated ‘DEI or otherwise)” and that the threat of private
sector enforcement actions in furtherance of that deterrence constitutes content- and
viewpoint-discriminatory restriction of speech, including that of some of NADOHE’s
institutional members. Id. 1] 185-86.

4. Implementation of the J20 and J21 Executive Orders

Since the issuance of the Orders, several steps have been taken by the executive
branch to implement, among other portions of the Orders, the Challenged Provisions.

On January 22, 2025, a day after the J21 Order was issued, the White House
released a fact sheet titled “President Donald J. Trump Protects Civil Rights and Merit-
Based Opportunity by Ending Illegal DEI.” ECF No. 27-19 at 3.3 The fact sheet calls the
J21 Order “the most important federal civil rights measure in decades,” and states that
the J21 Order “expands individual opportunity by terminating radical DEI preferencing
in federal contracting and directing federal agencies to relentlessly combat private
sector discrimination.” Jd. It describes the J21 Order as terminating DEI discrimination

“in federal contracting and spending.” Id. The fact sheet describes the Certification

3 For clarity and consistency, the Court has cited to the ECF document numbers and
pagination. Thus, when the ECF pagination and the parties’ pagination differ, the
Court’s citation is to the ECF page number.

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Provision to “require[] simple and unmistakable affirmation that contractors will not
engage in illegal discrimination, including illegal DEI,” and the Enforcement Threat
Provision to “direct[] all departments and agencies to take strong action to end private
sector DEI discrimination, including civil compliance investigations.” Id. The fact sheet
ends by reiterating the goal of a “colorblind and competence-based workplace,” and
blaming DEI for “intergroup hostility and authoritarianism” as well as for amplifying
“prejudicial hostility” and exacerbating “interpersonal conflict.” Jd. at 4.

Also on January 22, 2025, the Department of Labor (“DOL”) distributed a
memorandum directing grantees to “cease all award activities related to [DEI or DEIA]
under their federal awards.” ECF No. 27-11 at 3; accord ECF No. 27-10 at 2. On January
28, 2025, Under Secretary of Defense Steven J. Morani issued a memorandum to the
Department of Defense, instructing contracting officers to “cancel or amend solicitations
and terminate or partially terminate existing contracts ... and contract-like instruments
... that contain diversity, equity, and inclusion (DED and diversity, equity, inclusion,
and accessibility (DEIA) requirements.” ECF No. 27-15 at 2.

On January 29, 2025, the Centers for Disease Control and Prevention (“CDC”)
sent a letter to grant recipients that states that grantees “must immediately terminate, to
the maximum extent, all programs, personnel, activities, or contracts promoting
‘diversity, equity, and inclusion’ (DED) at every level and activity, regardless of [their]
location or the citizenship of employees or contractors, that are supported with funds
from this award.” ECF No. 27-13 at 2. The letter goes on to say that “[a]ny vestige,
remnant, or re-named piece of any DEI programs funded by the U.S. government under

this award are immediately, completely, and permanently terminated.” Id.

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On February 5, 2025, Attorney General Pamela Bondi issued a memorandum for
all Department of Justice (“DOJ”) employees with the subject line “ELIMINATING
INTERNAL DISCRIMINATORY PRACTICES.” ECF No. 27-14 at 2. The memorandum
states, in relevant part, that pursuant to the directives in the J21 Order, each component
of DOJ must submit a report to the Office of the Attorney General by March 15, 2025:
“[c]onfirming the termination, to the maximum extent allowed by law, of . . . all “equity-
related’ grants or contracts”; “[i]dentifying federal contractors .. . and grantees who
have provided DEI training or DEI training materials to agency or department
employees since January 20, 2021”; and “[i]dentifying federal grantees who received
federal funding to provide or advance DEI, DEIA, or ‘environmental justice’ programs,
services, or activities since January 20, 2021.” Id. at 3. In preparing these reports, the
memorandum advises that DOJ components “shall pay particular attention to ending
references to DEI or DEIA in .. . training and programs, including references to
‘unconscious bias,’ ‘cultural sensitivity,’ [and] ‘inclusive leadership.” Id. at 3-4.

Also on February 5, 2025, the Attorney General issued a separate memorandum
to all DOJ employees with the subject line “ENDING ILLEGAL DEI AND DEIA
DISCRIMINATION AND PREFERENCES.” ECF No. 27-21 at 2. The memorandum
states, in relevant part, that pursuant to the directives in the J21 Order, the DOJ Civil
Rights Division “will investigate, eliminate, and penalize illegal DEI and DEIA
preferences, mandates, policies, programs, and activities in the private sector and in
educational institutions that receive federal funds.” Id. The memorandum requires the
Civil Rights Division and the Office of Legal Policy to jointly submit a report to the
Associate Attorney General by March 1, 2025 with “recommendations for enforcing

federal civil-rights laws and taking other appropriate measures to encourage the private

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sector to end illegal discrimination and preferences, including policies related to DEI
and DEIA.” Id. The memorandum states that the joint report should address, among
other things, a “plan including specific steps to deter the use of DEI and DEIA programs
or principles that constitute illegal discrimination or preferences,” as well as “[o]ther
strategies to end illegal DEI and DEIA discrimination and preferences and to comply
with all federal civil-rights laws.” Id. at 3.

On February 7, 2025, a Bluesky post stated that a “non-government business that
contracts with the federal government” received a notice demanding that the contractor
certify that it “does not operate any programs promoting Diversity, Equity, and
Inclusion that violate any applicable Federal anti-discrimination laws.” ECF No. 27-20
at 2. On February 10, 2025, according to an announcement from the so-called
Department of Government Efficiency, the Department of Education terminated “29
training grants for diversity, equity and inclusion that total $101 million.” ECF No. 27-17
at 3. One of the canceled grants was using funding to train teachers to “help students
understand / interrogate the complex histories involved in oppression, and help
students recognize areas of privilege and power on an individual and collective basis.”
Id.

Also on February 7, 2025, the Occupational Safety and Health Administration
(“OSHA”) removed a list of publications from its website, including publications such as
“A Road Map for Healthcare Facilities (Workplace Violence),” “Improve Tracking of
Workplace Injuries and Illnesses Fact Sheet,” “Guidelines for Nursing Homes:
Ergonomics for the Prevention of Musculoskeletal Disorders,” and “OSHA Best

Practices for Hospital-Based First Receivers.” ECF No. 39-14 at 2. OSHA further advised

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its staff that “[i]f [they] have wallet cards that include language, or can be interpreted
[sic], on DEIA or gender ideology, please dispose of them as well.” Id.

On February 11, 2025, Brendan Carr, Chairman of the Federal Communications
Commission (“FCC”), sent a letter to the CEO of Comcast Corporation regarding
“Comcast and NBCUniversal’s Promotion of DEI.” ECF No. 39-7 at 1. Carr wrote in the
letter that he was “concerned that Comcast and NBCUniversal may be promoting
invidious forms of DEI in a manner that does not comply with FCC regulations.” Jd. As
examples, Carr pointed to Comcast stating on its website that promoting DEI is “a core
value of [their] business,” as well as having a “DEI infrastructure.” Id. Carr noted that
“[d]Jespite the emergence of DEI initiatives in recent years, these forms of discrimination
have long been condemned by America’s civil rights laws.” Id. Carr broadly stated that
the FCC’s goal is to “ensure that every entity the FCC regulates complies with the civil
rights protections enshrined in the Communications Act and the agency’s EEO rules,
including by shutting down any programs that promote invidious forms of DEI
discrimination.” Id. at 2.

Around February 12, 2025, the National Endowment for the Arts (“NEA”)
released new rules requiring grant applicants to agree not to “operate any programs
promoting ‘diversity, equity, and inclusion’ (DEI) that violate any applicable Federal
anti-discrimination laws, in accordance with [the J21 Order].” ECF No. 39-8 at 11. The
rules go on to state that “[t]he United States has the right to seek judicial or
administrative enforcement of this assurance.” Id. at 12.

B. Plaintiffs

This action has been brought by four plaintiffs that contend their rights are

violated by various aspects of the Orders: NADOHE, AAUP, Restaurant Opportunities

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Centers United (“ROC United”), and the Mayor and City Council of Baltimore, Maryland
(“Baltimore”).

NADOHE is an “association for chief diversity officers and professionals with
over 2,200 members,” including “diversity, equity, inclusion, and accessibility
professionals who work at institutions of higher education, as well as institutions of
higher education themselves.” ECF No. 1 18. Many of NADOHE’s members receive
grants and contracts from the federal government; some offer education programs and
degrees “in diversity, equity, and inclusion leadership and similar subject matters”; and
some of NADOHE’s members are institutions of higher education that have
endowments exceeding $1 billion (a threshold invoked in the Enforcement Threat
Provision). Id.

AAUP “is a membership association and labor union of faculty and academic
professionals.” Id. 119. “Many AAUP members are employees of institutions of higher
learning” and “AAUP is committed to advancing academic freedom and shared
governance, defining fundamental professional values and standards for higher
education, promoting the economic security of academic workers, and ensuring higher
education’s contribution to the common good.” Id.

ROC United “is a national membership organization of thousands of restaurant
workers across the United States.” Id. 20. The mission of ROC United, which receives
grants from the federal government, “is to improve restaurant workers’ lives by building
worker power and uniting workers of various backgrounds around shared goals and
values, including racial and gender equity.” Id.

Baltimore “is a municipal corporation” organized under the Maryland

Constitution and “the largest city in Maryland and the thirtieth largest city in the United

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States.” Id. 21. As explained below, Baltimore “is both a contractor and grantee of the
federal government.” Id. 4128.

C. Procedural History

On February 3, 2025, Plaintiffs filed this lawsuit against President Trump, the
Attorney General, and various other agencies and agency heads, sued in their official
capacities. ECF No. 1 7 22-44. Plaintiffs claim that certain provisions in the Orders
violate the Spending Clause of Article I of the U.S. Constitution, id. {1 154-62, the Fifth
Amendment, id. 1] 163-82, the First Amendment, id. {| 183-201, and separation of
powers, id. J] 202-10. Plaintiffs seek declaratory and injunctive relief. Id. at 41-42.
Specifically, Counts One and Two allege that the Termination Provision in the J20
Order violates the Spending Clause and the Fifth Amendment. Id. 1] 154-70. Counts
Three and Four allege that the Enforcement Threat Provision of the J21 Order violates
the Fifth Amendment and the First Amendment. Id. 9171-92. And Counts Five and Six
allege that the Certification Provision of the J21 Order violates the First Amendment
and the separation of powers. Id. 1] 193-210.

On February 13, 2025, Plaintiffs filed a motion for a temporary restraining order
and/or preliminary injunction. ECF No. 27. The government opposed the motion. ECF
No. 35. Plaintiffs filed a reply. ECF No. 39. The Court held a hearing on Plaintiffs’
motion on February 19, 2025.

II. PRELIMINARY INJUNCTION STANDARD

To obtain a preliminary injunction, Plaintiffs must establish four factors: (1) that
they are likely to succeed on the merits; (2) that they are likely to suffer irreparable
harm absent relief; (3) that the balance of equities favors them; and (4) that an

injunction is in the public interest. Frazier v. Prince George’s Cnty., 86 F.4th 537, 543

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(4th Cir. 2023) (citing Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)). The
balance of equities and the public interest factors “merge when the Government is the
opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009). Plaintiffs must demonstrate
all four factors to obtain relief. Real Truth About Obama, Inc. v. FEC, 575 F.3d 342, 347
(4th Cir. 2009), vacated on other grounds, 559 U.S. 1089 (2010). And a preliminary
injunction, being an “extraordinary remedy,” may “only be awarded upon a clear
showing that the plaintiff is entitled to such relief.” Winter, 555 U.S. at 22 (citing
Mazurek v. Armstrong, 520 U.S. 968, 972 (1997)).
Il. LIKELIHOOD OF SUCCESS ON THE MERITS

A. Standing/Ripeness

1. Standing

Before addressing Plaintiffs’ allegations, the Court must determine whether
Plaintiffs have shown sufficient likelihood that they have standing under Article III of
the Constitution to bring this action, that is, that Plaintiffs have “a ‘personal stake’ in the
dispute.” Food & Drug Admin. v. All. for Hippocratic Med., 602 U.S. 367, 379 (2024)
(quoting TransUnion LLC v. Ramirez, 594 U.S. 413, 423 (2021)).

a) Legal standards

“[T]he doctrine of standing identifies disputes appropriate for judicial
resolution.” Cooksey v. Futrell, 721 F.3d 226, 234 (4th Cir. 2013) (quoting Miller v.
Brown, 462 F.3d 312, 316 (4th Cir. 2006)). A plaintiff establishes standing to bring a
case by establishing three elements:

First, the plaintiff must have suffered an injury in fact that is
both concrete and particularized and actual or imminent, not
conjectural or hypothetical. Second, the plaintiff's injury must
be fairly traceable to the challenged action of the defendant,
meaning that there must be a causal connection between the

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injury and the conduct complained of. Third, it must be likely,
as opposed to merely speculative, that the injury will be
redressed by a favorable decision.

Dep’ of Educ. v. Brown, 600 U.S. 551, 561 (2023) (cleaned up, quoting Lujan v. Defs. of
Wildlife, 504 U.S. 555, 560-61 (1992)). “The second and third standing requirements—
causation and redressability—are often ‘flip sides of the same coin” in that “[i]f a
defendant’s action causes an injury, enjoining the action or awarding damages for the
action will typically redress that injury.” Food & Drug Admin., 602 U.S. at 380-81
(quoting Sprint Comme’ns Co. v. APCC Servs., Inc., 554 U.S. 269, 288 (2008)). Thus,
“the two key questions in most standing disputes are injury in fact and causation.” Id. at
381. The Supreme Court has also stated that standing is “usually easy to establish”
where “Government regulations . . . require or forbid some action by the plaintiff”
because plaintiffs in such circumstances “almost invariably satisfy both the injury in fact
and causation requirements.” Id. at 382.

When plaintiffs “seek declaratory and injunctive relief, they must establish an
ongoing or future injury in fact.” Kenny v. Wilson, 885 F.3d 280, 287 (4th Cir. 2018)
(citing O’Shea v. Littleton, 414 U.S. 488, 495-96 (1974)). When plaintiffs allege fear of
future injury, they can show “a sufficiently imminent injury in fact if plaintiffs allege ‘an
intention to engage in a course of conduct arguably affected with a constitutional
interest, but proscribed by a statute, and there exists a credible threat of prosecution
thereunder.” Id. at 288 (quoting Babbitt v. United Farm Workers Nat'l Union, 442 U.S.
289, 298 (1979)). A credible threat of future enforcement exists “so long as the threat is
not ‘imaginary or wholly speculative,’ ‘chimerical,’ or ‘wholly conjectural.” Id. (internal
citations omitted) (quoting Babbitt, 442 U.S. at 302; Steffel v. Thompson, 415 U.S. 452,

459 (1974); and Golden v. Zwickler, 394 U.S. 103, 109 (1969)).

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For First Amendment claims, however, standing requirements “are somewhat
relaxed.” Cooksey, 721 F.3d at 235.

Even where a First Amendment challenge could be brought by
one actually engaged in protected activity, there is a possibility
that, rather than risk punishment for his conduct in
challenging the statute, he will refrain from engaging further
in the protected activity. Society as a whole then would be the
loser. Thus, when there is a danger of chilling free speech, the
concern that constitutional adjudication be avoided whenever
possible may be outweighed by society’s interest in having the
statute challenged.

Id. (quoting Sec’y of State of Md. v. Joseph H. Munson Co., Inc., 467 U.S. 947, 956,
(1984)). “The leniency of First Amendment standing manifests itself most commonly in
the doctrine’s first element: injury-in-fact,” which is “commonly satisfied by a sufficient
showing of ‘self-censorship, which occurs when a claimant is chilled from exercising
h[is] right to free expression.” Id. (alteration in original) (quoting Benham v. City of
Charlotte, 635 F.3d 129, 135 (4th Cir. 2011)). Thus, “to demonstrate injury in fact, it is
sufficient to show that one’s First Amendment activities have been chilled” as long as the
chilling effect is objectively reasonable and not subjective or speculative. Id. (quoting
Benham, 635 F.3d at 135).

When an organization is alleging harm, it may establish standing based on its
own injury or based on its members’ injuries, the latter of which is called
representational or associational standing. Students for Fair Admissions, Inc. v.
President & Fellows of Harvard Coll., 600 U.S. 181, 199 (2023). To establish
representational standing, “an organization must demonstrate that ‘(a) its members
would otherwise have standing to sue in their own right; (b) the interests it seeks to

protect are germane to the organization’s purpose; and (c) neither the claim asserted

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nor the relief requested requires the participation of individual members in the

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lawsuit.’” Id. (quoting Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343
(1977)). An organization need only “make specific allegations establishing that at least
one identified member had suffered or would suffer harm.” S. Walk at Broadlands
Homeowner’s Ass‘n, Inc. v. OpenBand at Broadlands, LLC, 713 F.3d 175, 184 (4th Cir.
2013) (emphasis omitted) (quoting Summers v. Earth Island Inst., 555 U.S. 488, 498
(2009)).

b) Defendants’ arguments as to standing

In discussing standing, Defendants raise their arguments generally rather than
through the lens of each of the three Challenged Provisions.

First, contrary to Defendants’ argument, Plaintiffs have adequately identified,
albeit anonymously, specific affected members who would individually have standing.
This argument goes to whether NADOHE and AAUP have representational standing.
Defendants do not suggest that such a means of identification is improper, and instead
argue that “without knowing the . . . specific features of the grants or contracts at issue
... Defendants and the Court cannot evaluate whether such contracts or grants have
features allowing them to be terminated consistent with the law.” ECF No. 35 at 10 n.1.
For the reasons stated below, the Court disagrees, as much of the analysis revolves
around Plaintiffs’ reasonable fears and chilling of speech, rather than the specifics of the

grants. Defendants do not challenge the other two prongs of the representational

standing test.4

4 NADOHE has also adequately shown standing on its own behalf because the
government action at issue “directly affected and interfered with [its] core business
activities.” Food & Drug Admin., 602 U.S. at 395; see also ECF No. 27-23 4119, 26, 39-

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Second, Defendants contend that ROC and Baltimore fail to identify an injury-in-
fact because they do not identify imminent disruption to any particular contract and
instead merely speculate that they may see reductions based on future agency actions.
ECF No. 35 at 11. As discussed below, these Plaintiffs have alleged sufficient actual or
imminent injury for standing purposes for all relevant provisions.

Third, Defendants argue that Plaintiffs have failed to allege injury that is “fairly
traceable to the challenged action.” Brown, 600 U.S. at 561 (quoting Lujan, 504 U.S. at
560). Defendants assert that the Orders did not terminate any particular grant or
program, but merely provided policy directives to federal agencies. They claim that
“[a]ny alleged future harm necessarily depends on future action by federal agencies that
plaintiffs have not adequately alleged has occurred and impacted them.” ECF No. 35 at
11 (citing Louisiana v. Biden, 64 F.4th 674, 681 (5th Cir. 2023) and Jacobson v. Fla.
Sec of State, 974 F.3d 1236, 1254 (11th Cir. 2020)). Below, the Court will discuss how
each Plaintiff has adequately shown cognizable injuries-in-fact that are traceable to the
three Challenged Provisions.

c) The Termination Provision

Each Plaintiff has shown at least one adequately imminent and concrete injury-
in-fact in connection with the Termination Provision. As stated above, that provision
instructs “[e]lach agency, department, or commission head, in consultation with the

Attorney General, the Director of OMB, and the Director of OPM” to “terminate, to the

42, 44-46, ECF No. 39-3 4 8 (discussing the threats to NADOHE’s core missions and its
continued existence). But given the representational standing, the Court need not
further address NADOHE’s individual standing.

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maximum extent allowed by law, ... all . . . “equity-related’ grants or contracts” within
60 days. J20 Order § 2(b)(i).

NADOHE asserts that Individual Member A, “who provides services to a
university as a consultant, has had contracts terminated by the university client because
the J2o Order threatens the termination of the grant funding from the National Science
Foundation [“NSF”] that funded Individual Member A’s contract.” ECF No. 27-23 { 33.
NADOHE further alleges that this same member has “lost her salary and any
discretionary funds when all of her contracts ‘c[a]me to an abrupt halt and contracting
for future work . . . evaporated.’” ECF No. 39-3 4 6 (alteration in original). NADOHE
also alleges that Institutional Member A, “in light of the J20 Order, cancelled a
conference on alternate models of education at [Historically Black Colleges and
Universities] because the program was funded in part by a grant from the Department
of Labor” and that panel participants “had been barred from participation by their own
organizations on account of the J2o0 Order.” ECF No. 27-23 § 22.

AAUP has a member who is a professor at a Virginia university with an NSF grant
regarding “Gender Equity in STEM [Science, Technology, Engineering and

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Mathematics] Academic Professions” “to research potential disparities affecting women
in science.” ECF No. 39-2 4 4. After requesting travel accommodations to a conference
as a part of their grant work, “the professor received an email on February 6, 2025, from
their Program Officer with NSF notifying them that the NSF employee ‘cannot make the
determination’ regarding the travel until it is determined that ‘the activity is aligned
with the administration’s executive orders.” Jd. Another AAUP member who is a

professor at the University of Texas at Austin stated that “on January 29, 2025, the

university's Office of Sponsored Projects received an e-mail ‘stop work order” regarding

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a National Academy of Sciences (“NAS”) subaward. Id. {| 6. The member’s project at
issue was “focused on equity of access to crucial services and goods.” Jd. The email
provided that NAS “is hereby issuing University of Texas at Austin this notice of
Termination for Convenience effective as of the date of this letter for all work associated
with the above referenced Subaward” because “NAS has determined to take certain
actions with respect to federally funded contracts following the issuance of the” J20 and
J21 Orders. Jd. A third AAUP member is a professor at the University of Connecticut
and “works on a project to broaden diversity” in the STEM workforce that is funded by
NSF. Id. 4.7. “On January 31, 2025, this member received an email from the Principal
Investigator—the faculty member in charge—of that project ‘to pause project activities
until we receive further guidance from NSF... .”” Id.

On January 22, 2025, ROC United “received e-mail notices from DOL’s Women’s
Bureau and OSHA to “cease all activities related to “diversity, equity, and inclusion”
(DEI) or “diversity, equity, inclusion, and accessibility” (DEIA) under their federal
awards, consistent with the requirements of. . .’ the J20 Order and a related anti-DEIA
order signed by President Trump on January 21, 2025.” ECF No. 27-25 4 26. “In
addition, OSHA instructed ROC United to: ‘effective immediately! Cease collecting and
reporting trainees DEI information,” id. 29, which caused ROC United to stop work
on projects funded by two federal grants. Id. {1 30-31.

Baltimore received a January 29, 2025 letter from the U.S. Department of Health
and Human Services that demanded that Baltimore “immediately terminate” all

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activities “promoting “diversity, equity, and inclusion” “that are supported with funds

from [a CDC] award” in light of the Orders. ECF No. 27-13 at 2. Baltimore also received

an email on February 14, 2025 “from AmeriCorps informing [it] that three of [its]

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AmeriCorps grants had been flagged for review” because they contained words like
“Diversity,” “Equity,” “Equity Action Plan,” and “DEI” as well as “Environmental
Justice” and “Climate Change.” ECF No. 39-4 7 4-8. The email asserted that by
February 19, 2025, Baltimore must either “(1) Certify that the awards, using proscribed
language, ‘compl[y] with all administration Executive Orders and do[] not include any
activities that promote DEI activities’; (2) Stop providing noncompliant services .. . ; or
(3) Forgo this AmeriCorps funding altogether.” Id. 11.

These are all concrete actual injuries suffered by Plaintiffs and their members.
Moreover, the injuries are directly traceable to the Orders. It is also likely that Plaintiffs’
injuries will be redressed by a favorable decision. Therefore, all four Plaintiffs have
standing to challenge the Termination Clause.

dad) = The Certification and Enforcement Threat
Provisions

The Court will address the Certification and Enforcement Threat Provisions
together as they both implicate First Amendment concerns and are therefore subject to
the more lenient standing standard under which each Plaintiff must merely “show that
one’s First Amendment activities have been” objectively and reasonably chilled.
Cooksey, 721 F.3d at 235 (quoting Benham, 635 F.3d at 135).

All four Plaintiffs have met the lower bar to establish injury-in-fact for the
Certification Provision, as have NADOHE and AAUP regarding the Enforcement Threat
Provision (as they are the only Plaintiffs challenging that provision, see ECF No. 1 1
172, 184).

NADOHE asserts that its Institutional Members B through G have been forced to

stop certain “curricular programs or requirements” because they fear “adverse

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consequences from federal agencies” in light of the Certification Provision. ECF No. 27-
23 4 29. Similarly, Institutional Member H of NADOHE fears the dictates of the
Enforcement Threat Provision because it is an institution of higher education with an
endowment over $1 billion and is concerned that its protected speech will be penalized
and fears it “may be targeted for investigation but lack[s] clarity about how to avoid the
financial, reputational, and organizational costs of such an investigation.” Id. 4 31.

Likewise, AAUP and its members fear that their activities, including appointing
standing committees such as “the Committee on Historically Black Institutions and
Scholars of Color” and “the Committee on Gender and Sexuality in the Academic
Profession,” run afoul of the directives in the Executive Orders. ECF No. 27-24 § 28.
AAUP’s members also “fear they may have to limit how they choose to participate in
DEIA programs in order to meet the certification requirements and to avoid facing
penalties under the FCA [False Claims Act] or be unable to sign the certification
requirement and lose their funding altogether.” Id. { 31. AAUP further asserts that
several members “work at institutions of higher education with endowments exceeding 1
billion dollars” “whose teaching or research focuses on topics related to diversity or
equity” and who “fear that their work . . . might endanger their own institutions and lead
to adverse employment consequences” under the Enforcement Threat Provision. Id.
4o.

As stated above, Baltimore received emails on February 14, 2025 from
AmeriCorps providing that Baltimore was required to certify by February 19, 2025
either that three grants complied with the Orders, to stop providing noncompliant
services and initiate an amendment to the award, or to forgo funding. ECF No. 39-4 1

4-8, 11; ECF No. 39-10 at 2. Baltimore asserts that it “fears it may have to abandon its

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lawful efforts and speech related to diversity, equity, inclusion, and accessibility, or else
lose federal funds that support the City’s valuable programs.” ECF No. 27-26 41 35; see
also id. {1 37-42 (listing specific activities Baltimore fears fall under the Orders).

ROC United asserts that it “ha[s] no way of doing [its] work and living out [its]
mission without speaking about ending occupational segregation and building career
ladders for workers who have historically been denied opportunities,” and “fear [it] may
have to stop addressing racial and gender equity to avoid financial and other penalties
by the federal government. Or if [it] decline[s] to certify, [it] risk[s] losing all federal
funding.” ECF No. 27-25 1138, 40.

Plaintiffs have adequately shown that they are injured by these provisions
because they reasonably expect that they will be forced to either restrict their legal
activities and expression that are arguably related to DEI, or forgo federal funding
altogether.

The causation and redressability requirements are also met. In all cases, these
objectively reasonable fears arise from the vague language in the Orders, and can be
redressed by a favorable decision. See Food & Drug Admin., 602 U.S. at 382 (providing
that “standing is usually easy to establish” where “Government regulations . . . require or
forbid some action by the plaintiff” because the plaintiffs in such circumstances “almost
invariably satisfy both the injury in fact and causation requirements”). Enjoining
Defendants from imposing the Certification and Enforcement Threat Provisions will
prevent the chilling effects that flow from those provisions.

2. Ripeness
Like standing, as a threshold matter, Plaintiffs must also establish that their

claims are ripe. Wild Va. v. Council on Envtl. Quality, 56 F.4th 281, 293 (4th Cir. 2022).

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“While standing involves ‘the question . . . of who may sue,’ ripeness involves ‘when they
[may] sue.” Id. (alterations in original) (quoting South Carolina v. United States, 912
F.3d 720, 730 (4th Cir. 2019)). In reviewing ripeness, courts consider “(1) the fitness of
the issues for judicial decision and (2) the hardship to the parties of withholding court
consideration.” Id. (quoting Deal v. Mercer Cty. Bd. of Educ., 911 F.3d 183, 191 (4th Cir.
2018)). “A claim should be dismissed as unripe if the plaintiff has not yet suffered injury
and any future impact ‘remains wholly speculative” while “[a] case is fit for judicial
decision when the issues are purely legal and when the action in controversy is final and
not dependent on future uncertainties.” Id. (quoting Doe v. Va. Dep’t of State Police, 713
F.3d 745, 758 (4th Cir. 2013)).

Defendants argue a lack of ripeness as to all claims generally, rather than in
connection with the First and Fifth Amendment claims separately. Ripeness in
connection with the Fifth Amendment claims is discussed below in section III.C.2. As
with standing, “ripeness requirements are also relaxed in First Amendment cases.”
Cooksey, 721 F.3d at 240. “First Amendment rights . . . are particularly apt to be found
ripe for immediate protection, because of the fear of irretrievable loss. In a wide variety
of settings, courts have found First Amendment claims ripe, often commenting directly
on the special need to protect against any inhibiting chill.” Jd. (omission in original)
(quoting New Mexicans for Bill Richardson v. Gonzales, 64 F.3d 1495, 1500 (10th Cir.
1995)). Standing and ripeness are “viewed through the same lens” in this context and
are “inextricably linked.” Id.

Defendants’ arguments focus on the contention that because Plaintiffs do not

know whether their contracts or grants will be terminated or, if so, on what basis, that

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Plaintiffs’ claims are unripe and purely speculative. Defendants assert that Plaintiffs’
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are contingent upon several layers of future actions that are
not only hypothetical but also contradictory: Plaintiffs’ claims
assume that agencies will not only take actions that will
directly impact Plaintiffs but will do so both in service of the
[Orders’] directive to deprioritize DEI and in violation of the
[Orders’] directive to stay within the confines of the law.

ECF No. 35 at 13. However, as discussed above with respect to standing, regarding their
First Amendment claims Plaintiffs have adequately shown that their speech has been
and will continue to be chilled in light of the Challenged Orders based both on actions
currently being taken by Defendants and based on Plaintiffs’ reasonable fears. The First
Amendment claims are fit for judicial decision and Plaintiffs have convinced the Court
that significant hardship would occur without a decision. Thus, Plaintiffs’ First
Amendment Claims are ripe.

B. Plaintiff's Claims and the Relevant Legal Standards

As explained above, Plaintiffs assert that the Challenged Provisions violate the
First Amendment (free speech), the Fifth Amendment (due process vagueness), and
separation of powers (including the spending clause of the Constitution, art. I, § 1, 8). As
explained below, Plaintiffs have established entitlement to a preliminary injunction on
their First and Fifth Amendment claims. The Court need not and does not reach
whether Plaintiffs have also shown a likelihood of success on the merits on their
separation of powers claims. This section ITI.B describes the applicable legal standards.

The Court applies these standards to Plaintiffs’ claims in subsequent sections.

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1. First Amendment Claims (Counts 4 & 5)

As noted above, Counts 4 and 5 of Plaintiffs’ complaints arise under the First
Amendment. In Count 4, Plaintiffs allege that by purporting to “deter DEI programs or
principles (whether specifically denominated ‘DEI or otherwise),” and threatening to
bring enforcement against perceived violators of the undefined standards, the
Enforcement Threat Provision is a content-based and viewpoint-discriminatory
restriction on protected speech that has the effect of “penaliz[ing] the protected speech
of NADOHEF's institutional members,” ECF No. 1 4 186, and otherwise infringing upon
Plaintiffs’ free-speech rights protected by the First Amendment, id. {1 189, 191. As for
Count 5, which addresses the Certification Provision, Plaintiffs distill their First
Amendment claim as follows:

This Certification Provision—contained in an executive order
characterizing DEIA as “illegal” and “violat[ions of] the text
and spirit of our longstanding Federal civil-rights laws, id. §
1—is designed to chill federal contractors’ and grantees’
speech related to diversity, equity, inclusion, and accessibility.
Through this provision, President Trump brandishes the
threat of FCA enforcement to quiet federal contractors’ and
grantees’ dissenting views.

ECF No. 1 4197.

Plaintiffs contend the chilling effect of those executive order provisions is
exacerbated by the vagueness of the orders’ key terms. See, e.g., ECF No. 4.198 (“The
President does not define any of the key terms of these prohibitions. It is not clear what
‘so-called “diversity, equity, and inclusion” (DEI)’ means, see J21 Order, § 1; nor does it
provide any guidance on how such programs or initiatives can be considered to ‘violate

the text and spirit of our longstanding Federal civil-rights laws.’ Id.”); id. 1199 (“As a

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result, Plaintiffs are chilled from expressing or participating in anything that might draw
the ire of the President or his administration when it comes to DEI.”).

For the reasons discussed later in this opinion, the Court concludes that Plaintiffs
have shown a likelihood of success on the merits of Counts 4 and 5. This section
describes the basic legal framework applicable to Plaintiffs’ First Amendment claim. The
Enforcement Threat Provision targets private persons, companies and organizations
unrelated to whether they are government contractors or grantees, and thus the Court
begins with an overview of the framework for claims asserting facial challenges against
content-based and viewpoint-discriminatory restrictions on protected speech. The
Termination Provision and Certification Provision target government contractors and
grantees; the Court addresses the First Amendment standards to those contexts below.5

a) Content and viewpoint discrimination

The First Amendment prohibits the enactment of laws “abridging the freedom of
speech.” U.S. Const., amend. I. “The First Amendment generally prevents government
from proscribing speech, . . . or even expressive conduct, . .. because of disapproval of
the ideas expressed.” R.A.V. v. City of St. Paul, 505 U.S. 377, 382 (1992) (citing
Cantwell v. Connecticut, 310 U.S. 296, 309-311 (1940), and Texas v. Johnson, 491 U.S.
397, 412, 414 (1989)). In other words, “a government . . . ‘has no power to restrict

expression because of its message, its ideas, its subject matter, or its content.” Reed v.

5 None of the Plaintiffs or their members are government employees, and the relief
Plaintiffs seek does not extend to government employees. Different standards may
pertain to claims brought by government employees. See, e.g., Garcetti v. Ceballos, 547
U.S. 410 (2006).

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Town of Gilbert, Ariz., 576 U.S. 155, 163 (2015) (quoting Police Dept. of Chicago v.
Mosley, 408 U.S. 92, 95 (1972)).

“Content-based laws—those that target speech based on its communicative
content—are presumptively unconstitutional and may be justified only if the
government proves that they are narrowly tailored to serve compelling state interests.”
Id. (citing R.A.V., 505 U.S. at 395; Simon & Schuster, Inc. v. Members of N.Y. State
Crime Victims Bd., 502 U.S. 105, 115, 118 (1991)). “Deciding whether a particular
regulation is content based or content neutral is not always a simple task.” Turner
Broadcasting Sys., Inc. v. F.C.C., 512 U.S. 622, 642 (1994). The “principal inquiry in
determining content neutrality .. . is whether the government has adopted a regulation
of speech because of [agreement or] disagreement with the message it conveys.” Ward
v. Rock Against Racism, 491 U.S. 781, 791 (14989). “This commonsense meaning of the
phrase ‘content based’ requires a court to consider whether a regulation of speech ‘on its
face’ draws distinctions based on the message a speaker conveys.” Reed, 576 U.S. at 163
(quoting Sorrell v. IMS Health Inc., 564 U.S. 552, 565-66 (2011)). “Some facial
distinctions based on a message are obvious, defining regulated speech by particular
subject matter, and others are more subtle, defining regulated speech by its function or
purpose. Both are distinctions drawn based on the message a speaker conveys, and,
therefore, are subject to strict scrutiny.” Id. at 163-64. Moreover, “it is well established
that ‘[t]he First Amendment’s hostility to content-based regulation extends not only to
restrictions on particular viewpoints, but also to prohibition of public discussion of an
entire topic.’” Id. at 169 (quoting Consolidated Edison Co. of N.Y. v. Public Serv.

Comm'n of N. Y., 447 U.S. 530, 537 (1980)).

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Whether a government action is “content based” does not (at least generally) turn
on motivation. “A law that is content based on its face is subject to strict scrutiny
regardless of the government’s benign motive, content-neutral justification, or lack of
‘animus toward the ideas contained’ in the regulated speech.” Id. at 165 (citing
Cincinnati v. Discovery Network, Inc., 507 U.S. 410, 429 (1993)); see also Turner, 512
U.S. at 642 (holding that although “a content-based purpose may be sufficient in certain
circumstances to show that a regulation is content based, it is not necessary”).

One form of “content-based” speech regulation is “[g]overnment discrimination
among viewpoints.” Reed, 576 U.S. at 168 (quoting Rosenberger v. Rector and Visitors
of Univ. of Va., 515 U.S. 819, 829 (1995)). Viewpoint discrimination means “the
regulation of speech based on ‘the specific motivating ideology or the opinion or
perspective of the speaker.” Id. (quoting Rosenberger, 515 U.S. at 829). Both content-
based and viewpoint-based regulation are subject to strict scrutiny. Boos v. Barry, 485
U.S. 312, 320 (1988); Rosenberger, 515 U.S. at 829. But the most “blatant” and
“egregious form of content discrimination” is viewpoint discrimination. Reed, 576 U.S.
at 168-69 (quoting Rosenberger, 515 U.S. at 829); see also id. at 174 (Alito, J.,
concurring) (“Content-based laws merit [strict scrutiny] protection because they
present, albeit sometimes in a subtler form, the same dangers as laws that regulate
speech based on viewpoint.”). Similarly, where legislation or executive action regulates
speech depending on the “identity of the speaker,” such “[s]peech restrictions” are
subject to strict scrutiny because they “are all too often simply a means to control
content.” Id. at 170 (quoting Citizens United v. Federal Election Comm'n, 558 U.S. 310,

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340 (2010)); see also id. (“‘[L]aws favoring some speakers over others demand strict

scrutiny when the legislature’s speaker preference reflects a content preference”)

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(quoting Turner, 512 U.S. at 658); Rosenberger, 515 U.S. at 829 (“The government must
abstain from regulating speech when the specific motivating ideology or the opinion or
perspective of the speaker is the rationale for the restriction.”).

Finding a statute “viewpoint discriminatory” is “all but dispositive” in a First
Amendment challenge, at least outside the context of government employees or
contractors (which is discussed below). Sorrell, 564 U.S. at 571. “The State may not
burden the speech of others in order to tilt public debate in a preferred direction.” Id. at
578-79.

A content-based restriction on speech is subject to strict scrutiny, meaning such
restrictions are “presumptively unconstitutional and may be justified only if the
government proves that [it is] narrowly tailored to serve compelling state interests.”
Reed, 576 U.S. at 163. “[R]egulations that are unrelated to the content of speech are
subject to an intermediate level of scrutiny . . . because in most cases they pose a less
substantial risk of excising certain ideas or viewpoints from the public dialogue.”
Turner, 512 U.S. at 642 (emphasis added).

b) Federal grantees and contractors

A number of the organizational Plaintiffs’ members are government contractors
and grantees. As discussed above, the Certification Provision applies to
“Federal contractors and subcontractors.” J21 Order, § 3(b)(iii). And although the
Enforcement Threat Provision applies to the entire “private sector,” that includes
government contractors and grantees. Plaintiffs have asserted facial First Amendment
challenges to both the Certification Provision (Count 5) and Enforcement Threat
Provision (Count 4). In addition, with respect to the Termination Provision, although

Plaintiffs have not asserted a standalone First Amendment claim, their Fifth

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Amendment due process claim (Count 2) turns in part on the applicability of the First
Amendment to recipients of “equity-related” grants or contracts. That is because the
applicable void-for-vagueness standard depends in part on whether “a vague statute
abuts upon sensitive areas of basic First Amendment Freedoms.” Grayned v. City of
Rockford, 408 U.S. 104, 109 (1972) (cleaned up); see also, e.g., Holder v. Humanitarian
Law Project, 561 U.S. 1, 19 (2010) (“[W]Jhen a statute ‘interferes with the right of free
speech or of association, a more stringent vagueness test should apply.”) (quoting
Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 499 (1982)); Sessions
v. Dimaya, 584 U.S. 148, 183 (2018) (Gorsuch, J., concurring) (“[A] ‘stringent
vagueness test’ should apply to at least some civil laws—those abridging basic First
Amendment freedoms.”). Thus, the question whether Plaintiffs have shown a likelihood
of success on Count Five—and to some extent Count Four—implicates the law applicable
to whether, and to what extent, the government may lawfully restrict speech by
government contractors and grantees.

The First Amendment does restrain, in certain ways, the government’s right to
restrict government contractors’ and grantees’ free speech rights. This context sits at the
intersection of several strands of First Amendment doctrine. And thus, as this case
proceeds, the applicability of particular aspects of the doctrine may differ depending on
which particular claims, which subsets of Plaintiffs or their members, and which
Challenged Provisions, are at issue. But at this preliminary stage, when the question
presented is whether Plaintiffs have shown a likelihood that they will succeed on the
merits of their First Amendment claims, the following principles are salient.

“[W ]Jhen individuals enter into government employment or contracts, they accept

certain restrictions on their freedom as part of the deal.” Fulton v. City of Philadelphia,

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Pennsylvania, 593 U.S. 522, 535 (2021). “The government needs to be free to terminate
both employees and contractors for poor performance, to improve the efficiency,
efficacy, and responsiveness of service to the public, and to prevent the appearance of
corruption.” Board of Cnty. Com’rs, Wabaunsee Cnty., Kan. v. Umbehr, 518 U.S. 668,
674 (1996) (“Wabaunsee County”). “And, absent contractual, statutory, or
constitutional restriction, the government is entitled to terminate them for no reason at
all.” Id. In other words, “the First Amendment does not create property or tenure rights,
and does not guarantee absolute freedom of speech.” Id. at 675.

But government contractors, and government grantees, retain First Amendment
rights in two important, and relevant, ways.

First, when the government funds a program or activity, although the
government may “define the limits of the government spending program”—i.e., “specify
the activities Congress wants to subsidize”—the First Amendment prohibits the
government from “seek[ing] to leverage funding to regulate speech outside the contours
of the program itself.” Agency for Int'l Dev. v. All. for Open Soc’y Int'l, Inc., 570 U.S.
205, 214-15 (2013) (“AID”). In AID, the Supreme Court held that Congress’s policy
requirement in the Leadership Act, which required organizations that receive funding
under the Act to have a policy expressly opposing prostitution, “demand[ed] that
funding recipients adopt—as their own—the Government’s view on an issue of public
concern,” thereby affecting “protected conduct outside the scope of the federally funded
program.” Id. at 217-18 (quoting Rust v. Sullivan, 500 U.S. 173, 197 (1991)). The “line”
between “conditions that define the limits of the government spending program” and
“conditions that seek to leverage funding to regulate speech outside the contours of the

program itself” is not always “clear” because “the definition of a particular program can

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always be manipulated to subsume the challenged condition.” Id. at 215-16. Thus,
although the government may “cho[ose] to fund one activity to the exclusion of
another,” at least so long as in doing so it is not “discriminat[ing] on the basis of
viewpoint,” Rust, 500 U.S. at 193, and “a legislature’s [or, presumably, executive’s]
decision not to subsidize the exercise of a fundamental right does not infringe that
right,” Regan v. Taxation with Representation of Wash, 461 U.S. 540, 549 (1983),
attempts to limit the scope of a grant or contract can also be subject to First Amendment
scrutiny, “lest the First Amendment be reduced to a simple semantic exercise.” AID, 570
U.S. at 215 (quoting Legal Servs. Corp. v. Velazquez, 531 U.S. 533, 547 (2001)).

Second, the government may not terminate government contracts “because of
the[] [contractors’ or grantees’] speech on matters of public concern.” Wabaunsee
County, 518 U.S. at 675. After all, under the “unconstitutional conditions” doctrine, “the
government ‘may not deny a benefit to a person on a basis that infringes his
constitutionally protected . . . freedom of speech’ even if he has no entitlement to that
benefit.” Id. at 674 (quoting Perry v. Sindermann, 408 U.S. 593, 597 (1972)).

At least with respect to a government contractor, to prevail on a claim that the
government has unconstitutionally infringed its free speech rights, it “must prove that
the conduct at issue was constitutionally protected, and that it was a substantial or
motivating factor in the termination.” Jd. at 675. “If the [contractor] discharges that
burden, the government can escape liability by showing that it would have taken the
same action even in the absence of the protected conduct.” Id. “And even termination
because of protected speech may be justified when legitimate countervailing
government interests are sufficiently strong.” Id. That is because government

contractors’ “First Amendment rights depend on the ‘balance between the interests of

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the [contractor], in commenting upon matters of public concern and the interest of the
[government], as an employer, in promoting the efficiency of the public services it
performs through its [contractors].” Id. at 676 (quoting Pickering v. Board of Ed. of
Twp. High Sch. Dist. 205, Will Cnty., 391 U.S. 563, 568 (1968)); see also id. at 677-78
(explaining that “Mt. Healthy [City Bd. of Ed. v. Doyle, 429 U.S. 274 (1977)] assures the
government's ability to terminate contracts so long as it does not do so in retaliation for
protected First Amendment activity. Pickering requires a fact-sensitive and deferential
weighing of the government's legitimate interests.”). In short, the government does not
have “carte blanche to terminate independent contractors for exercising First
Amendment rights.” Id. at 679.¢

2. Fifth Amendment Vagueness Claims (Counts 2 & 3)

The Fifth Amendment to the U.S. Constitution guarantees that “[n]o person shall
be... deprived of life, liberty, or property without due process of law.” U.S. Const.
amend. V. “[C]larity in regulation is essential to the protections provided by the Due
Process Clause of the Fifth Amendment.” F.C.C. v. Fox Television Stations, Inc., 567
U.S. 239, 253 (2012) (citing United States v. Williams, 553 U.S. 285, 304 (2008)). “It is
a basic principle of due process that an enactment is void for vagueness if its

prohibitions are not clearly defined.” Grayned, 408 U.S. at 108; see also Williams, 553

© For purposes of preliminary injunctive relief, for the reasons explained below,
Plaintiffs have shown a likelihood of success on the merits of their First Amendment
claims as to contractors and grantees—the latter in part because of application of the
test set forth in AID, 570 U.S. at 206). The Court need not and does not decide whether
(or to what extent) the Pickering burden-shifting and balancing components of the
Wabaunsee County analysis apply to government grantees, as opposed to contractors.

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U.S. at 304 (describing vagueness doctrine as “an outgrowth . . . of the Due Process
Clause of the Fifth Amendment.”).

There are “at least two connected but discrete” due process concerns that
underlie the void for vagueness doctrine. Fox Television, 567 U.S. at 253.

First, due process requires that parties “know what is required of them so they
may act accordingly.” Id.; see also Grayned, 408 U.S. at 108 (“Vague laws may trap the
innocent by not providing fair warning.”). “Perhaps the most basic of due process’s
customary protections is the demand of fair notice.” Sessions v. Dimaya, 584 U.S. 148,
177 (2018) (Gorsuch, J., concurring). “[VJoid for vagueness doctrine, at least properly
conceived, serves as a faithful expression of ancient due process and separation of
powers principles the framers recognized as vital to ordered liberty under our
Constitution.” Id. at 176. “Without an assurance that the laws supply fair notice, so
much else of the Constitution risks becoming only a ‘parchment barrier’ against
arbitrary power.” Id. at 181 (citing The Federalist No. 48, p. 308 (C. Rossiter ed. 1961)
(J. Madison)).

Second, clear guidance ensures that “those enforcing the law do not act in an
arbitrary or discriminatory way.” Fox Television, 567 U.S. at 253 (citing Grayned, 408
U.S. at 108-09). The void-for-vagueness doctrine also is a “corollary” of separation-of-
powers principles; “[i]f the legislature could set a net large enough to catch all possible
offenders, and leave it to the courts to step inside and say who could be rightfully
detained, it would substitute the judicial for the legislative department.” Sessions, 584
U.S. at 156 (cleaned up) (quoting Kolender v. Lawson, 461 U.S. 352, 357-58 (1983)).

The vagueness doctrine analysis is not uniform across all case types. “[T]he

degree of vagueness that the Constitution [allows] depends in part on the nature of the

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enactment.” Id. at 156 (quoting Hoffman Estates, 455 U.S. at 498). For example, the
Supreme Court has “expressed greater tolerance of enactments with civil rather than
criminal penalties because the consequences of imprecision are qualitatively less
severe.” Id. at 156 (quoting Hoffman Estates, 455 U.S. at 498-99). By comparison, when
the government awards “selective subsidies,” there is some tolerance for vagueness
because “the consequences of imprecision are not constitutionally severe.” See Nat'l
Endowmt. for the Arts v. Finley, 524 U.S. 569, 589 (1998). But the requirement to avoid
vagueness is particularly high when a law “threatens to inhibit the exercise of
constitutionally protected rights.” Hoffman Estates, 455 U.S. at 499. “If, for example,
the law interferes with the right of free speech or of association, a more stringent
vagueness test should apply.” Id. Indeed, “[p]recision of regulation must be the
touchstone in an area so closely touching our most precious freedoms.” NAACP v.
Button, 371 U.S. 415, 438 (1963); see also Reno v. ACLU, 521 U.S. 844, 871-72 (1997)
(explaining that “vagueness” of “content-based regulation of speech” raises “special First
Amendment concerns because of [their] obvious chilling effect on free speech”).

C. Termination Provision

1. Fifth Amendment vagueness claim

Plaintiffs have shown a likelihood of success on their claim that the Termination
Provision is void for vagueness under the Fifth Amendment for two main reasons. First,
the vagueness of the term “‘equity-related’ grants or contracts” invites arbitrary and

discriminatory enforcement. Second, the vagueness of the term offers insufficient notice

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to current grantees about whether and how they can adapt their conduct to avoid
termination of their grants or contracts.7
a) = Potential for arbitrary enforcement

One of the primary rationales of the void-for-vagueness doctrine is the
importance of preventing “arbitrary and discriminatory enforcement.” Grayned, 408
U.S. at 108. “[I]f arbitrary and discriminatory enforcement is to be prevented, laws must
provide explicit standards for those who apply them. A vague law impermissibly
delegates basic policy matters to [those enforcing the law] for resolution on an ad hoc
and subjective basis, with the attendant dangers of arbitrary and discriminatory
application.” Id. at 108-09 (footnote omitted). Such vague laws “to some extent,
substitute the judicial for the legislative department of government.” Kolender, 461 U.S.
at 358 n.7 (internal quotation marks omitted). “Nor is the worry only that vague laws
risk allowing judges to assume legislative power.” Sessions, 584 U.S. at 182 (Gorsuch, J.,
concurring). “Vague laws also threaten to transfer legislative power to police and
prosecutors, leaving to them the job of shaping a vague statute’s [or, as here, executive
order’s] contours through their enforcement decisions.” Id. (citing Grayned, 408 U.S. at
108-09).

Here, the very real possibility of arbitrary and discriminatory enforcement—both
between and within executive agencies—is rooted in the vagueness of the term “‘equity-

related’ grants or contracts.”

7 Although many vagueness challenges take place within the statutory context, the same
principles apply in the consideration of executive orders. See, e.g., Humanitarian Law
Project v. U.S. Treasury Dep’t, 578 F.3d 1133, 1146-47 (9th Cir. 2012) (relying upon
principles and case law relied upon in statutory vagueness cases to analyze the
vagueness of an executive order).

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First, the term “equity” itself is broad. Although much of the J20 Order relates to
DEI and DEIA, “equity” is a concept that transcends issues of diversity, inclusion, and
accessibility. It also extends beyond areas addressed by anti-discrimination efforts and
civil rights laws. Cf. J20 Order § 1 (stating that a purpose of the Order is to address
“illegal and immoral discrimination programs”). Is “equity” limited to one part of the
acronym “DEI” or “DEIA”? Is it meant as an umbrella term or synonym for some or all
of the concepts encompassed by those acronyms? Given the J21 Order’s rejection of at
least one executive order that offers a definition for the term “equity,” should agency
leaders assume that the applicable definition is something materially different from that
one? See J20 Order § 1 (citing Executive Order 13985, 86 Fed. Reg. 7009, Jan. 25,
2021). Does the meaning of “equity” extend beyond DEI/DEIA?

To say the least, the lack of clarity on these and other questions makes
unavoidable that agency decisionmakers will “shap[e] a vague [order’s] contours though
their enforcement decisions.” Sessions, 584 U.S. at 182 (Gorsuch, J., concurring). The
meaning of the word “equity” is unclear to a degree that risks arbitrary and
discriminatory enforcement, particularly absent any definitions or other guidance to
clarify the meaning of the term.

Even more so, the modifier “related” adds an impermissible layer of vagueness. It
is wholly unclear how strong or how tenuous a grant or contract must “relate[]” to the
topic of “equity” to be subject to termination. In one of Plaintiffs’ exhibits, it appears
that the only basis for “clarification” about “whether . . . [the] program is using Federal
funds to promote or provide services out of compliance of the recent Executive Orders”

is the fact that a narrative associated with the grant award includes the terms

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“diversity,” “equity,” “equity action plan,”® and “DEI.”9 ECF No. 39-10 at 1. This
evidence suggests that at least one executive agency appears to be, at minimum,
considering that a program might be “equity-related” simply because the word “equity”
appears in a grant narrative. Plaintiffs have amply established a likelihood that they will
succeed in proving that the Termination Provision invites arbitrary and discriminatory
enforcement over billions of dollars in government funding.
b) Notice

Another key rationale for the void-for-vagueness doctrine is the principle that
“[vJague laws may trap the innocent by not providing fair warning.” Grayned, 408 U.S.
at 108. “[B]ecause we assume that man is free to steer between lawful and unlawful
conduct, we insist that laws give the person of ordinary intelligence a reasonable
opportunity to know what is prohibited, so that he may act accordingly.” Id. at 108-09.

Here, the vagueness of the Termination Provision leaves current grant recipients

and contractual counterparts unsure about what activities are prohibited under the J20

8 As the J20 Order notes, the previous administration had directed agencies to create
and periodically update “Equity Action Plans.” J20 Order § 1 (“[p]Jursuant to Executive
Order 13985 and follow-on orders, nearly every Federal agency and entity submitted
‘Equity Action Plans”); see also Executive Order 14091, 88 Fed. Reg. 10825, Feb. 22,
2023 (directing agency heads to create and maintain Equity Action Plans). It is therefore
likely that some grants and contracts include one or multiple references to the term
“equity action plan” in relation to agency activities at the time, whether or not the grants
themselves could fairly be considered “equity-related.”

9 The email in this exhibit did not explicitly indicate that the inquiry was tied to a grant
termination decision. See ECF No. 39-10 at 1-2. However, one of the three options
offered in the email is for the recipient to “relinquish [their] award.” Id. at 2. The other
two options are to (1) self-certify that the grant activities are consistent with the
executive orders “and do[] not include any activities that promote DEI activities,” or (2)
“stop providing [] services [non-compliant with the executive orders] . . . immediately.”
Id. at 1-2.

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Order. Specifically, these individuals and organizations have no reasonable way to know
what, if anything, they can do to bring their grants into compliance such that they are
not considered “equity-related.”

The possibilities are almost endless, and many are pernicious. If an elementary
school receives Department of Education funding for technology access, and a teacher
uses a computer to teach the history of Jim Crow laws, does that risk the grant being
deemed “equity-related” and the school being stripped of funding? If a road-
construction grant is used to fill potholes in a low-income neighborhood instead of a
wealthy neighborhood, does that render it “equity-related”? If a university grant helps
fund the salary of a staff person who then helps teach college students about sexual
harassment and the language of consent, would the funding for that person’s salary be
stripped as “equity-related”? If a business with a grant from the Small Business
Administration conducts a recruiting session at a historically Black college or university,
could the business be stripped of the grant on that basis?

It appears from the record that at least one federal agency is giving grantees some
time to “[s]top providing [non-compliant] services in your program/project
immediately.” ECF No. 39-10 at 2. It is unknown whether other agencies will offer an
opportunity to adapt grant or contract activities at all, or whether the agencies will
unilaterally assess whether to terminate the grant or contract without giving the grantee
or contractor the opportunity to revise its program. But with the mandatory deadline to
terminate these grants and contracts just weeks away, see J20 Order § 2(b) (stating that
grants and contracts must be terminated “within sixty days of this order”), the time is
also ticking for grantees and contractors to take action to preserve their grants and

contracts, should they have such an option and should they choose to do so. The

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Termination Provision fails to provide current grantees with notice about “what is
prohibited, so that [they] may act accordingly.” Grayned, 408 U.S. at 108. Thus,
Plaintiffs have also demonstrated a likelihood of success on their Fifth Amendment
vagueness claim based on a lack of notice. *°

2. Plaintiffs may facially challenge the Termination
Provision for vagueness

Defendants’ primary argument as to Plaintiffs’ vagueness challenge to the
Termination Provision is that the claim is “categorically unripe” because “a facial
vagueness challenge cannot arise under the Due Process Clause.” ECF No. 35 at 5 (citing
United States v. Sun, 278 F.3d 302, 309 (4th Cir. 2002)). Defendants maintain that to
bring a facial challenge, Plaintiffs must show that the Termination Provision cannot give
notice to any person to whom it applies. See ECF 35 at 3-4.

The barrier to a facial challenge for vagueness, however, is not as absolute as the
government contends. Plaintiffs may bring their vagueness claim notwithstanding the
possibility that a very narrow subset of grantees could be on notice that their grants are
subject to termination pursuant to the J20 Order. The Supreme Court in Johnson v.
United States clarified that “although statements in some of our opinions could be read
to suggest otherwise, our holdings squarely contradict the theory that a vague provision
is constitutional merely because there is some conduct that clearly falls within the

provision’s grasp.” 576 U.S. 591, 602 (2015) (second emphasis added); see also Kolbe v.

10 Defendants have also argued that Plaintiffs have not shown a likelihood of success on
the merits of their Fifth Amendment claim as to the Termination Provision because it is
not “clear” whether Plaintiffs have a “property interest” sufficient to give rise to due
process protections at all. ECF No. 35 at 22-23. But as Plaintiffs explain, that is not the
law. See ECF No. 39 at 6; Bd. of Regents of State Colls. v. Roth, 408 U.S. 564, 576-77
(1972) (collecting cases).

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Hogan, 849 F.3d 114, 148 n.19 (2017) (en banc) (acknowledging this language from
Johnson and rejecting appellees’ argument that appellant must show that “no set of
circumstances exists” under which the law would be valid to bring a facial challenge)
(quoting United States v. Salerno, 481 U.S. 739, 745 (1987)).

Here, the possibility that some small number of grants could “clearly fall[] within
the provision’s grasp,” Johnson, 576 U.S. at 602, does not preclude a facial challenge to
the vagueness of this provision. That is, perhaps a “person of ordinary intelligence”
could understand that a theoretical “All About Equity Grant” with a stated mission of
“fostering equity in all activities” may be considered an “‘equity-related’ grant” subject
to the Termination Provision. Cf. Grayned, 408 U.S. at 109 (“[W]e insist that laws give
the person of ordinary intelligence a reasonable opportunity to know what is prohibited,
so that he may act accordingly”). But the existence of an obvious application does not
preclude a facial vagueness challenge. Just as the mere possibility that a grocer could
charge a thousand dollars for a pound of sugar does not preclude a facial challenge to a
law barring charging an “unjust or unreasonable rate” for necessaries, Johnson, 576 U.S.
at 602-03 (citing United States v. L. Cohen Grocery Co., 255 U.S. 81, 89 (1921)), the
mere possibility that some government grants might fit squarely within the definition of
“equity-related” does not forestall the Court’s review of the otherwise broad and vague

term as it applies to government grants and contracts generally."

11 Because Plaintiffs have shown a likelihood of success on the merits with respect to
Count Two, their void-for-vagueness challenge to the Termination Provision, the Court
need not decide whether Plaintiffs have also shown a likelihood of success on the merits
on Count One, their Spending Clause claim as to the Termination Provision. The Court
does not decide one way or the other whether Plaintiffs are likely to succeed on the
merits of Count One.

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D. Certification Provision

Section III.B.1.b above describes the First Amendment standards as they apply to
federal contractors and grantees. Applying those standards to the Certification
Provision, § 3(b)(iv) of the J21 Order, Plaintiffs are likely to succeed on their claim that
it violates the First Amendment because on its face it constitutes a content-based
restriction on the speech rights of federal contractors and grantees, and further because
such restriction expands to all of those contractors’ and grantees work, whether funded
by the government or not. J21 Order § 3(b)(iv)(B) (requiring certification that any
“counterparty or recipient” certify that “it does not operate any programs promoting
DEI that violate any applicable Federal anti-discrimination laws”) (emphasis added); id.
§ 3(b)(iv)(A) (requiring certification by every “contractual counterparty or grant
recipient” of materiality with respect to “its compliance in all respects with all applicable
Federal anti-discrimination laws”) (emphasis added).

The language of the Certification Provision makes clear that the sole purpose of
the provision, regardless of the individualized implementation by executive agencies, is
for federal contractors and grantees to confirm under threat of perjury and False Claims
Act liability that they do not operate any programs promoting DEI that the government
might contend violate federal anti-discrimination laws. J21 Order § 3(b)(iv). This is
precisely a “condition[] that seek[s] to leverage funding to regulate speech outside the
contours of the program itself.” AID, 570 U.S. at 214-15. There is no language in the
Certification Provision that restricts the certification to be specifically about the use of
DEI using federal funding received by the government; the express language of the
Certification Provision demands that federal contractors and grantees essentially certify

that there is no “DEI” (whatever the executive branch decides that means) in any aspect

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of their functioning, regardless of whether the DEI-related activities occur outside the
scope of the federal funding.

The executive branch’s ongoing implementation of the Certification Provision
confirms that the plain language of the Executive Order means what it says. The White
House’s fact sheet released on January 22, 2025 states that the Certification Provision
“requires simple and unmistakable affirmation that contractors will not engage in illegal
discrimination, including illegal DEI.” ECF No. 27-19 at 3. On February 7, 2025, a
federal contractor received a notice demanding that it certify that it “does not operate
any programs promoting Diversity, Equity, and Inclusion that violate any applicable
Federal anti-discrimination laws.” ECF No. 27-20 at 2. On February 12, 2025, the NEA
released language for compliance requiring grant applicants to agree not to “operate any
programs promoting [DEI] that violate any applicable Federal anti-discrimination laws,
in accordance with the [J21 Order].” ECF No. 39-8 at 11. These examples all point to the
conclusion that the clear purpose, and clear effect, of the Certification Provision is to
restrict speech related to topics such as equity, inclusion, and diversity that also falls
outside the scope of the federal funding.

Defendants’ main response is that “Plaintiffs have no First Amendment right to
violate federal antidiscrimination laws in the first place” and that if Plaintiffs do not
wish to sign such a certification, “they may forgo contracting with the Government or
receiving federal funds.” ECF No. 35 at 16-17. Indeed, when the Court asked the
government during the hearing a series of questions regarding hypothetical
implementation of DEI by federal contractors and grantees, the government refused to
even attempt to clarify what the Certification Provision means, or whether these

hypothetical scenarios are legal. The government merely reiterated that promoting DEI

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can be unlawful and that there is uncertainty about whether programs or policies that
are sometimes referred to as “DEI” are lawful after the Supreme Court’s decision in
Students for Fair Admission. And the government did not dispute that the Certification
Provision is being applied to current federal grantees and contractors that have already
received and relied on federal funding, not just future federal grantees and contractors.

Because even the government does not know what constitutes DEI-related speech
that violates federal anti-discrimination laws, Plaintiffs have easily shown a likelihood
that they will prevail in proving that the Certification Provision operates as a content-
based prior restraint on their speech, and likely will also prevail in showing that the
Certification operates as a facially viewpoint-discriminatory order as well. The speech-
chilling effect of the Certification Provision is particularly obvious given the vagueness
of the J20 and J21 orders, as discussed in sections ITI.C and III.E.2. Plaintiffs, their
members, and other federal contractors and grantees have shown they are unable to
know which of their DEI programs (if any) violate federal anti-discrimination laws, and
are highly likely to chill their own speech—to self-censor, and reasonably so—because of
the Certification Provision. Indeed, the Certification Provision was likely designed to
induce, and certainly has been shown to have the effect of inducing, federal contractors
and grantees to apply an overinclusive definition of illegal DEI to avoid risking liability.
This is exactly what AID prohibits—the government leveraging its funding to restrict
federal contractors and grantees from otherwise exercising their First Amendment
rights outside the scope of the federal funding.

Defendants lastly make the argument that the Certification Provision is merely a
“directive” from the President, and that agencies need not include such certification

provisions “verbatim” but rather “in substance.” ECF No. 35 at 18. That argument is

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incompatible with the plain text of the Certification Provision, and the evidentiary
record of how agencies are already implementing it. There is no language in the
Certification Provision suggesting that agencies have discretion in deciding how narrow
or broad the scope of the Certification Provision should be, or suggesting that agencies
should restrict the certification to only apply to the use of federal funds. The express
language of the Certification Provisions requires federal contractors and grantees to
agree (or at the very least, prepare to agree) to not operate any programs promoting DEI
that they might guess the government might contend violate anti-discrimination laws.

Defendants separately argue that “the Certification Provision falls within the
Executive’s authority to fund its policy priorities.” ECF No. 35 at 17 (citing Rust, 500
U.S. at 193). This is wholly unresponsive because, as the Supreme Court has held in both
Rust and AID, the Executive's authority to fund its policy priorities is still subject to the
First Amendment, particularly where it seeks to encroach on protected speech made
outside the scope of the federal funding, as the Certification Provision does.

Finally, in addition to showing that Defendants have violated the holding in AID,
Plaintiffs have also shown a likelihood of success on the merits in showing that the
Certification Provision unconstitutionally restricts, and retaliates against, contractors’
and grantees’ free speech rights even within the scope of the pertinent programs. As
discussed above, although the government may “cho[ose] to fund one activity to the
exclusion of another,” Rust, 500 U.S. at 193, and may “define the limits of the
government spending program,” AID, 570 U.S. at 214, it may not punish government
contractors or grantees “because of their speech on matters of public concern.”
Wabaunsee County, 518 U.S. at 675. And whether attempts to do so violate the First

Amendment then turn on a “balance between the interests of the [contractor], in

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commenting upon matters of public concern and the interest of the [government], as an
employer, in promoting the efficiency of the public services it performs through its
[contractors].” Id. at 676. Plaintiffs have shown a likelihood of success on this aspect of
their First Amendment claim with respect to the Certification Provision as well.
Plaintiffs have clearly shown that, if they refuse to comply with the Certification
Provision and are unable to receive federal funding directly as a result for
noncompliance, their First Amendment protected speech is “a substantial or motivating
factor in the termination.” Id. at 675.

Therefore, Plaintiffs have shown a likelihood of success on the merits as to Count
Five of the complaint. 2

E. Enforcement Threat Provision

The final challenged provision is the Enforcement Threat Provision, which directs
the Attorney General to, among other things, take “appropriate measures to encourage
the private sector to end illegal discrimination and preferences, including DEI,” to
“deter” such “programs or principles,” and to “identify . . . potential civil compliance
investigations” to accomplish such “deter[rence].” J21 Order § 4(b)(ii).

1. First Amendment Free Speech Claim (Count Four)
Plaintiffs are likely to succeed on their claim that the Enforcement Threat

Provision, § 4(b)(iii) of the J21 Order, violates the First Amendment, because it

12 Because Plaintiffs have shown a likelihood of success on the merits with respect to
Count Five, their First Amendment challenge to the Certification Provision, the Court
need not decide whether Plaintiffs have also shown a likelihood of success on the merits
on Count Six, their separation-of-powers claim as to the Certification Provision. The
Court does not decide one way or the other whether Plaintiffs are likely to succeed on
the merits of Count Six.

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threatens to initiate enforcement actions against Plaintiffs (in the form of civil
compliance investigations) for engaging in protected speech. See Moody v. NetChoice,
603 U.S. 707, 743-44 (2024) (holding that, for a facial First Amendment challenge,
plaintiffs must show that the law at issue “prohibits a substantial amount of protected
speech relative to its plainly legitimate sweep”) (quoting United States v. Hansen, 599
U.S. 762, 770 (2023).13

The Enforcement Threat Provision applies broadly to the private sector;
therefore, unlike with the other provisions, the analysis is based on pure private speech
regulated by the First Amendment as opposed to the speech of federal contractors or
grantees. See § III.B, supra. Plaintiffs have shown a likelihood of success on the merits
of their claim that the Enforcement Threat Provision, which threatens to bring
enforcement against perceived violators of undefined standards, is, on its face, an
unlawful viewpoint-based restriction on protected speech. The Enforcement Threat
Provision expressly focuses on “deter[ring] DEI programs or principles that constitute
illegal discrimination or preferences” and “encourag[ing] the private sector to end illegal
discrimination and preferences, including DEI,” without, for example, a similar
restriction on anti-DEI principles that may also be in violation of existing federal anti-
discrimination laws. J21 Order § 4(b). That is textbook viewpoint-based discrimination.

The government’s threat of enforcement is not just targeted towards enforcement of

13 The Court does not reach this same conclusion with respect to the investigative
portion of the Enforcement Threat Provision to the extent it is merely a directive from
the President to the Attorney General to identify “[a] plan of specific steps or measures
to deter DEI programs or principles . . . that constitute illegal discrimination or
preferences.” J21 Order § 4(b)(iii). The Court denies Plaintiffs’ request to enjoin that
aspect of the Enforcement Threat Provision.

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federal law. Rather, the provision expressly targets, and threatens, the expression of
views supportive of equity, diversity and inclusion—a “particular view[] taken by
speakers.” Rosenberger, 515 U.S. at 829.

The government’s conduct and subsequent communications pursuant to the J21
Order confirm this to be the case. The White House’s fact sheet released a day after the
J21 Order was issued claims, for example, that “radical DEI has dangerously tainted
many of our critical businesses and influential institutions.” ECF No. 27-19 at 4. It
further states that “many corporations use DEI . . . ignoring the fact that DEI’s
foundational rhetoric and ideas foster intergroup hostility and authoritarianism,” and
that “DEI creates and then amplifies prejudicial hostility and exacerbates interpersonal
conflict.” Id. Similarly, in the Attorney General’s February 5, 2025 memorandum to
internal DOJ employees regarding the interpretation of the J21 Order as to its directives
to remove references to DEI or DEJA within the executive branch, she specifically states
that the DOJ components should pay particular attention to ending references to DEI or
DEIA “including references to ‘unconscious bias,’ ‘cultural sensitivity,’ [and] ‘inclusive
leadership[.]’” ECF No. 27-14 at 3-4.

The White House and Attorney General have made clear, through their ongoing
implementation of various aspects of the J21 Order, that viewpoints and speech
considered to be in favor of or supportive of DEI or DEIA are viewpoints the
government wishes to punish and, apparently, attempt to extinguish. And, as the
Supreme Court has made clear time and time again, the government cannot rely on the
“threat of invoking legal sanctions and other means of coercion” to suppress disfavored
speech. Bantam Books v. Sullivan, 372 U.S. 58, 67 (1963); Nat! Rifle Assoc. of America

v. Vullo, 602 U.S. 175, 189 (2024).

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Plaintiffs have also shown a likelihood of success that, regardless of the viewpoint
discrimination baked into the Enforcement Threat Provision, it is also a content-based
restriction on protected speech that would not pass the high bar of strict scrutiny. As
explained above, a content-based restriction on protected speech is presumptively
unconstitutional and will only be justified if the government’s restriction is narrowly
tailored to serve a compelling interest. See § III.B, supra. Like in Reed, here the speech
being regulated is determined “based on the message [the] speaker conveys,” 576 U.S. at
163, i.e., whether the speech promotes principles of inclusion, equity, and diversity. That
is clear based on the face of the J21 Order, and hammered home by the egregiously
content-based actions taken by various agencies pursuant to the J21 Order.

Defendants’ only real attempt at a defense on the merits is to point to language in
the Enforcement Threat Provision that the “strategic enforcement plan” to combat
“DEI” in the “private sector” and “deter DEI programs or principles (whether
specifically denominated ‘DEI’ or otherwise) that constitute illegal discrimination or
preferences” is limited to “illegal discrimination or preferences.” J21 Order, § 4(b)(iii)
(emphasis added). In other words, Defendants contend that all they are threatening is to
target non-compliance with existing federal anti-discrimination law, and that the
Enforcement Threat Provision “does not target a First Amendment right to begin with”
because “Plaintiffs have no First Amendment right to engage in ‘illegal discrimination.”
ECF No. 35 at 19. But, as explained above, see § III.E.1, supra, the J21 Order offers no
guidance or notice of what the government now considers “illegal” DEI. And more
importantly, the Fourth Circuit has already held, in HIAS, Inc. v. Trump, that a “purely
theoretical savings clause” like this one, “with no method or standard for invoking it,”

and where application of it “would undermine” the substantive provisions of the

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Executive Orders, does not “immunize [the Executive Order] from scrutiny.” 985 F.3d
309, 325 (4th Cir. 2021).

Defendants further argue that “Plaintiffs’ allegation of ‘chilled’ speech is wholly
subjective because it relies on the unfavored presumption that the Government will
execute the [Orders’] directive in bad faith and ignore its own declaration to only target
illegal conduct.” ECF No. 35 at 19. Defendants cite to Ali v. Hogan to support this
proposition, but that case held that the plaintiff “does not allege an intention to engage
in any activity that could be construed to fall within the purview of the Executive Order,”
and so the plaintiff there was unable to allege a credible fear of chilled speech. 496 F.
Supp. 3d 917, 930 (D. Md. 2020), affd as modified, 26 F.4th 587 (4th Cir. 2022). Here,
not only have Plaintiffs shown many ways in which they have historically engaged in
protected speech on diversity-related topics that the executive branch has now
suggested is unlawful. Defendants also still do not respond to the baseline contention
that the Enforcement Threat Provision is facially unconstitutional as a viewpoint- and
content-based restriction on speech. Plaintiffs have shown they face “a ‘credible threat’
that the policy will be enforced against them.” Abbott v. Pastides, 900 F.3d 160, 176 (4th
Cir. 2018).

Therefore, Plaintiffs have shown a likelihood of success on the merits as to Count
IV of the complaint.

2. Due Process Vagueness Claim (Count 3)

Plaintiffs have also shown a likelihood of success on the merits of their facial due
process vagueness challenge to the Enforcement Threat Provision.

Defendants have rescinded swaths of existing executive branch guidance on what

the executive branch considers the federal civil rights laws to require, prohibit, or allow.

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See J21 Order §§ 2, 3 (ordering executive agencies to terminate all “discriminatory and
illegal” guidance and regulations and revoking four executive orders). Yet neither the
J20 nor the J21 Order gives guidance on what the new administration considers to
constitute “illegal DEI discrimination and preferences,” id. § 4(b)(iv), or “[p]romoting
‘diversity,” id. § 3(b)(ii), or “illegal DEI and DEIA policies,” id. § 1, or what types of “DEI
programs or principles” the new administration considers “illegal” and is seeking to
“deter,” id. § 4(b)(iii). The due process clause of the Fifth Amendment requires that
“prohibitions” on conduct be “clearly defined.” Grayned, 408 U.S. at 108. That is
especially the case where “the law interferes with the right of free speech.” Hoffman
Estates, 455 U.S. at 499. As explained above, Plaintiffs have shown a likelihood of
success on the merits of both of their First Amendment Claims: Count Five as to the
Certification Provision and Count Four as to the Enforcement Threat Provision.
Accordingly, the “more stringent vagueness test,” id., applies in this context.

“Vague laws invite arbitrary power.” Sessions, 584 U.S. at 175 (Gorsuch, J.,
concurring). And Plaintiffs here have shown substantial evidence of the risks of such
arbitrariness here. By threatening the “private sector” with enforcement actions, J21
Order § 4, based on those vague, undefined standards, the Enforcement Threat
Provision is facially unconstitutional under the due process clause of the Fifth
Amendment.

The harm to constitutionally protected notice interests caused by the newly
announced “prohibitions,” Grayned, 408 U.S. at 108, is further exacerbated by the
interaction between the Enforcement Threat Provision and the Certification Provision.
The Certification Provision states that not only are government contractors (and

grantees, insofar as they are required to aver to such certifications too) in a position to

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have to guess whether they are in compliance with the administration’s as-yet-
unpromulgated guidance on what constitutes, for example, “illegal . .. DEI,” J21 Order §
4(b)Gii), they are nevertheless being threatened with False Claims Act liability if they
miss the mark. Such escalation of consequences dramatically raises the stakes, and by
extension dramatically expands the degree of injury to interests protected by the Fifth
Amendment. See Sessions, 584 U.S. at 184 (Gorsuch, J., concurring) (“[T]oday’s civil
laws regularly impose penalties far more severe than those found in many criminal
statutes.”).

Plaintiffs have shown a likelihood of success on the merits of Count 3.
IV. IRREPARABLE HARM

Each Plaintiff alleges that failure to enjoin the conduct at issue will cause
irreparable harm. A plaintiff seeking a preliminary injunction “must demonstrate a
likelihood of irreparable injury—not just a possibility—in order to obtain preliminary
relief,” in other words “that irreparable injury is likely in the absence of an injunction.”
Winter, 555 U.S. at 21. “To establish irreparable harm, the movant must make a ‘clear
showing’ that it will suffer harm that is ‘neither remote nor speculative, but actual and
imminent.” Mountain Valley Pipeline, LLC v. 6.56 Acres of Land, Owned by Sandra
Townes Powell, 915 F.3d 197, 216 (4th Cir. 2019) (quoting Direx Israel, Ltd. v.
Breakthrough Med. Corp., 952 F.2d 802, 812 (4th Cir. 1991)). Irreparable means the
injury “cannot be fully rectified by the final judgment after trial.” Id. (quoting Stuller,
Inc. v. Steak N Shake Enters., 695 F.3d 676, 680 (7th Cir. 2012)).

A “prospect of an unconstitutional enforcement ‘supplies the necessary
irreparable injury.” Air Evac EMS, Inc. v. McVey, 37 F.4th 89, 103 (4th Cir. 2022)

(quoting Morales v. Trans World Airlines, Inc., 504 U.S. 374, 381-82 (1992)). Relatedly,

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where a plaintiff has shown a strong likelihood of success on a constitutional claim,
irreparable harm has been established. See Mills v. District of Columbia, 571 F.3d 1304,
1312 (D.C. Cir. 2009) (“It has long been established that the loss of constitutional
freedoms, ‘for even minimal periods of time, unquestionably constitutes irreparable

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injury.’”) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)).

Here, Plaintiffs allege four types of irreparable harm from the challenged
Executive Order provisions: threat of loss of funds, uncertainty regarding future
operations, loss of reputation, and chilled speech. The Court agrees that Plaintiffs have
adequately shown a sufficient likelihood of irreparable harm.

First, as stated above, Plaintiffs have adequately shown a likelihood of success on
their constitutional claims, and thus irreparable injury. Mills, 571 F.3d at 1312; Leaders
of a Beautiful Struggle v. Balt. Police Dep't, 2 F.4th 330, 346 (4th Cir. 2021) (“Because
there is a likely constitutional violation, the irreparable harm factor is satisfied.”). This is
also why Defendants’ contention that regulatory uncertainty is not irreparable harm is
incorrect: here the uncertainty is sufficient to likely create constitutional violations such
as chilled protected speech, which provides the requisite irreparable harm. Defendants
assert that because the Orders only prohibit “illegal” conduct, Plaintiffs’ claims of chilled
speech are objectively unreasonable because they assume Defendants will enforce the
Executive Orders against constitutional conduct and in bad faith. But as discussed
above, the problem is not that Plaintiffs assume Defendants will enforce the Orders in
bad faith, but rather that the Challenged Provisions strip Plaintiffs of the ability to know
what the government might now consider lawful or unlawful. There have been 60 years

of statutes, regulations, and case law developed since the Civil Rights Act of 1964. The

Challenged Provisions strip away much of the prior executive branch guidance, and then

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threaten the loss or condition the receipt of federal funds, and also threaten civil
enforcement actions—some backed by the possibility of treble damages—for violations.
And in so doing, they threaten to punish prior expressions of protected speech, and chill
future expressions of protected speech.

Second, while Defendants allege that Plaintiffs’ economic injuries are not
irreparable, they acknowledge that economic injuries severe enough to threaten
Plaintiffs’ existence, if shown, are irreparable. ECF No. 35 at 26 (asserting that “[a]ny
such financial loss must ‘threaten[] the very existence of the [Plaintiffs’] business[es].””)
(quoting Packard Elevator v. ICC, 782 F.2d 112, 115 (8th Cir. 1986)). Plaintiffs have
shown that the Challenged Provisions threaten the livelihoods of numerous of Plaintiffs’
members and NADOHE’s existence. ECF No. 27-23 1] 26, 44-46 (NADOHE declaration
that the Challenged Provisions “will lead to the eradication of critical support for
students, staff, and faculty on campuses of higher education; the elimination of many of
[their] members’ jobs; and will ultimately threaten NADOHE’s existence” and expecting
severe loss of members and revenue based on past experiences); ECF No. 27-24 4 21-25
(AAUP detailing its members’ expected losses); ECF No. 27-25 9] 35 (ROC United
asserting that because of the Challenged Provisions, it “will operate at a deficit to
continue to fulfill its mission until its funds are depleted”); ECF No. 27-26 { 30
(Baltimore asserting that the uncertainty arising from the Orders will “likely reduce
support for other programs or shutter some altogether—just to sustain certain critical
municipal functions”).

Similarly, while economic damages are often ultimately recoverable in litigation,
and thus not irreparable harm, if those damages are not recoverable, they can amount to

irreparable injury. Mountain Valley Pipeline, 915 F.3d at 218. In light of Defendants’

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sovereign immunity, monetary recovery in this case is likely to be precluded. See Mayor
& City Council of Balt. v. Azar, 392 F. Supp. 3d 602, 618 (D. Md. 2019) (providing that
“[s]hould Baltimore City lose Title X funding . . . the lost funds could not be recovered
should it ultimately succeed with this litigation, because HHS enjoys sovereign
immunity that precludes monetary recovery”) (citing Mountain Valley Pipeline, 915
F.3d at 217-18). Thus, the Court concludes that Plaintiffs have adequately established
the necessary irreparable harm.

Vv. BALANCE OF THE EQUITIES AND PUBLIC INTEREST

The final two factors are the balance of the equities and the public interest. The
balance of the equities and the public interest “merge when the Government is the
opposing party.” Miranda v. Garland, 34 F.4th 338, 365 (4th Cir. 2022) (quoting Nken
v. Holder, 556 U.S. 418, 435 (2009)). To balance the equities, the Court considers “the
relative harms to the applicant and respondent, as well as the interests of the public at
large.” Barnes v. E-Sys., Inc. Grp. Hosp. Med. & Surgical Ins. Plan, 501 U.S. 1301, 1305
(1991) (Scalia, J., in chambers) (quoting Rostker v. Goldberg, 448 U.S. 1306, 1308
(1980) (Brennan, J., in chambers)).

Plaintiffs contend that injunctive relief is necessary to prevent further harm and
that “[dJelayed remedy would be akin to ‘shut[ting] the stable door after the horse has
bolted.’” ECF No. 27-1 at 33-34 (quoting Juliana v. United States, 947 F.3d 1159, 1181
(9th Cir. 2020) (Staton, J., dissenting)). Plaintiffs also assert that “[s]wift elimination of
infringement on free speech rights is decidedly in the public interest.” Id. at 34 (citing
Nat'l Pub. Radio, Inc. v. Klavans, 560 F. Supp. 3d 916, 929 (D. Md. 2021)).

On the other hand, Defendants assert that, because Plaintiffs’ First Amendment

claims fail on the merits, an injunction is not in the public interest. ECF No. 35 at 28.

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Defendants also argue that “there is no question that eradicating discrimination is in the
interest of the public,” id. (citing Students for Fair Admissions, 600 U.S. at 206), and
that they will be injured because an injunction “would effectively disable almost a dozen
federal agencies, as well as the President himself, from implementing the President’s
priorities consistent with their legal authorities.” Id. 28-29 (citing Maryland v. King,
567 U.S. 1301, 1303 (2012)).

As discussed above, Plaintiffs have made a strong showing that they are likely to
succeed on the merits of the facial challenges to the Termination Provision, the
Certification Provision, and, in part, the Enforcement Threat Provision. And Plaintiffs
have also made a strong showing that they, their members, and similarly situated
government contractors, grantees, and members of the private sector are suffering
substantial current and imminent irreparable harm. As Plaintiffs put it, “Le]fforts to
foster inclusion have been widespread and uncontroversially legal for decades.” ECF No.
39 at 9. Plaintiffs’ irreparable harms include widespread chilling of unquestionably
protected speech, chilling that is unquestionably attributable to the Challenged
Provisions.

The government contends that even if Plaintiffs have shown a likelihood of
success on the merits, and even if Plaintiffs are suffering irreparable harm, the
government’s interest in immediately imposing a new, not-yet-promulgated
interpretation of what it considers “eradicating discrimination,” ECF No. 35 at 28,
outweighs the merits of Plaintiffs’ claims and the irreparable harm they are suffering.
The government is free to promulgate regulations, take litigating positions, propose
legislation, or any number of other steps, so long as they are consistent with statutes and

the Constitution. The core problem here is that, as explained above, Plaintiffs have

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shown that the specific Challenged Provisions infringe on core constitutional
protections, and that the status quo must be maintained while Plaintiffs and the
government litigate the claims asserted in this case. The balance of equities tips strongly
in Plaintiffs’ favor.
VI. SCOPE OF PRELIMINARY INJUNCTION

Having determined that Plaintiffs are entitled to a preliminary injunction, the
Court must determine its proper scope. “District courts have broad discretion to craft
remedies based on the circumstances of a case, but likewise must ensure that ‘a
preliminary injunction is no more burdensome to the defendant than necessary to
provide complete relief to the plaintiffs.” HIAS, 985 F.3d at 326 (quoting Roe v. Dep’t of
Def., 947 F.3d 207, 231 (4th Cir. 2020)).

For the reasons explained above, Plaintiffs have amply shown they are entitled to
a preliminary injunction that protects them, and their members, from the substantial,
irreparable harms they have shown are being caused by the Challenged Provisions and
Defendants’ conduct pursuant to those provisions. The question remains whether the
preliminary injunction should also apply to non-parties. This is sometimes referred to as
presenting whether the injunction should be “nationwide,” but that is a misnomer; here,
Plaintiffs themselves are national organizations, and so the injunction would be
“nationwide” in any event. The relevant question is whether, in light of the claims and
Plaintiffs’ showing of likelihood of success on the merits, including similarly situated
non-parties within the scope of an injunction would be appropriate.

Here, Plaintiffs have made that showing. “A district court may issue a nationwide
injunction so long as the court ‘mold[s] its decree to meet the exigencies of the

particular case.” HIAS, 985 F.3d at 326 (alteration in original) (quoting Trump v. Intl

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Refugee Assistance Project, 582 U.S. 571, 580 (2017)). An injunction that extends to
non-parties may be particularly “appropriate” where, as here, “the government relies on
a ‘categorical policy,’ and when the facts would not require different relief for others
similarly situated to the plaintiffs.” Jd. (quoting Roe, 947 F.3d at 231). Moreover, “[o]nce
a constitutional violation is found, a federal court is required to tailor the scope of the
remedy to fit the nature and extent of the constitutional violation.” Hills v. Gautreaux,
425 U.S. 284, 293-94 (1976) (citations and internal quotation marks omitted). “[W]here
a law is unconstitutional on its face, and not simply in its application to certain
plaintiffs, a nationwide injunction is appropriate.” Cnty. of Santa Clara v. Trump, 250
F. Supp. 3d 497, 539 (N.D. Cal. 2017) (citing Califano v. Yamasaki, 442 U.S. 682, 702
(1979) (“[T]he scope of injunctive relief is dictated by the extent of the violation
established, not by the geographical extent of the plaintiff.”)).

In HIAS, the Fourth Circuit affirmed an injunction that extended to non-parties
similarly situated to the plaintiffs in that case where “[t]he refugee resettlement
program by its nature impacts refugees assigned to all nine resettlement agencies, which
place refugees throughout the country,” and where “[e]njoining the Order and Notice
only as to the plaintiff resettlement agencies would cause inequitable treatment of
refugees and undermine the very national consistency that the Refugee Act is designed
to protect.” 985 F.3d at 326-27. Analogous circumstances apply here, where, as
explained above, the Termination and Enforcement Threat Provisions are
unconstitutionally vague as to all contractors and grantees who are subject to them, and
the Certification and Enforcement Threat Provisions are content- and viewpoint-based
restrictions that chill speech as to anyone the government might conceivably choose to

accuse of engaging in speech about “equity” or “diversity” or “DEI,” or the other topics

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the J20 and J21 Orders cite—or as the Attorney General cites, for example, “unconscious

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bias,” “cultural sensitivity” or “inclusive leadership.” ECF No. 27-14 at 3-4.

As noted above, for prudential and separation-of-powers reasons, the Court will
not enjoin the Attorney General from preparing the report pursuant to the J21 Order, or
engaging in investigation. But otherwise, Plaintiffs have shown they are entitled to an
injunction as to the Termination, Certification and Enforcement Threat Provisions,
whether as applied to Plaintiffs or to others.

VII. BOND

Defendants have requested that “any injunctive relief accompany a bond under
[Federal Rule of Civil Procedure] 65(c).” ECF No. 35 at 32. Defendants have not
proposed a precise amount for bond, but note that “preliminary relief would potentially
mandate that the Executive spend money that may not be recouped once distributed.”
Id. Plaintiffs oppose this request, because the bond amount Defendants seem to forecast
they would request would be an enormous financial barrier and “Defendants point to no
example of a court ordering a bond in analogous circumstances.” ECF No. 39 at 17.

Federal Rule of Civil Procedure 65(c) states, in relevant part: “The court may
issue a preliminary injunction or a temporary restraining order only if the movant gives
security in an amount that the court considers proper to pay the costs and damages
sustained by any party found to have been wrongfully enjoined or restrained.” Although
the rule is “mandatory and unambiguous,” Hoechst Diafoil Co. v. Nan Ya Plastics Corp.,
174 F.3d 411, 421 (4th Cir. 1999), the Fourth Circuit has acknowledged that “where the
circumstances warrant it, the court may fix the amount of the bond accordingly” and

noting that “[iJn some circumstances, a nominal bond may suffice.” Jd. at 421 n.3

(cleaned up); see also Pashby v. Delia, 709 F.3d 307, 332 (4th Cir. 2013) (“[T]he district

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court retains the discretion to set the bond amount as it sees fit or waive the security
requirement.”) (emphasis added).

In addition, courts in other circuits have frequently waived the bond requirement
in cases where a fundamental constitutional right is at stake. See, e.g., Honeyfund.com,
Inc. v. DeSantis, 622 F. Supp. 3d 1159, 1186 (N.D. Fla. 2022) (waiving the bond
requirement under Rule 65(c) because the “unlawful impact on Plaintiffs’ First
Amendment rights weighs against requiring a bond”); Thomas v. Andino, 613 F. Supp.
926, 956 (D.S.C. 2020) (waiving bond in a voting rights case); Nat. Res. Def. Council,
Inc. v. Morton, 337 F. Supp. 167, 168 (D.D.C. 1971) (noting that courts have held that
security is not necessary where the effect would deny plaintiffs the right to judicial
review of administrative action) (citing cases).

Here, because the Plaintiffs seek to protect their First and Fifth Amendment
rights, and because a bond of the size Defendants appear to seek would essentially
forestall Plaintiffs’ access to judicial review, the Court will set a nominal bond of zero
dollars under Rule 65(c).

VIII. CONCLUSION

For the foregoing reasons, Plaintiffs’ motion for a preliminary injunction is

granted in part and denied in part. Their motion for a temporary restraining order is

denied as moot. A separate preliminary injunction order follows.

Date: February 21, 2025 /s/
Adam B. Abelson

United States District Judge

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

NATIONAL ASSOCIATION OF
DIVERSITY OFFICERS IN HIGHER
EDUCATION, et al.,

Plainti
aintiffs, Case No. 1:25-cv-00333-ABA

Vv.

DONALD J. TRUMP, et al.,
Defendants

PRELIMINARY INJUNCTION

Pursuant to Federal Rule of Civil Procedure 65, and upon consideration of the
Motion for a Temporary Restraining Order and/or Preliminary Injunction filed by
Plaintiffs National Association of Diversity Officers in Higher Education, the American
Association of University Professors, Restaurant Opportunities Centers United, and the
Mayor and City Council of Baltimore, Maryland (ECF No. 27) (the “Motion”),
Defendants’ memorandum in opposition to the Motion (ECF No. 35), Plaintiffs’ reply
brief (ECF No. 39), and the exhibits to those submissions, and having held a hearing on
the Motion on February 19, 2025, and for the reasons set forth in the accompanying
Memorandum Opinion, it is hereby ORDERED as follows:

1. The Motion is GRANTED IN PART and DENIED IN PART.

2. This Order addresses the following provisions in Exec. Order 14151,
Ending Radical and Wasteful Government DEI Programs and Preferencing, Executive
Order of January 20, 2025, 90 Fed. Reg. 8339 (Jan. 29, 2025) (the “J20 Order”), and

Exec. Order 14173, Ending Illegal Discrimination and Restoring Merit-Based

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Opportunity, Executive Order of January 21, 2025, 90 Fed. Reg. 8633 (Jan. 31, 2025)
(“J21 Order”):
J20 Order § 2(b)(i) (in part) (the “Termination Provision’):

Each agency, department, or commission head, in
consultation with the Attorney General, the Director of OMB,
and the Director of OPM, as appropriate, shall take the
following actions within sixty days of this order:

(i) terminate, to the maximum extent allowed by law, ...
all... “equity-related” grants or contracts[.]

J21 Order § 3(b)(iv) (the “Certification Provision”):

The head of each agency shall include in every contract or
grant award:

(A) A term requiring the contractual counterparty or grant
recipient to agree that its compliance in all respects with
all applicable Federal anti-discrimination laws is material
to the government’s payment decisions for purposes of
section 3729(b)(4) of title 31, United States Code; and

(B) A term requiring such counterparty or recipient to
certify that it does not operate any programs promoting
DEI that violate any applicable Federal anti-
discrimination laws.

J21 Order § 4(b)(iii) (the “Enforcement Threat Provision”):

To further inform and advise me so that my Administration
may formulate appropriate and effective civil-rights policy,
the Attorney General, within 120 days of this order, in
consultation with the heads of relevant agencies and in
coordination with the Director of OMB, shall submit a report
to the Assistant to the President for Domestic Policy
containing recommendations for enforcing Federal civil-
rights laws and taking other appropriate measures to
encourage the private sector to end illegal discrimination and

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preferences, including DEI. The report shall contain a
proposed strategic enforcement plan identifying

... iii) A plan of specific steps or measures to deter DEI
programs or principles (whether specifically denominated
‘DEI or otherwise) that constitute illegal discrimination or
preferences. As a part of this plan, each agency shall
identify up to nine potential civil compliance
investigations of publicly traded corporations, large non-
profit corporations or associations, foundations with
assets of 500 million dollars or more, State and local bar
and medical associations, and institutions of higher
education with endowments over 1 billion dollars.

3. Defendants other than the President, and other persons who are in active

concert or participation with Defendants (the “Enjoined Parties”), shall not:

a.

pause, freeze, impede, block, cancel, or terminate any awards,
contracts or obligations (“Current Obligations”), or change the

terms of any Current Obligation, on the basis of the Termination

Provision;

require any grantee or contractor to make any “certification” or
other representation pursuant to the Certification Provision; or

bring any False Claims Act enforcement action, or other

enforcement action, pursuant to the Enforcement Threat Provision,

including but not limited to any False Claims Act enforcement

action premised on any certification made pursuant to the

Certification Provision.

Date: February 21, 2025 [sf

Adam B. Abelson

United States District Judge

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Message

From: Dixon, Lorraine [Dixon.Lorraine@epa.gov]

Sent: 2/27/2025 2:38:21 PM

To: Askew, Wendel [Askew.Wendel@epa.gov]

cc: Hodges-Gott, Angela [Hodges-Gott.Angela@epa.gov]; Mills, Clarissa [mills.clarissa@epa.gov]
Subject: FW: Appeal of Termination — EPA Assistance Agreement No. 02F50601

Attachments: Black United Fund of Texas Inc Termination _Memo_Feb21 (2).docx; OMB Form 02F50601-1.pdf; V2V EPA Report #1
(May 2024 - December 2024) (SUBMITTED) 1.20.2025.pdf; BUFTX_EPA_Appeal_Letter.docx

Wendel,

We have an appeal, will be in touch.

From: Watkins, Christopher <Watkins.Christopher@ epa.gov>

Sent: Thursday, February 27, 2025 7:35 AM

To: Dixon, Lorraine <Dixon.Lorraine@epa.gov>

Subject: FW: Appeal of Termination — EPA Assistance Agreement No. 02F50601

FYI

Christopher Watkins

Supervisor, Grants Management Section/GMO
Grants & Acquisition Branch

Mission Support Division

U.S. Environmental Protection Agency

1201 Elm Street, Suite 8854

Dallas, Texas 75270-2002
Email:watkins.christopher@epa.gov

Office Phone: 214-665-6568

Grants Information — httos://www.epa.gov/grants

Stay away from people who act like a victim in a problem they created. Spend more time
with people with whom you have a common future instead of a common past.

From: Velika <velika@buftx.org>

Sent: Wednesday, February 26, 2025 11:38 PM

To: Rucki, Thomas <Rucki.Thomas@epa.gov>

Cc: Watkins, Christopher <Watkins.Christopher@epa.gov>; cleo@buftx.org; Alexander, Jill <Alexander.Jill@epa.gov>;
Ford, Jamell <FordJamell@epa.gov>; Wise, Melissa <wise.melissa@epa.gov>; Tsing-Choy, Kathy <Tsing-
Choy.Kathy@epa.gov>; Stanton, MaryA <Stanton.Marya@epa.gov>; monica.shaw@senate.texas.gov;
kimberly.Satterwhite@senate.texas.gov

Subject: Appeal of Termination — EPA Assistance Agreement No. 02F50601

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Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.
Dear Mr. Rucki,

Attached is BUFTX’s formal appeal regarding the termination of EPA Assistance Agreement No.
02F50601. This letter outlines our concerns regarding the termination decision, specifically:

° The lack of clear justification for why our program no longer aligns with EPA priorities.

° Our inability to access approved funds through the ASAP system, despite the termination
memo allowing final drawdown.

° A request for reconsideration or, at minimum, a resolution on final financial closeout
requirements.

We request confirmation of receipt and look forward to your response. Should you require any
additional information, including the letters of support from Houston Community College (HCC) and
the Houston Health Department (HHD), we are happy to provide them upon request.

Thank you for your time and consideration.
The Helping Hand That Is Your Own,

Velika J Thomas (she/her)

Black United Fund of Texas, Inc.
713-524-5767
http://www.buftx.org

Attachments:
BUFTX_EPA_Appeal_Letter.docx
EPA_Termination_ Memo.docx
OMB_Form_02F50601-1.pdf

V2V EPA Quarterly Report.pdf

On Saturday, February 22, 2025 at 09:45:32 AM CST, Watkins, Christopher <watkins.christopher@epa.gov> wrote:

RE: Termination of EPA Assistance Award

Dear EPA Grant Recipient:

Attached is your Termination of Award from the U.S. Environmental Protection Agency.
The Federal Award Identification Number 02F50601-1 is on your agreement on the top
of page one and in the subject line of this message. Please use this number in
communicating with EPA about this grant.

Please carefully review the assistance agreement and the terms and conditions.

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We recommend you forward the award document to any other personnel in your
organization requiring information about the award. The recipient's signature is not
required on this agreement.

For information regarding payments and financial reports, please refer to the following
website at https:/Awww.epa.gov/financial/grants. Additionally, the RTP Finance Center's
email address is rtpfc-grants@epa.gov.

If you have any questions, please contact Mary Stanton, Region 6, Senior Resource
Official at Stanton.Marya@epa.gov.

Attachments:
Official EPA Award Document
Termination Memo

Sincerely,

Christopher Watkins

Supervisor, Grants Management Section/GMO
Grants & Acquisition Branch

Mission Support Division

U.S. Environmental Protection Agency

1201 Elm Street, Suite 8854

Dallas, Texas 75270-2002
Email:watkins.christopher@epa.gov

Office Phone: 214-665-6568

Grants Information — https://www.epa.gov/grants

Stay away from people who act like a victim in a problem they created. Spend
more time with people with whom you have a common future instead of a
common past.

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» &

OFFICE OF MISSION SUPPORT
WASHINGTON, D.C. 20460

[ DATE \@ "MMMM gd, yyyy" ]

MEMORANDUM

SUBJECT: Termination of EPA Assistance Agreement 02F50601 under 2 CFR 200.340
FROM: EPA Award Official

TO: Velika Thomas, CFO

Black United Fund of Texas, Inc.

The purpose of this communication is to notify you that the U.S. Environmental Protection Agency (EPA) is
hereby terminating Assistance Agreement No. 02F50601 awarded to Black United Fund of Texas Inc. In
accordance with 2 CFR 200.340(a)(2) (effective August 13, 2020 — September 30, 2024) and the Termination
term and condition contained in the EPA General Terms and Conditions effective August 13, 2020 — September
30, 2024, EPA Assistance Agreement 02F50601 is terminated in its entirety effective immediately on the grounds
that the award no longer effectuates the program goals or agency priorities. The objectives of the award are no
longer consistent with EPA funding priorities.

It is a priority of the EPA to eliminate discrimination in all programs throughout the United States. The EPA
Administrator has determined that, per the Agency’s obligations to the constitutional and statutory law of the
United States, this priority includes ensuring that the Agency’s grants do not support programs or organizations
that promote or take part in diversity, equity, and inclusion (“DEI”) initiatives, “environmental justice” initiatives,
and conflict with the Agency’s policy of prioritizing merit, fairness, and excellence in performing our statutory
functions. In addition to complying with the civil rights laws, it is vital that the Agency assess whether all grant
payments are free from fraud, abuse, waste, and duplication, as well as to assess whether current grants are in
the best interests of the United States.

The grant specified above provides funding for programs that promote or take part in DEI initiatives or
environmental justice initiatives or other initiatives that conflict with the Agency’s policy of prioritizing merit,
fairness, and excellence in performing our statutory functions; that are not free from fraud, abuse, waste, or
duplication; or that otherwise fail to serve the best interests of the United States. The grant is therefore
inconsistent with, and no longer effectuates, Agency priorities.

The process for closeout is generally outlined in 2 CFR 200.344. EPA is clarifying what reports are required and
what reports are waived below. Other requirements are still in effect if applicable to your grant.

EPA is requiring the following closeout reports due within 120 days of closeout (2 CFR 200.344a:)
e Final Federal Financial Report, SF-425
e Final Technical Report
e Other programmatic reports identified in your terms and conditions

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As part of this termination, EPA is waiving the following closeout reports:
@ Property Report, SF-428
e Final Minority Business Enterprise/Woman Business Enterprise Utilization Under Federal Grants and
Cooperative Agreements, EPA Form 5700-52A

The recipient may request payment from the Automated Standard Application Payments (ASAP) system for
allowable costs incurred up to the date of this memo provided that such costs were contained in the approved
workplan. Costs incurred by you after this termination are allowable only if (a) those costs were properly
incurred by you before the effective date of this termination, and not in anticipation of it; and (b) those costs
would be allowable if your federal award was not suspended or expired normally at the end of the period of
performance in which the termination takes effect. See 2 C.F.R. § 200.343. You are encouraged to carefully
review and discharge your closeout responsibilities set forth in 2 C.F.R. § 200.344-45 and your award agreement.
Those responsibilities include, but are not limited to, your obligation to “promptly refund any unobligated
funds” that have been paid out but “are not authorized to be retained.” See 2 C.F.R. § 200.344(g).

Also, per 2 CFR 200.472, a recipient may use grant funds to properly closeout their grant including reasonable
and necessary costs that might occur after the date of this memo. If the recipient drew down funds from ASAP
for costs beyond the termination date or for costs that exceed the amount necessary to properly closeout their
grant, the recipient must contact RTPFC at | HYPERLINK "mailto:rtpfc-grants@epa.gov" \h ] for
instructions on how to return the excess funds.

The EPA Grants Management Office has issued an amendment to the agreement to document the termination.

If you wish to dispute this termination decision, the Disputes Decision Official (DDO), [| HYPERLINK
"mailto:Rucki. Thomas@epa.gov" |, must receive the Dispute no later than 30 calendar days from the date
this termination notice is electronically sent to you. Disputes must be sent electronically by email to the DDO,
with a copy to the EPA Award Official, watkins.christopher@epa.gov within the 30-day period stated above. The
Dispute submitted to the DDO must include: (1) A copy of the disputed Agency Decision; (2) A detailed
statement of the specific legal and factual grounds for the Dispute, including copies of any supporting
documents; (3) The specific remedy or relief you seek under the Dispute; and (4) The name and contact
information, including email address, of your designated point of contact for the Dispute. See 2 CFR 1500.15

The requirements on post-closeout adjustments and continuing responsibilities, including audit and record
retention requirements, at 2 CFR 200.345 remain in effect.

ATTACHMENT

Amendment Document 02F50601-1

cc: Jamell Ford (EPA Grant Specialist)

Jill Alexander (EPA Project Officer)
Cleo Johnson (Black United Fund of Texas Inc., Program Manager)

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GRANT NUMBER (FAIN): 02F50601
MODIFICATION NUMBER: 1 DATE OF AWARD
2 % U.S. ENVIRONMENTAL PROGRAM CODE: 5B 02/22/2025
<= & 2
= i TYPE OF ACTION MAILING DATE
% < PROTECTION AGENCY No Cost Amendment 02/22/2025
“ye Assistance Amendment PAYMENT ME TROD: ACHE
£ prov ASAP 67157
RECIPIENT TYPE: Send Payment Request to:
Not for Profit Contact EPA RTPFC at: rtpfc-grants@epa.gov
RECIPIENT: PAYEE:
BLACK UNITED FUND OF TEXAS, INC. Black United Fund of Texas, Inc.
2606 Gregg Street Suite A 2606 Gregg Street Suite A
Houston, TX 77026-6302 Houston, TX 77026-6302
EIN: XX-XXXXXXX
PROJECT MANAGER EPA PROJECT OFFICER EPA GRANT SPECIALIST

Cleo Johnson

2606 Gregg Street
Suite A

Houston, TX 77026
Email: cleo@pbuftx.org
Phone: 713-524-5767

Jill Alexander
1201 Elm Street, EJDJB
Dallas, TX 75270-2102

Phone: 214-665-3132

Email: Alexander. Jill@epa.gov

Jamell Ford

Mission Support Division, MSDGG
1201 Elm Street Suite 500

Dallas, TX 75270-2102

Email: ford.jamell@epa.gov
Phone: 214-665-3182

PROJECT TITLE AND EXPLANATION OF CHANGES

Vulnerable to Vibrant: Solar Workforce Development Trainings, Illegal Dumping Abatement, and Education in an Environmental Justice Community

This amendment is to stop work; terminate the agreement; reduce performance period duration; curtail scope of work; and waive certain reporting

requirements. Administrative terms and conditions are added.

Per 2 CFR 200.340 and the Termination General Terms and Conditions of this agreement, EPA is terminating this award. Your organization shall immediately
stop work and take all reasonable steps to minimize the incurrence of costs otherwise allocable to the assistance agreement. See terms and conditions.

BUDGET PERIOD PROJECT PERIOD TOTAL BUDGET PERIOD COST _| TOTAL PROJECT PERIOD COST
05/01/2024 - 02/21/2025 05/01/2024 - 02/21/2025 $ 500,000.00 $ 500,000.00
NOTICE OF AWARD

Based on your Application dated 04/14/2023 including all modifications and amendments, the United States acting by and through the US Environmental
Protection Agency (EPA) hereby awards $ 0.00. EPA agrees to cost-share 100.00% of all approved budget period costs incurred, up to and not exceeding
total federal funding of $ 500,000.00. Recipient's signature is not required on this agreement. The recipient demonstrates its commitment to carry out this
award by either: 1) drawing down funds within 21 days after the EPA award or amendment mailing date; or 2) not filing a notice of disagreement with the
award terms and conditions within 21 days after the EPA award or amendment mailing date. If the recipient disagrees with the terms and conditions specified

in this award, the authorized representative of the recipient must furnish a notice

award or amendment mailing date. In case of disagreement, and until the disagreement is resolved, the recipient should not draw down on the funds provided
by this award/amendment, and any costs incurred by the recipient are at its own risk. This agreement is subject to applicable EPA regulatory and statutory

provisions, all terms and conditions of this agreement and any attachments.

of disagreement to the EPA Award Official within 21 days after the EPA

ISSUING OFFICE (GRANTS MANAGEMENT OFFICE)

AWARD APPROVAL OFFICE

ORGANIZATION / ADDRESS

ORGANIZATION / ADDRESS

U.S. EPA, Region 6, Grants Management Section
1201 Elm Street, Suite 500
Dallas, TX 75270-2102

U.S. EPA, Region 6, Environmental Justice, Community Engagement and
Environmental Review Division

R6 - Region 6

1201 Elm Street

Dallas, TX 75201-2102

THE UNITED STATES OF AMERICA BY THE U.S. ENVIRONMENTAL PROTECTION AGENCY

Digital signature applied by EPA Award Official Christopher Watkins - Grant Management Officer

DATE
02/22/2025

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EPA Funding Information

FUNDS FORMER AWARD THIS ACTION AMENDED TOTAL
EPA Amount This Action $ 500,000 $0 $ 500,000
EPA In-Kind Amount $0 $0 $0
Unexpended Prior Year Balance $0 $0 $0
Other Federal Funds $0 $0 $0
Recipient Contribution $0 $0 $0
State Contribution $0 $0 $0
Local Contribution $0 $0 $0
Other Contribution $0 $0 $0
Allowable Project Cost $ 500,000 $0 $ 500,000
Assistance Program Statutory Authority Regulatory Authority
66.306 - Environmental Justice Collaborative Clean Air Act: Sec. 138 2 CFR 200, 2 CFR 1500 and 40 CFR 33
Problem-Solving Cooperative Agreement Program

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Budget Summary Page

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Table A - Object Class Category

Total Approved Allowable

(Non-Construction) Budget Period Cost
1. Personnel $ 116,670
2. Fringe Benefits $ 23,334
3. Travel $ 10,161
4. Equipment $0
5. Supplies $ 15,584
6. Contractual $ 280,425
7. Construction $0
8. Other $ 34,251
9. Total Direct Charges $ 480,425
10. Indirect Costs: 0.00 % Base $ 19,575
11. Total (Share: Recipient __ 0.00 % Federal _ 100.00 %) $ 500,000
12. Total Approved Assistance Amount $ 500,000
13. Program Income $0
14. Total EPA Amount Awarded This Action $0
15. Total EPA Amount Awarded To Date $ 500,000

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Administrative Conditions
UNILATERAL TERMINATION
1. The Agency is asserting its right under 2 CFR 200.340 and the Termination General Term and
Condition of this agreement to unilaterally terminate this award. This amendment serves as required
notice under 2 CFR 200.341.
2. Consistent with 2 CFR 200.343 Effect of suspension and termination, costs to the recipient or
subrecipient resulting from financial obligations incurred by the recipient or subrecipient after the
termination of a Federal award are not allowable. Costs after termination are allowable if:
a. The costs result from financial obligations which were properly incurred by the recipient or
subrecipient before the effective date of suspension or termination, and not in anticipation of it;

and

b. The costs would be allowable if the Federal award was not suspended or expired normally at
the end of the period of performance in which the termination takes effect.

c. The costs are reasonable and necessary termination costs consistent with 2 CFR 200.472.
3. Federal Financial Reporting (FFR) General Terms and Conditions is still in full force and effect. EPA
recipients must submit the SF-425 no later than 120 calendar days after the end date of the period of

performance of the award.

4. Programmatic Terms and Conditions. Performance reporting is still in full force and effect. The
recipient must submit the final report no later than 120 calendar days after the period of performance.

In accordance with 2 CFR 200.329, the recipient agrees to submit performance reports that include
information on each of the following areas:

a. A comparison of accomplishments to the outputs/outcomes established in the assistance
agreement work plan for the reporting period;

b. Explanations on why established outputs/outcomes were not met; and

c. Additional information, analysis, and explanation of cost overruns or high-than-expected-unit
costs.

5. Waiver of Reports

The following reports are waived:
a. Utilization of Disadvantaged Business Enterprises General Terms and Conditions.
b. Tangible Personal Property Report, SF-428, General Terms and Conditions.

6. Record Retention

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Access to Records, 2 CFR 200.337, is still in full force and effect. The termination of this award does not
affect the right of EPA to disallow costs and recover funds on the basis of a later audit or other reviews.
Information regarding record retention, property disposition in accordance with EPA regulations, and

other frequently asked questions can be accessed at https:/Awww.epa.gov/grants/frequent-questions-
about-closeouts.

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Programmatic Conditions
EXCEPT AS PROVIDED HEREIN, ALL TERMS AND CONDITIONS OF THE BASIC ASSISTANCE

AGREEMENT, INCLUDING PRIOR AMENDMENTS, REMAIN UNCHANGED AND IN FULL FORCE
AND EFFECT.

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Vulnerable to Vibrant Solar Workforce
Development Trainings, Illegal Dumping Abatement,
and Education in an Environmental Justice Community REPORT

EPA COLLABORATIVE PROBLEM SOLVING COOPERATIVE AGREEMENT PROGRAM

Report #1 — January 18th 2025
Submitted to EPA: January 21st 2025

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Grant Information

Recipient The Black United Fund of Texas
EPA Grant # 02F50601
Project Title Solar Workforce Development Trainings, Illegal

Dumping Abatement, and Education in an
Environmental Justice Community

Project Officer Jill Alexander

Project Year Year 1

Reporting Period May 2024 - December 2024
Total funds expended $55,157

Date Report Submitted Monday, January 21st, 2025

1.0 Project Summary

The “Vulnerable to Vibrant” project is a collective impact effort to support two of Houston’s environmentally
abused communities to improve the health outcomes of their residents through workforce training, public
education, and illegal dumping abatement.

The “Vulnerable to Vibrant” project is an opportunity to create tangible environmental results which will not only
serve the immediate needs of the community, but rebuild trust in systems intended to support human health
and environmental quality, which have a history of failing the Greater 5th Ward and Kashmere Gardens
communities. This project also seeks to address environmental statutes Clean Air Act (42 U.S.C. 7403[b])
through air quality mitigation and climate resiliency strategies (via workforce development for clean, renewable
energy channels that will lead to a reduction in emissions), and Solid Waste Disposal Act (Section 8001[a])
through the cleanup and reduction in illegal dumping of solid waste. Results of the demonstration projects are
expected to have rippling benefits to inform Houston’s resiliency strategies, flood mitigation, disaster
preparedness, and reuse alternatives for brownfields and contaminated properties.

This effort is unique because it is led by community organizations and is reinforced by local government,
academic institutions, and other community-based organizations. With funding from EPA’s EJCPS grant, The
Black United Fund of Texas and their Collaborative Partners are empowered to carry the banner of the EPA’s
goals of meaningful public participation in the program’s outreach, education, and engagement strategies,
providing new platforms for EPA to build relationships with underserved communities in Houston and sustain
ongoing work to support a variety of environmental justice projects beyond this one grant.

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2.0 Project Progress

The internal infrastructure building and planning for this grant did get started later than expected (August 2024
versus June 2024), but we hit the ground running and have not only laid the internal infrastructure for this
grant, but we have also made great progress in coordinating our solar education training program across 5
different Collaborative Partner entities.

We are on track to complete deliverables and project milestones in accordance with scheduled deadlines.

We are thankful to the following Collaborative Partners for their support and efforts towards our work in this
reporting period

e Houston Health Department
e Houston Community College
e South Union Community Development Corporation

e The Green Thumb Academy

3.0 Project Accomplishments and Results by Task/Project Activity

Task 1: Program Planning & Management

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OTs: let OBL=) [Yc =¥e 8) (2 Cedae) (cee Mast MCLE cl eee
STP] ola iitcxe MOM al oY) Tan] aes ccve ated Led)
Finalize Work | Months 1-6 | - Completed - One new Collaborative Partner | Yes
Plan & Cooperative has been added to support with
Cooperative Agreements and MOUs | implementing & facilitating the
Agreement with Collective Partners | solar training program, The

Green Thumb Academy

Procure Months 1-6 | - Notify EPA Project - Collective Impact work is Yes
project Officer (PO) of organized and managed by a
management contractor third party entity

contractors selection

- Documentation for project
progress & performance is
gathered on a routine bases

Develop Months 1-6 | - Copy of PMP to PO - Communication of Yes
PMP performance measures
Regular Months - Updates to PO - Status reports have happened

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To

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partner 1-36 through status via Asana
meetings reports
Establish Months 1-6 - The training curriculum is Completed;
Industry regularly reviewed by the More
advisory advisory board individuals
board and updated as needed. have
expressed
interest in
joining the
Board.
Currently
exploring
adding more
members
Program Months - Copy to PO -The results of Not started
sustainability | 30-36 the grant serve as a
analysis pilot model,
providing a
framework to
implement in other
EJ communities
around HTX
Sustainability | Months -Copy to PO - BUFTX integrates program Not started
Plan with 30-36 into regular offering,
scaling not a “one-off”, to continue
options supporting the community for
SUCCESS
EPA Months -Quarterly, Annual, and | - Communication of In Progress;
Reporting 1-36 Final Closeout Report project status, first quarterly
(quarterly, accomplishments, next report
annual, steps, and support for submitted on
closeout) scalability 1/21/2025
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Task 2: Community Focused Recruitment for Solar Training

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i C-1 ed koe
Taal eae deve aleve Ld)

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Develop recruiting Months 1-6 |- Community Info |- HHD and partners Yes; community info
campaign led by session to recruit support services to & partnership session
BUFTX & HHD from FifthWard/ students such as held in October 2024
Kashmere wrap around for community
Gardens services, simple organizations &
math and soft skills potential partners
(e.g., interviewing)
Develop program Months 1-6 | - Community - Increase in demand Yes; recruitment
recruiting Engagement in the Level 1 trainings | brochure for all grant
resources/materials through door phases and the solar
-to-door flyers - Build interest in training program have
students that have been completed
completed a training
course, and foster a
concrete desire to take
Level 2 trainings
(Electrician 2 and Solar
Photovoltaic Systems)
Engage Re-Entry Months 1-6 | - Partner with - BUFTX and other Yes; several
Network Project, MBK, re-entry and Community programs individual meetings
local high schools and various other establish relationships | have happened with
Mayor’s Office of social programs in | with students re-entry partnerships.
Veteran and Military the community They have also been
Affairs - Number of students invited to community
that have enrolled meetings sharing
increases from cohort information about the
to cohort solar training program
Recruit 40 Students Months 1-6 | 40 - 50 students - Fifth Ward/Kashmere_ | In Progress; Currently
(20 in each cohort) & Months from the Fifth Gardens community we have 17
13-18 Ward and has increased interested students in
Kashmere earnings, increased the program with 8
Gardens employment solidified as interests
community capacity, lower crime in the upcoming
interested rate program start date in
in the Level 1 February 2025
courses:
Electrician 1 and
Solar
Fundamentals
5 of 12

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- Separate classes
by group: High
Schoolers,
Re-entry
populations, and
other community

Task 3: Solar Installation Training Program

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Mies (BY AINc=1 019) (23-9 (azo) (ctencto Mate
ATUL oyAaTLAc=1s KOM at eA] CV acce ke
Tan) aed etsy aL)
Level 1 Training Cohort 1: Months | - % of students - 80% of enrollees Not started; the
7-12 attending complete the solar | first cohort will
Cohort 2: Months | during the course training Level 1 begin February -
19-24 Period programs July 2025
- % of students that
completed the
course(s) contact
hours
Level 2 Training Cohort 1: Months | - Lessons learned - Trained residents | Not started; the
13-18 Document best of the Fifth Ward/ first cohort will
Cohort 2:Months practices, and Kashmere Gardens | begin February -
25-30 adapted strategies and other July 2025
based on results neighborhoods
from post-class surrounding the
surveys UPRR site
Wrap around Months 7-36 - # of students enrolled | - Continue work Not started;
support (HHD in peripheral services with career these services
Client Access to address gaps in counselors for will be integrated
Division) quality of life Professional in the first cohort
development // program from
February - July
- Students are 2025
connected to and
enroll in additional
wrap- around care
services
Job Placement Months 1-6 & - % of students placed | - Department of Not started; this
19-24 & 30-36 with any company Labor rebate for offering will be
hiring graduates to | integrated in the

6 of 12

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success

- Students with
more knowledge
about soft

skills required to be
a professional solar
technician

first cohort //
program from
February - July
2025

Task 4: One Clean Houston Initiative

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ai lensviecliits (BTV IA {=1 0-19) (-t-3 (ad ce) (-xeiieie Mase eom
ATUL oyAaTLAc=1s KOM at eA] Vice ie
Tan) aed etsy aL)
Engage SWM for Months 1-6 - 1 Best Practices - A decrease in need Not started
resources per City’s document for preventing | for 311 being used
Strategic Plan illegal dumping in the to report illegal
community Dumping
- 6 One Clean Houston | - Apply One Clean
Educational outreach Houston educational
events program in other ZIP
codes and
neighborhoods that
suffer from it
Development of Months 1-36 |- 1 Best - Improvement in Not started
BUFTX resource Practices document for | scenery and health
center for OCH how to do outreach to in the community
promote One Clean
Houston
7 of 12

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Task 5:Environmental Youth Council Practical Experience

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Months 1-6 - Roster of the
Environmental Youth

Council Members

Environmental justice
curriculum planning for
youth

- Students apply what
they learned from

the session about
Policy, environmental
issues, etc. in their
long-term career path

- More youth become
aware of the UPRR
issue, other
environmental

issues, solar workforce
training,

etc.

Not started

EYC visit to BUFTX Months N/A
13-18 &

25-30

- Youth in the
community learn
more about
resources that are
available to them

-The educational
program applied to
other youth groups,
including in other
neighborhoods

Not Started

8 of 12

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To

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Task 6: Community Engagement & Involvement

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Website updates Months 1-6 & | -# website visits -Develop effective Yes; a
13-18 & communication Community
25-30 - Interaction with social | channels to reach Content
media posts Fifth Ward and Specialist has
Kashmere Gardens | been hired to
- # new stakeholders audience support with
keeping the
-# of community BUFTX website
engagement events updated with
regular
information
regarding this
grant
Social media updates Months 1-36 | N/A Develop dialogue Yes; social
on all Vulnerable to with the Fifth Ward media posts are
Vibrant activities and Kashmere created ona
Gardens community | routine basis to
at large, engage &
encouraging update the
Two-way community on
communications grant progress
Quarterly meetings @ | Months 1-36 | N/A - Transform view of | In Progress; held

Bayland Center (or
virtual if needed)

solar as a feasible
utility for the
community

one community
partner meeting
in October 2024
to engage folx
about progress
for the grant

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4.0 New Partnerships

We have developed a new partnership to support us with developing & facilitating the solar installation training
program. The Green Thumb Academy is a Black & woman-owned training institution dedicated to fostering the
next generation of professionals in construction, green energy, and STEM fields. They offer programs through
the National Center for Construction Education and Research (NCCER). TGTA specializes in increasing the
representation of Black, Indigenous, and other People of Color in these industries.

We are excited to have them join this effort as a Collective Partner to ensure this program is successful.

5.0 Project Sustainability and Success
How are you and the community defining “success” for your project?

This project will be successful when ...
1. We facilitate & graduate one full cohort of solar installation training program participants with at least
80% of the initial enrollment graduating

2. We ensure at least 20% of the course participants are from the Fifth Ward & Kashmere Garden
neighborhoods

3. When there is a decrease in calls to 311 regarding illegal dumping

4. When there is a culture of youth visiting the Bayland Center to learn more about urban agriculture,
STEM, and solar power

5. Collective Partners create a practice of seeking each other first for opportunities to partner on projects,
initiatives, and programming

6. Collective Partner create a practice of seeking each other to amplify the outreach for their projects,
initiatives, and programming

What steps have you and the community planned and // or achieved to date to ensure that progress
continues and the results of your project are utilized to achieve the community's vision for an
environmentally healthy community?

During the first eight months, BUFTX and Collaborative Partners have tried to stabilize their practices on
effective project management and workflows between stakeholders. Establishing these workflows now will
ensure the project has a solid foundation that will hold for the next 3 years.

We have also focused on asking the necessary nuanced questions about creating, designing, and facilitating a
solar installation training program. While this time has taken longer than anticipated, we are clear that not only

the lead organization, but all Collaborative Partners are on the same page about the facilitation of the program
and the ingredients needed to facilitate the program.

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Lastly, we have focused on finding the perfect partners to support with facilitating the solar installation program.
We are looking forward to continuing our relationship with TGTA. They are not only experienced with the
facilitation of NCCR courses, they also have a great relationship with the community and understand the
unique needs of participants who will possibly participate in our training program.

6.0 Project Challenges/Difficulties

1. We have had challenges with coordinating the project management systems and practices for this
project. There are many systems we are working with and different organizational structures, practices,
and schedules. This has made it difficult to triage information quickly and share information across
platforms. We are finally in a place where we believe our project management culture has been
established and solidified.

2. It took longer than anticipated for us to get a full understanding of the logistics to managing & facilitating
a solar training program (ie building upgrades, understanding the NCCER curriculum, etc). After a full
Collaborative Partner Design Workshop on Friday, January 3rd 2025, we are confident, clear, and
excited about our solar installation training program.

7.0 Personnel Changes // Staff Turnover
There have been no personnel changes or staff turnover to report.

8.0 Work Plan Changes
There are no workplan changes

9.0 Fiscal Information

Initial grant amount $500,000
Funds drawn down $55,157
Funds remaining $444,843

10.0 Report Addendums
e Addendum A: Vulnerable to Vibrant Partner & Family Kickoff
e Addendum B: Document Announcing Solar Panel Orientation Day
e Addendum C: STP Training Program Outline (Weekly View)

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Black United Fund of Texas | EPA EJ CPS 02F 11501
Semi-Annual Progress Report
January 21, 2025

Vulnerable to Vibrant Partner & Family Kick Off
Group Photo
Friday, July 19th 2024

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We are inviting you to join us for our upcoming
NCCER Solar Panel Installation Level 1 Class!

Hosted by: The Black United Fund of Texas

Class Dates: February 10, 2025 — May 10, 2025
Class Days: Monday -Thursday
Location: 2606 Greg Street, Houston, TX 77026

Mandatory Orientation Details:

Date: Saturday, January 25, 2025

Time: 9:00 AM — 2:00 PM

Location: Same as class location. Virtual Link will be sent 72hours prior to class date.

Join us to gain valuable skills in solar panel installation, learn from certified instructors, and
become part of the renewable energy revolution!

Contact Information:
For more information, please email: TB@TheGreenThumbAcademy.org or velika@buftx.org

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“The Helping Hand that is YOUR OWN”

2606 Gregg St. Houston, TX 77026 713-524-5767 [ HYPERLINK
"http://www.BUFTX.org" ]

February 26, 2025

Thomas Rucki

Regional Judicial Officer

U.S. Environmental Protection Agency, Region 6
1201 Elm Street, Suite 500

Dallas, Texas 75270

Email: rucki.thomas@epa.gov

RE: Appeal of Termination — EPA Assistance Agreement No. 02F50601

Dear Mr. Rucki,

| am writing to formally appeal the termination of EPA Assistance Agreement No. 02F50601, which was
awarded to the Black United Fund of Texas, Inc. (BUFTX). The recently issued OMB Form 02F50601-

1 confirms the unilateral termination of our agreement but does not address our inability to access
approved funds through the Automated Standard Application Payments (ASAP) system, nor does it
provide a substantive explanation for why our work is now deemed inconsistent with EPA’s funding
priorities.

BUFTX is a community-driven, workforce development-focused organization committed to
advancing environmental sustainability, pollution reduction, and job training in the green economy.
The "Vulnerable to Vibrant: Solar Workforce Development Trainings, Illegal Dumping Abatement, and
Education in an Environmental Justice Community" program has:
e Provided training for individuals seeking employment in renewable energy sectors, contributing
to a skilled workforce and reducing reliance on environmentally harmful practices.
e Implemented illegal dumping abatement and community clean-up initiatives, ensuring
compliance with EPA guidelines on waste management.
e Developed environmental education programs in collaboration with the Houston Health
Department (HHD) to address public health concerns related to air and water quality.
e Operated under the guidance of an advisory board composed of industry experts, ensuring that
all activities align with best practices in environmental sustainability and workforce
development.

Furthermore, upon request letters of support from Houston Community College (HCC) and HHD will
confirm the essential role BUFTX plays in preparing workers for the job market and improving
community resilience.

The OMB Form 02F50601-1 states that the termination is in accordance with 2 CFR 200.340 and EPA
General Terms and Conditions but does not provide specific details on how BUFTX’s work fails to meet
federal priorities. While the form confirms that our agreement has been unilaterally terminated, it does
not clarify:
1. How workforce training in solar energy and illegal dumping abatement conflicts with EPA’s
statutory functions.
2. Why environmental justice and workforce development efforts, previously approved under this
grant, are now deemed inconsistent with federal funding objectives.
3. What specific policy changes necessitated the abrupt termination of a project that has already
demonstrated measurable success. The first report is attached.

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While the OMB Form 02F50601-1 confirms that payments were to be made via ASAP and directs
inquiries to the RTP Finance Center ([ HYPERLINK "mailto:rtpfc-grants@epa.gov" \t "blank" ]), BUFTX
has been unable to access these approved funds despite multiple attempts. The termination memo
states that costs incurred before the termination date remain allowable, yet we are unable to process
our final drawdown for expenses that were properly incurred under the approved work plan.

Given this, we respectfully request:
1. Immediate clarification on why BUFTX is unable to access approved funds through ASAP.
2. Aresolution and timeline for when these funds will be made available.
3. Guidance on an alternative process for final drawdown if ASAP remains inaccessible.

BUFTX is committed to fulfilling all grant closeout requirements and requests EPA’s assistance in
ensuring compliance with:
e Approval of our Final Federal Financial Report (SF-425) to document allowable expenses.
e Submission of the Final Technical Report, including workforce development training outcomes.
e = Clarification on post-termination costs allowable under 2 CFR 200.472, ensuring that required
closeout activities are properly funded.

Given BUFTX’s proven track record of compliance, workforce development success, and alignment with
federal environmental objectives, we respectfully request a formal re-evaluation of this termination
decision. If reconsideration is not granted, we request:
1. Adetailed explanation of how BUFTX’s activities no longer meet EPA’s grant priorities.
2. Aresolution to the ASAP funding issue so BUFTX can properly close out the grant and finalize all
reporting requirements.
3. A formal response regarding BUFTX’s workforce development impact and advisory board
oversight, recognizing our commitment to merit, excellence, and environmental sustainability.

We appreciate you taking the time to look into this and look forward to your response. Please let me
know when you've received this appeal and provide next steps. Velika J Thomas is the designated point
of contact for this dispute.

The Helping Hand That Is Your Own,

Velika I Thomas

Velika J Thomas (she/her)

Black United Fund of Texas, Inc.

713-524-5767

[ HYPERLINK “http://www.buftx.org/" \t "_ blank" ]

ATTACHMENT

Amendment Document 02F50601-1
Termination Memorandum

Vulnerable to Vibrant Quarterly Report

cc: Christopher Watkins (EPA Grants Management Section/GMO)
Jamell Ford (EPA Grant Specialist)
Jill Alexander (EPA Project Officer)
Cleo Johnson (Black United Fund of Texas, Program Manager)
Congressman Sylvester Turner, (District 18)
State Representative Harold Dutton (District 142)

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Message

From: Goerke, Ariadne [Goerke.Ariadne@epa.gov]
Sent: 3/18/2025 7:09:16 PM

To: Askew, Wendel [Askew.Wendel@epa.gov]
Subject: FW: terminated grants

CUI//PRIVILEGE

I am going to stop by and discuss.

Ariadne Goe

rke

Deputy Associate

CRFLO/OGC

/EPA

Room 7443M (WJCN) ph. 202-564-5471

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From: Hansen, Susan <Hansen.Susan@ epa.gov>
Sent: Tuesday, March 18, 2025 2:40 PM

To: Goerke, Ariadne <Goerke.Ariadne@epa.gov>
Subject: terminated grants

CUI//PRIVILEGE

wo : Date
Grant : Award | Termination | Dispute . Acknowledgement

Grantee Program Statutory Authority Amount Date Filed pepue Sent w/n 30 days

SWDA Section

8001(a) CWA Section

104(b)(3) CAA Section

103(b)(3) 2023
Deep South Consolidated

TCTAC Appropriations Act (PL $11M 2/21/2025 Yes 3/3/2025 3/17/2025

Center for EJ 117-

328) 2022

Consolidated

Appropriations Act (PL

117-103)
Parks Alliance EICPS
of Louisville CAA Section 138 $500,000 | 2/21/2025

(IRA only)

(KY)
South
Carolina Dept. SEJCA
of Health & (State EJ .
Environmental | Cooperative cee Section Today $200,000 | 3/12/2025
Colton d/b/a Agreement
South Program)
Carolina Dept.

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Environmental
Services
Updated
T&C
Steps Effective
October 1,
2024
Yes for
amendment
and
attached to
unobligated
funds
under
original
award.
No
Grantee
drew down
all
remaining
funds No
($61,000)
in
accordance
with grant
T&Cs.
Letter
Informing
Proposed .
Applicant pouant Statutor y Award Applicant Dispute Rights
rogram Authority A Program Not
mount .
Funding
Applications
GAD - Healthy
The University of Texas | & Resilient No per Project
at Arlington (IISA) CWA 104(b)G) $5,806,701 3/3/2025 Officer
GAD - Healthy
Galveston Bay & Resilient No per Project
Foundation (IISA) CWA 104(b)G) $5,486,580 3/3/2025 Officer

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GAD - Healthy
University of South & Resilient No per Project
Alabama (IIA) CWA 104(b)(3) $5,865,797 3/3/2025 Officer
Song Community GAD - Healthy
Development & Resilient No per Project
Corporation (IISA) CWA 104(b)G) $3,050,015 3/3/2025 Officer

GAD - Healthy

& Resilient No per Project
University of Houston (IISA) CWA 104(b)G) $5,997,469 3/3/2025 Officer

GAD - Healthy
University of Southern & Resilient No per Project
Mississippi (IIA) CWA 104(b)(3) $3,100,428 3/3/2025 Officer

Susan E, Hansen

Deputy Regional Counsel
U.S. EPA, Region 4

61 Forsyth Street
Atlanta, GA 30303
404-562-9700 (office)
404-408-5054 (cell)
hansen.susan@epa.gov

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Message

From: McPeak, Michael [McPeak.Michael@epa.gov]

Sent: 3/3/2025 1:56:24 PM

To: Askew, Wendel [Askew.Wendel@epa.gov]

cc: Johnson, Joan-A [Johnson.Joan-A@epa.gov]; Westhoff, Steven [Westhoff.Steven@epa.gov]
Subject: FW: Termination of EPA Assistance Award: 5B-95338201

Attachments: Preliminary Injunction Order_DEl Executive Orders.pdf; Memorandum Opinion_PIl.pdf;
Termination_Memo_5B95338201.pdf

CUI//PRIVILEGE

Hello Wendel,
Sending the email below FYI. R3 received the below communication for the recipient of a grant that was terminated on
2/22/2025. In its email, the recipient requests the reinstatement of its grant and references the 2/21/2025 Preliminary

Injunction.

Ken Rose sent this email to Melissa Wise and requested guidance on responding to this communication. (I imagine
we’ll be seeing more of these coming in.)

Thanks.

Mike

As ms Counsel
U: z ar Fit Region

h,, at hael@epa.gov
f

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From: Rose, Kenneth <Rose.Kenneth@epa.gov>

Sent: Monday, March 3, 2025 8:06 At

To: Wise, Melissa <wise.melissa@epa.gov>

Cc: Sherwood, Kelly <Sherwood.Kelly@epa.gov>; White, Lisa <WHITE.LISA@EPA.GOV>; McPeak, Michael

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<McPeak.Michael@epa.gov>; Johnson, Joan-A <Johnson.Joan-A@epa.gov>; Rose, Kenneth <Rose.Kenneth@epa.gov>
Subject: FW: Termination of EPA Assistance Award: 5B-95338201

Melissa,

Good morning. I understand I am to send disputes/challenges to grant/cooperative agreement terminations to
you as OGD/OMS is working with OGC on them. We received the email below from one of the recipient’s
whose grant we terminated on 2/21/2025.

Please let me know if/how we should be responding to the recipient. As you will see they are requesting EPA
reIscind the termination in light of the court injunction placed on 2/21/2025.

I am happy to discuss.

Thanks,
Ken

Kenneth t, anne mt
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Ym aoe ady Blvd.
Phiiageipnia, PA LYLO3
Phone 215-814-3147
Cell 215-983-8660

Email rose.kenneth@epa.gov

From: Sherwood, Kelly <Sherwood.Kelly@epa.gov>

Sent: Monday, March 03, 2025 7:48 AM

To: Rose, Kenneth <Rose.Kenneth@epa.gov>

Cc: White, Lisa <WHITE.LISA@EPA.GOV>; Schuman, Kevin <schuman.kevin@epa.gov>
Subject: FW: Termination of EPA Assistance Award: 5B-95338201

Forwarding for awareness

From: Kate Boyle <kate@appvoices.org>

Sent: Friday, February 28, 2025 6:06 PM

To: Sherwood, Kelly <Sherwood.Kelly@epa.gov>

Cc: Vertich, Celine <Vertich.Celine@epa.gov>; Gontarek, Grace <Gontarek.Grace@epa.gov>; RTPFC-Grants <RTPFC-
Grants@epa.gov>; robert@appvoices.org

Subject: Re: Termination of EPA Assistance Award: 5B-95338201

Caution: This email originated from outside EPA, please exercise additional caution when deciding
whether to open attachments or click on provided links.

Dear Kelly,

We received the attached termination notice on Saturday, February 22, 2025. The termination letter states that
the EPA has issued the termination notice because the grant “provides funding for programs that promote or
take part in DELI initiatives or environmental justice initiatives.”

This termination notice was clearly issued in furtherance of Executive Order 14151 which directs “each agency,
department, or commission head. .. terminate, to the maximum extent allowed by law, all. . . “equity-related”

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grants or contracts.” (Exec. Order No. 14151, Ending Radical and Wasteful Government DEI Programs and
Preferencing, January 20, 2025, 90 Fed. Reg. 8339, 8339, Section 2(b)(i). (“U20 Order DEI Termination
Provision.”)

On Friday, February 21, 2025, prior to your office issuing the termination notice, Judge Abelson of the Federal
District Court for the District of Maryland issued a preliminary injunction order prohibiting federal agencies from
terminating grants based on DEI policy grounds, specifically referencing the “J20 Order DEI Termination
Provision.” Of particular note, Judge Abelson’s order was based in large part upon the fact that the Executive
Order was likely unconstitutional in multiple respects. Copies of the Court’s order and Memorandum Opinion
are attached.

Accordingly, we respectfully request that EPA promptly rescind the termination notice and reinstate the grant to
comply with the Court’s order and to help us fulfill the important goals of our grant to advance the development
of shovel ready projects in five coalfield towns of Southwest Virginia.

Finally, although we are hopeful it will not be necessary, we reserve our right to submit a formal appeal of the
termination under 2 C.F.R. Part 1500, Subpart E.

Best,
Kate Boyle

On Sat, Feb 22, 2025 at 7:37 AM Sherwood, Kelly <Sherwood.Kelly@epa.gov> wrote:
RE: Termination of EPA Assistance Award
Dear EPA Grant Recipient:

Attached is your Termination of Award from the U.S. Environmental Protection Agency. The Federal Award
Identification Number (FAIN) is on your agreement on the top of page one and in the subject line of this
message. Please use this number in communicating with EPA about this grant.

Please carefully review the assistance agreement and the terms and conditions.

We recommend you forward the award document to any other personnel in your organization requiring
information about the award. The recipient's signature is not required on this agreement.

For information regarding payments and financial reports, please refer to the following website at
https://www.epa.gov/financial/grants. Additionally, the RTP Finance Center’s email address is rtpfc-
grants(@epa.gov.

If you have any questions, please contact Lisa White, Region 3, at white.lisa@epa.gov

Sincerely,
Kelly Sherwood

Acting Grants Management Officer
215-814-5163

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Sherwood.kelly@epa.gov

Attachments:
Official EPA Award Document

Termination Memo

Kate Boyle
Deputy Executive Director
Appalachian Voices

(434) 218-4792 direct
(704) 516-0092 cell
pronouns: she/her

http://www.appalachianvoices.org/

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OFFICE OF MISSION SUPPORT
WASHINGTON, D.C. 20460

February 21, 2025

MEMORANDUM
SUBJECT: Termination of EPA Assistance Agreement 5B-95338201 under 2 CFR 200.340
FROM: Catharine McManus McManus, srctas canarne
EPA Award Official ‘ Date: 2025.02.21
Catharine  36.7334-0500
TO: Kate Boyle, Deputy Executive Director

Appalachian Voices

The purpose of this communication is to notify you that the U.S. Environmental Protection Agency (EPA) is
hereby terminating Assistance Agreement No. 5B-95338201 awarded to Appalachian Voices. In accordance with
2 CFR 200.340(a)(2) (effective August 13, 2020 — September 30, 2024) and the Termination term and condition
contained in the EPA General Terms and Conditions effective August 13, 2020 — September 30, 2024, EPA
Assistance Agreement 5B-95338201 is terminated in its entirety effective immediately on the grounds that the
award no longer effectuates the program goals or agency priorities. The objectives of the award are no longer
consistent with EPA funding priorities.

It is a priority of the EPA to eliminate discrimination in all programs throughout the United States. The EPA
Administrator has determined that, per the Agency’s obligations to the constitutional and statutory law of the
United States, this priority includes ensuring that the Agency’s grants do not support programs or organizations
that promote or take part in diversity, equity, and inclusion (“DEI”) initiatives, “environmental justice” initiatives,
and conflict with the Agency’s policy of prioritizing merit, fairness, and excellence in performing our statutory
functions. In addition to complying with the civil rights laws, it is vital that the Agency assess whether all grant
payments are free from fraud, abuse, waste, and duplication, as well as to assess whether current grants are in
the best interests of the United States.

The grant specified above provides funding for programs that promote or take part in DEI initiatives or
environmental justice initiatives or other initiatives that conflict with the Agency’s policy of prioritizing merit,
fairness, and excellence in performing our statutory functions; that are not free from fraud, abuse, waste, or
duplication; or that otherwise fail to serve the best interests of the United States. The grant is therefore
inconsistent with, and no longer effectuates, Agency priorities.

The process for closeout is generally outlined in 2 CFR 200.344. EPA is clarifying what reports are required and
what reports are waived below. Other requirements are still in effect if applicable to your grant.

EPA is requiring the following closeout reports due within 120 days of closeout (2 CFR 200.344a:)

e Final Federal Financial Report, SF-425
e Final Technical Report

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e Other programmatic reports identified in your terms and conditions

As part of this termination, EPA is waiving the following closeout reports:
e Property Report, SF-428
e Final Minority Business Enterprise/Woman Business Enterprise Utilization Under Federal Grants and
Cooperative Agreements, EPA Form 5700-52A

The recipient may request payment from the Automated Standard Application Payments (ASAP) system for
allowable costs incurred up to the date of this memo provided that such costs were contained in the approved
workplan. Costs incurred by you after this termination are allowable only if (a) those costs were properly
incurred by you before the effective date of this termination, and not in anticipation of it; and (b) those costs
would be allowable if your federal award was not suspended or expired normally at the end of the period of
performance in which the termination takes effect. See 2 C.F.R. § 200.343. You are encouraged to carefully
review and discharge your closeout responsibilities set forth in 2 C.F.R. § 200.344-45 and your award agreement.
Those responsibilities include, but are not limited to, your obligation to “promptly refund any unobligated
funds” that have been paid out but “are not authorized to be retained.” See 2 C.F.R. § 200.344(g).

Also, per 2 CFR 200.472, a recipient may use grant funds to properly closeout their grant including reasonable
and necessary costs that might occur after the date of this memo. If the recipient drew down funds from ASAP
for costs beyond the termination date or for costs that exceed the amount necessary to properly closeout their
grant, the recipient must contact RTPFC at rtpfc-grants@epa.gov for instructions on how to return the excess
funds.

The EPA Grants Management Office has issued an amendment to the agreement to document the termination.

If you wish to dispute this termination decision, the Disputes Decision Official (DDO), rose.kenneth@epa.gov
must receive the Dispute no later than 30 calendar days from the date this termination notice is electronically
sent to you. Disputes must be sent electronically by email to the DDO, with a copy to the EPA Award Official,
mcmanus.catharine@epa.gov within the 30-day period stated above. The Dispute submitted to the DDO must
include: (1) A copy of the disputed Agency Decision; (2) A detailed statement of the specific legal and factual
grounds for the Dispute, including copies of any supporting documents; (3) The specific remedy or relief you
seek under the Dispute; and (4) The name and contact information, including email address, of your designated
point of contact for the Dispute. See 2 CFR 1500.15

The requirements on post-closeout adjustments and continuing responsibilities, including audit and record
retention requirements, at 2 CFR 200.345 remain in effect.

ATTACHMENT

Amendment Document

cc: Celine Vertich

Grace Gontarek
Robert Kell

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